CRTR2709-CR                     COMMONWEALTH
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                                                SUFFOLK COUNTY CIVIL
                                                    Docket Report




   2484CV00531 Angela Gonneville, individually and on behalf of all others similarly situated vs. Lens.com

 CASE TYPE:    Business Litigation                                FILE DATE:      02/23/2024
 ACTION CODE: BH2                                                 CASE TRACK:     B - Special Track (BLS)
 DESCRIPTION: Complex Unfair Trade Practices
 CASE DISPOSITION DATE :04/26/2024                                CASE STATUS:    Closed
 CASE DISPOSITION:       Transferred to another Court             STATUS DATE :   04/26/2024
 CASE JUDGE:                                                      CASE SESSION:   Business Litigation 2

                                                        PARTIES

 Plaintiff                                                    Attorney                                      559084
 Angela Gonneville, individually and on behalf of all         Andrew J Garcia
 others similarly situated                                    Phillips and Garcia, PC
                                                              Phillips and Garcia, PC
                                                              13 Ventura Drive
                                                              North Dartmouth, MA 02747
                                                              Work Phone (508) 998-0800
                                                              Added Date: 02/23/2024
                                                              Attorney                                      561916
                                                              Carlin John Phillips
                                                              Phillips and Garcia, PC
                                                              Phillips and Garcia, PC
                                                              13 Ventura Drive
                                                              Dartmouth, MA 02747
                                                              Work Phone (508) 998-0800
                                                              Added Date: 02/23/2024
 Defendant                                                    Attorney                                      647642
 Lens.com                                                     Theodore Joel Folkman
                                                              Rubin and Rudman LLP
                                                              Rubin and Rudman LLP
                                                              53 State St
                                                              Boston, MA 02109
                                                              Work Phone (617) 330-7000
                                                              Added Date: 04/26/2024




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                                                  FINANCIAL DETAILS

Date          Fees/Fines/Costs/Charge                        Assessed         Paid   Dismissed   Balance
02/23/2024    Fee for Blank Summons or Writ                      5.00         5.00        0.00      0.00
              (except Writ of Habeas Corpus) MGL
              262 sec 4b Receipt: 42771 Date:
              02/26/2024

02/26/2024    Civil Filing Fee (per Plaintiff) Receipt:        240.00      240.00         0.00      0.00
              42771 Date: 02/26/2024

02/26/2024    Civil Security Fee (G.L. c. 262, § 4A)            20.00       20.00         0.00      0.00
              Receipt: 42771 Date: 02/26/2024

02/26/2024    Civil Surcharge (G.L. c. 262, § 4C)               15.00       15.00         0.00      0.00
              Receipt: 42771 Date: 02/26/2024

                           Total                               280.00      280.00        0.00       0.00




                                                     AT LEST AND CERTIFY ON
                                                                  , THATTHE
                                             FOITEGOMG DOCUMENT IS A FULL,
                                             TRUE AND CORRECT COPY OF THE
                                             ORIGINAL ON FILE IN MY OFFICE.
                                             AND IN MY LEGAL CUSTODY
                                                   John E. Powers, III
                                                   Acting Clerk Magistrate
                                                   SUFFOLK SUPERIOR CIVIL COURT
                                                    EattRVONNT OF THE TRIAL COURT
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                                      INFORMATIONAL DOCKET ENTRIES

 Date          Ref    Description                                                                       Judge

 02/23/2024     1     Complaint electronically filed.
 02/23/2024      2    Civil action cover sheet filed.
 02/23/2024           Attorney appearance
                      On this date Carlin John Phillips, Esq. added for Plaintiff Angela Gonneville,
                      individually and on behalf of all others similarly situated
 02/23/2024           Attorney appearance
                      On this date Andrew J Garcia, Esq. added for Plaintiff Angela Gonneville,
                      individually and on behalf of all others similarly situated
 02/26/2024           Docket Note: (1) summons sent by mail.

                      Applies To: Garcia, Esq., Andrew J (Attorney) on behalf of Angela Gonneville,
                      individually and on behalf of all others similarly situated (Plaintiff)
 02/26/2024     3     General correspondence regarding Notice of Acceptance into Business               Salinger
                      Litigation Session
                      Accepted into BLS2
                      (Dated 2/26/2024) Notice sent 2/26/2024
 03/13/2024           The following form was generated:

                      Notice to Appear - BLS
                      Sent On: 03/13/2024 11:45:29
 04/02/2024     4     Service Returned for

                      Applies To: Lens.com (Defendant)
 04/04/2024     5     Plaintiff Angela Gonneville, individually and on behalf of all others similarly
                      situated's Assented to Motion for
                      Extension Of Time To Respond To The Complaint
 04/09/2024           Endorsement on Motion for extension of time to respond to the complaint           Salinger
                      (#5.0): ALLOWED
                      Allowed to May 17, 2024.
                      (dated 4/8/2024)
                      Notice sent 4/9/24
 04/23/2024           The following form was generated:

                      Notice to Appear - BLS
                      Sent On: 04/23/2024 14:44:28
 04/25/2024     6     Defendant Lens.com's Notice of
                      Removal

                      (U.S. Dist. #24cv-11110 )
 04/26/2024           Attorney appearance
                      On this date Theodore Joel Folkman, Esg. added for Defendant Lens.com
 04/26/2024           REMOVED to the U.S. District Court
                      Of Massachusetts


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04/26/2024             Case transferred to another court.




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                                      COMMONWEALTH OF MASSACHUSETTS

              SUFFOLK, SS                                         SUPERIOR COURT DEPARTMENT
                                                                  BUSINESS LITIGATION SESSION



             ANGELA GONNEVILLE, individually                             CIVIL ACTION NO.
             and on behalf of all others similarly
             situated
                                                                        kg
                     Plaintiff

             v.

             LENS.COM, INC.

                     Defendant


                                            CLASS ACTION COMPLAINT

                     Plaintiff, Angela Gonneville, individually and on behalf of all others similarly situated,

             brings this Class Action Complaint for damages for unfair and deceptive sales practices committed

             by Defendant, Lens.com, Inc.

                                                     INTRODUCTION

                     1.     This is a consumer class action case involving an undisclosed junk fee that

             Lens.com charges as part of online contact lens orders. More particularly, Lens.com adds an

             undisclosed and non-itemized "processing charge" to contact lens orders after customers have

             already filled out the details of their contact lens orders. Lens.com has received numerous

             complaints regarding this undisclosed charge.

                    2.      Plaintiff seeks to represent a class of consumers in Massachusetts who have paid

             an undisclosed processing or handling charge on their contact lens order. Given the amount of the




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              fees at issue and given the number of potential consumers impacted, a class action is the most

             judicially efficient manner of adjudicating this dispute.

                                          PARTIES, JURISDICTION AND VENUE

                     3.      Plaintiff, Angela Gonneville ("Plaintiff' or "Ms. Gonneville"), is an individual who

              resides in Massachusetts.

                     4.     Defendant, Lens.com, Inc. ("Lens.com" or "Defendant"), is a Nevada corporation

             with its principal place of business in the State of Missouri.

                     5.     The Court has original jurisdiction over the civil claims alleged in Plaintiff's

             Complaint pursuant to M.G.L. ch. 212 § 4.

                     6.     This Court has personal jurisdiction over Lens.com pursuant to M.G.L. ch. 223 § 3

             because Lens.com conducts significant business in Massachusetts, namely through the marketing,

             advertising, selling and delivery of contacts lens products in Massachusetts to consumers such as

             Plaintiff.

                     7.     Likewise, venue is proper here as the defendant markets, advertises, sells and

             delivers contacts lens products to Massachusetts consumers in this county.

                                               FACTUAL BACKGROUND

                     The Business of Lens.com

                     8.     Lens.com is an online seller of contact lenses and claims that it provides consumers

             "the best way to buy contact lenses - better than your eye doctor, better than big box, better than

             other websites." Lens.com further claims that it offers the lowest prices of any contact lens seller

             online or in-store and that most orders ship within 24 hours.

                     9.     Lens.com markets its contact lenses as having "Year Round Unbeatable Prices."

             On its website it states that it has delivered over 691 million contact lenses. It further touts that,
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             "With over 35 Million contact lenses in stock, we immediately fill your order with your exact

             prescription."

                     10.      In a FAQ (frequently asked question) on its website entitled, "How much does

             shipping cost?", Lens.com states: "At Lens.com we don't bury the cost of shipping in every box

             we sell. We are completely transparent and let you decide what's best for you. We offer you

             reliable shipping at extremely competitive prices/rates. You will be able to select the best method

             for your personal needs at checkout." It then includes a chart of shipping costs within the United

             States, Canada and Internationally. Nowhere under its description of shipping costs is there

             mention of a "processing" or "handling" fee of any kind. A search of the words "Processing Fee"

             on Lens.com's website yields no information.

                     The Proliferation of Junk Fees in Online Consumer Transactions

                     11.      Retailers, like Lens.com, are increasingly charging consumers "junk fees" in online

             transactions to increase profits. "Junk Fees" are defined by the Federal Trade Commission as

             "unnecessary, unavoidable, or surprise charges that inflate costs while adding little to no value."

             The FTC notes that "[c]onsumers can get hit with junk fees at any stage of the purchase or payment

             process. Companies often harvest junk fees by imposing them on captive consumers or by

             deploying digital dark patterns and other tricks to hide or mask them." https://www.ftc.govinews-

             events/news/press-releases/2022/10/federal-trade - commission-explores-rule-cracking- down-

             junk-fees.

                     12.      Common junk fees are convenience fees, processing fees, resort fees, service fees

             and overdraft fees. The White House recently issued a junk fee guide for the states noting how

             junk fees have overrun the American economy and are "often not disclosed upfront and only

             revealed after a consumer has decided to buy something, obscure true prices and dilute the forces
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             of    market     competition      that    are    the    bedrock      of     the   U.S.   economy."

             https://w ww.whiteho use. goviwp-content/uploa ds/2023/03/WH-Junk-Fees-Guide-for-States _pdf

                     Lens.com's Sales Practices and Junk Fees

                     13.    Lens.com's marketing materials state that "we don't bury the cost of shipping in

             every box we sell. We are completely transparent and let you decide what's best for you. We

             offer you reliable shipping at extremely competitive prices/rates. You will be able to select the

             best method for your personal needs at checkout."

                    14.     Despite these claims, Lens.com packs a junk fee into its transactions which it

             describes after the point of purchase as a "processing fee." This processing fee is separate from

             its shipping fee, which in the Plaintiff's case was either free or $7.95.

                    15.     Lens.com fails to disclose or itemize its processing fee during online transactions

             and inflates the total transaction price by the amount of the hidden processing fee at the end of the

             transaction when a consumer's credit card is being processed. These hidden fees add to the total

             product price but are not disclosed at any point in the cycle of the transaction, in marketing

             materials, frequently asked questions on Lens.com's website or in product pricing disclosures.

                    16.     In some transactions, Lens.com never discloses the existence or amount of its

             processing fee. In other transactions the hidden fees are only disclosed on a packing slip provided

             to the consumer when the product is delivered. In those circumstances, the hidden fees are listed

             as "PROCESSING" or as "Shipping & Handling" fees.

                    17.     The amount of the processing fee charged by Lens.com varies greatly and from

             transaction to transaction. The Plaintiff's processing fees were $55.97, $22.57 and $5.21.

                    18.     Numerous online complaints made by Lens.com customers describe processing

             fees that are over $100. The below listed consumer complaints made to Complaints Board, an
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             online consumer complaint center, describe Lens.com's surprise processing fee. Each consumer

             referenced below contacted the Defendant's customer service line to complain about the

             processing fee and, accordingly, these complaints constitute notice and knowledge to the

             Defendant of the unfair and deceptive nature of their processing and other fees. The online

             complaints state in relevant part:

                        Processing Fees
                        Contact lenses were ordered for my child over the phone in February of
                        2021. The bill received did not break out the $103 processing fee for an
                        order of $107 in contacts. The processing fee did not include shipping fees.
                        This was discovered when trying to tally the order for reimbursement by the
                        child's father months later and the lens cost did not add up to the total. When
                        contacting the company the only adjustment offered was a $7.95 shipping
                        credit. The price of contacts was severely misrepresented due to the
                        arbitrary and, per customer service, ever changing "processing fees".
                        (Chobbs 1411 of US; August 27, 2021)

                        Lens.com review: Astronomical processing fee for contact lens order.
                        Customer since 2014... Last order placed 12/26/2020 and was charged
                        processing fee of $110.38... I immediately contacted the company and was
                        simply told "that was their processing fee"... I escalated the issue as I have
                        never paid more than $35.96 for a processing fee (last order was 8/2020 and
                        fee was $29.54)... Continued to reach out via email and was finally told on
                        Jan 3rd that my complaint was escalated to leadership... I reached out again
                        on Jan 11, 12 and now this morning and have never been contacted back...
                        I am now in the process of disputing charge with the credit card company...
                        I have included the processing fees paid so you can see for yourself the
                        ridiculous amount charged this last order:

                                4-2014 $18.16
                                3-2015 $26.47
                                8-2015 $26.11
                                9-2016 $35.96
                                9-2017 $25.51
                                9-2018 $25.99
                                12-2019 $27.51
                                8-2020 $29.54
                                12-2020 $110.38

                        I understand I owe for the contacts but I refuse to pay that amount for
                        processing! (juhnklo of US; January 15, 2021)
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                        Extraordinarily high processing fee.
                        On July 7, 2023, I submitted an order and paid $220 for 4 boxes of contacts.
                        A bargain so I thought, because I would also get a $75 rebate. Again, so I
                        thought. Imagine my surprise when I see I was charged $330 for my order
                        due to a huge $120 processing fee. Apparently the 'submit order' button
                        appears before the processing fee (which requires you to scroll down past
                        the submit order so you don't see the additional fee.) It doesn't appear on the
                        consumers invoice on their site, but somehow when you questions it, the
                        Customer service people are able to produce an invoice showing the fee.
                        They claim it is automatically added 'by the system' and they cannot refund
                        any portion of it. The processing fee was more than 50% of my total
                        purchase and in reading the complaints about them, they take so long to
                        issue the $75 rebate that the expiration date is so close or past, rendering it
                        useless as it is a visa gift card. These complaints date back to 2014 and
                        nothing has changed. Below is the invoice AFTER the order was submitted.
                        (K. Lennon, Rochdale, MA; July 18, 2023)

                        Lens.com added 85% to my order in "tax & fees"
                           intended to purchase 4 boxes of contact lenses at $31.74 per box. They
                        advertised $9.24 per box if I ordered 8 boxes, which would have been
                        $73.92, instead of $253. 92. When I clicked "checkout" the total
                        was$485.79! They added $213.92 in "tax & fees", which is an additional
                        85%.

                        I clicked the "chat 24/7" line and the rep did everything possible to avoid
                        explaining what "fees" were, since tax would be no more than $22 in any
                        state. I had to ask SIX TIMES, but he finally was forced to admit that "fees"
                        were: "This includes calling your doctor on your behalf, doctor's fees since
                        we need to verify your prescription, and handling and processing your order.
                        If the customer has a valid prescription, there is no need to call the doctor.
                        Tax would have been $20 so the "rebate" which was applied to the order,
                        tax and their undisclosed "fees" added 85% to the cost of the order. I told
                        them that was fraud and they lost my business. (Gail Reznik of US; March
                        26, 2023)

                        Hidden taxes and fees
                        When I went to re-order my contacts at Lens.com I noticed advertised
                        pricing and total cost didn't add up. I went to order my 8 boxes so I would
                        get the $160 RB. Listed at $42.79 per box before RB (22.79 after RB) times
                        the required 8 boxes = 342.32 ($182.32 after RB)plus $9.95 Shipping. This
                        should make for a grand total of $352.27( before RB). At check out total
                        came up as $566.19! Call Lens.com, spoke with a rep. I was told to go back
                        to the shipping page, there they show a "Taxes & fees" of 213.92! Contacts
                        are NOT taxable! They are a rip off company with miss leading and Illegal
                        sales tactics. I've used them several times in the past and had not been
                        charged these taxes & fees, I will no longer purchase from them and will
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                          tell others of my bad experience. (Sharon McD of Levittown, US; March 1,
                          2023.

                          Lens.com review: Deceptive fees and rebate hurdles
                          Customer since 2014, but noticed a huge disparity in cost when initiating
                          my most recent order. Without a rebate, they show $72.24 per 90-lens box
                          of 1-day lenses. Buy 8 boxes and the price (after rebate) is shown as $35.99
                          and rebate as $290. Great. The next screen in the checkout asks you to
                          confirm where you want the boxes sent with a 'continue' button below it.
                          When you accidentally scroll below that, you see a blowout of the order,
                          with a whopping $241.92 in taxes and fees that "are compensation for
                          servicing your order". That's the only place they show the added taxes/fees.
                          If you click 'continue' and approve where to send the boxes, you miss that,
                          because the final checkout screen never shows that added charge in its
                          summary of your order. ... This is deceptive. (eyecu of Seattle, US; January
                          12, 2023)

                          Ridiculous fee added without my knowledge
                          I just learned that they added a $50 fee for for processing on an $80 order.
                          And the customer rep could not explain what the processing fee was for.
                          What a ripoff! (thomassu of Centerville, US; December 5, 2022)

                    19.      These consumer complaints describe in detail the repeated notice that Lens.com has

             received from consumers about its hidden processing fees and demonstrate its continued use of

             unfair and deceptive acts and practices to create revenue from junk fees.

                    Plaintiff's Transactions

                    20.      Plaintiff's transactions with Lens.com highlight the deceptive nature of Lens.com's

             business practices. In August 2019, Plaintiff ordered three boxes of contact lenses for a total price

             of $77.29 with free shipping. The subtotal that was charged to Plaintiff, however, was $82.50,

             which included a $5.21 undisclosed processing charge. The "processing fee" was only disclosed

             on the packing form delivered with the contact lenses.

                    21.      Likewise, in May 2020, Plaintiff ordered three boxes of contact lenses for a total

             price of $141.48 with free shipping. The subtotal that was charged to Plaintiff, however, was
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              $164.05, which thus included a $22.57 undisclosed processing charge. The packing form received

              when the contact lenses were delivered indicated a charge of $30.52 for "shipping & Handling."

                     22.     Similarly, in April 2021, Plaintiff ordered three boxes of contact lenses with a total

              price of $55.97 and free shipping. However, the subtotal charged to Plaintiff was $111.97 and

              thus included an undisclosed processing charge of $55.97. The one-page packing form received

             when the contact lenses were delivered did not itemize the transaction charges or disclose the

             amount of the processing fee.

                     23.     Plaintiff ultimately complained to Lens.com about the processing charges and was

              told that the processing fee used to be disclosed on the website but had been removed, there had

              been recent changes to the website but the fee was still not disclosed, the failure to disclose the

             processing fee has been reported to IT by several other agents and that Lens.com was trying to get

             that back up on the website.

                                                CLASS ACTION ALLEGATIONS

                     24.     Pursuant to Massachusetts Rule of Civil Procedure 23, Plaintiff brings this class

             action individually and on behalf of the following proposed class of persons, initially defined as:

             All consumers who purchased contact lenses in Massachusetts and were charged a processing or

             handling fee with their contact lens order in the six years preceding the filing of this Complaint.

             (hereinafter the "Class").

             The Class does not include Defendant; any affiliate, parent or subsidiary of Defendant; any entity

             in which Defendant has a controlling interest; any officer, director or employee of Defendant; any

             successor or assign of Defendant; Plaintiff's counsel or anyone employed by Plaintiff's counsel in

             this action and their immediate families; any judge to whom this case is assigned and any member
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              of his/her immediate family and staff; governmental entities; or individuals who have personal

              injury claims as a result of conduct and/or defects alleged herein.

                     25.       Plaintiff reserves the right to amend or supplement the Class descriptions with

             greater specificity or further division into subclasses or limitation to certain issues, after

             conducting discovery in this matter. Plaintiff also reserves the right to amend or supplement the

             proposed Class after conducting discovery in this matter.

                                          Rule 23 Class Certification Requirements

                     26.       Numerosity of the Class — The members of the Class are so numerous that their

             individual joinder is impracticable. Plaintiffs are informed and believe that Lens.com processed

             tens or hundreds of thousands of contact lens orders and included an undisclosed processing fee

             with those orders. Adjudication of the claims in a class action context will provide substantial

             benefits to the parties and the Court.

                     27.       Commonality and Predominance — Common questions of law and fact exist as to

             all members of the Class and predominate over questions affecting only individual Class members,

             as is required by Mass. R. Civ. P. 23(a)(2) and (b)(3). These common questions include, but are

             not limited to:

                               a) whether Lens.com engaged in the conduct alleged herein;

                               b) whether Defendant failed to adequately disclose a processing and/or handling
                                  fee prior to the completion of an online order for contact lenses;

                               c) whether Defendant's undisclosed processing and/or handling fee inflated the
                                  product price;

                               d) whether Defendant's processing and/or handling fees exceeded actual costs
                                  and constituted a hidden profit for Defendant;

                               e) whether Plaintiff and Class Members suffered out-of-pocket losses as a result
                                  of Defendant's actions and/or inactions alleged herein, and if so, how much;
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                            1) whether Plaintiff and Class Members will suffer out-of-pocket losses as a result
                               of Defendant's alleged actions and/or inactions alleged herein, and if so, how
                               much.

                     28.    Typicality — The claims of the representative Plaintiff are typical of the claims of

              each member of the Class, thus satisfying Mass. R. Civ. P. 23(a)(3). Plaintiff, like all other

             members of the Class, have sustained damages arising from Lens.com's violations of the laws, as

             alleged herein. The representative Plaintiff and the members of the Class were and are similarly or

             identically harmed by the same unlawful, deceptive, unfair, systematic, and pervasive pattern of

             misconduct engaged in by Lens.com. Plaintiff's claims arise from the same practices and course

             of conduct that give rise to the claims of all other members of the Class.

                     29.    Adequacy — The representative Plaintiff will fairly and adequately represent and

             protect the interests of the Class Members and have retained counsel who are experienced and

             competent trial lawyers in complex litigation and class action litigation, thus satisfying Mass. R.

             Civ. P. 23(a)(4). There are no material conflicts between the claims of the representative Plaintiff

             and the members of the Class that would make class certification inappropriate. Counsel for the

             Class will vigorously assert the claims of all Class members.

                    30.     Declaratory or Injunctive Relief — Lens.com has acted and refused to act on

             grounds generally applicable to Plaintiff and Members of the Class, thereby making final

             injunctive relief or corresponding declaratory relief appropriate regarding the Class as a whole.

             Mass. R. Civ. P. 23(b)(2).

                    31.     Superiority — This suit may be maintained as a class action under Mass. R. Civ. P.

             23(b)(3), because a class action is superior to any other available means for the fair and efficient

             adjudication of this dispute and no unusual difficulties are likely to be encountered in its

             management of this class action. The damages suffered by individual class members are small in

             comparison to the burden and expense of individually litigating each claim and based on the

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             complex and extensive litigation needed to address Spirit's conduct. Further, it would be virtually

             impossible for the Class Members to individually redress effectively the wrongs done to them.

             Even if Class Members themselves could afford such individual litigation, the court system could

             not. In addition, individualized litigation increases the delay and expense to all parties and to the

             court system resulting from complex legal and factual issues of the case. Individualized litigation

             also presents a potential for inconsistent or contradictory judgments. By contrast, the class action

             device presents far fewer management difficulties; allows the hearing of claims which might

             otherwise go unaddressed because of the relative expense of bringing individual lawsuits; and

             provides the benefits of single adjudication, economies of scale, and comprehensive supervision

             by a single court.

                     32.    Ascertainability: Upon information and belief, the precise number of Class

             Members may be ascertained from Lens.com's records. Plaintiff contemplates the eventual

             issuance of notice to the proposed Class members setting forth the nature of the instant action.

             Upon information and belief, Class members may be notified of this action by recognized, Court

             approved notice dissemination methods, which may include U.S. mail, electronic mail, Internet

             postings, social media, and published notices, in addition to Lens.com's own business records.


                                                    COUNT I
                                               BREACH OF CONTRACT

                    33.     Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained

             in paragraphs 1 through 23 as though fully stated herein.

                    34.     Plaintiff's and other Class members' purchase of contact lenses constituted a

             contract between them and Lens.com, namely through the terms and conditions on the Lens.com
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             site. The terms and conditions do not mention a processing charge for online orders of contact

              lenses.

                        35.     Plaintiff and the Class Members performed all requirements under their agreements

             with Lens.com, namely the payment of the amount charged by Lens.com for the order.

                        36.     Lens.com breached its agreement with Plaintiff and the Class Members when it

             charged a hidden processing fee in connection with the contact lens orders.

                        37.     Plaintiff and members of the Class have suffered an injury through the payment of

             the processing fee.

                        38.     Plaintiff and Class members are therefore entitled to all incidental, consequential,

             and indirect damages resulting from Lens.com's breach of contract. Lens.com's breach caused

             damages to Plaintiff and the Class Members.

                        39.     Plaintiff and the Class Members seek to recover all permitted damages and their

             attorneys' fees caused by Defendant's breach.

                                                  COUNT II
                              BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

                        40.     Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained

             in paragraphs 1 through 23 as though fully stated herein.

                        41.     The Defendant had an obligation to exercise of duty of good faith and fair dealing

             when transacting business with Plaintiff and the Class.

                        42.     The Plaintiff and the Class made purchases at Lens.com's online website.

             Lens.com advertised, disclosed and charged a specific price for each contact lens purchase. It

             claimed that it had the lowest contact lens prices.
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                     43.     However, the Defendant, as matter a pattern and practice, assessed hidden junk fees

              to consumer's transaction which it labeled as processing and/or handling fees. These fees were

              not described on the Defendant's website or as part of the sale.

                     44.     In addition, these junk fees varied from transaction to transaction.

                     45.     The junk fees were charged to Plaintiff's credit and debit cards, thereby driving up

             the actual costs of their contact lens purchases.

                     46.     Lens.com used these hidden fees, which do not purport to approximate actual

             expenses incurred, as a hidden profit center. Not including these hidden fees in the product price

             allowed Lens.com to falsely claim that it had the lowest prices.

                     47.     Lens.com's pattern and practice of charging its consumers hidden junk fees in its

             transactions constituted a breach of the duty of good faith and fair dealing it owed to consumers

             as part of the transactions.

                     48.     As a direct and proximate result of the Defendant's acts and/or omissions, the

             Plaintiff and the Class suffered damages.

                                                      COUNT III
                                                 UNJUST ENRICHMENT

                     49.     Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained

             in paragraphs 1 through 23 as though fully stated herein.

                     50.     Plaintiff and the Class Members conferred substantial benefits on Lens.com by

             purchasing contact lenses and by paying processing charges to Lens.com.

                     51.     Lens.com knowingly and willingly accepted and enjoyed those benefits.

             Lens.com's retention of these benefits is inequitable and would be against good conscience

                     52.    As a direct and proximate cause of Lens.com's unjust enrichment, Plaintiff and the

             Class Members are entitled to restitution, attorneys' fees, costs and interest.


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                                                   PRAYER FOR RELIEF

                     WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, pray

              for a judgment against Defendant as follows:

                     a. For an order certifying the Class, appointing Plaintiff as Representative of the Class,

              and appointing the law firm representing Plaintiff as counsel for the Class;

                     b. For compensatory damages and/or restitution or refund of all funds acquired by

             Lens.com from Plaintiff and the Class Members as a result of the Company's unlawful, unfair,

             deceptive and unconscionable practices described herein in an amount to be proven at trial;

                     c. For compensatory damages caused by Lens. com' s breach of contract with Plaintiff and

             the Class Members to the extent permitted by law in an amount to be proven at trial;

                     d. Both pre-and post-judgment interest on any amounts awarded;

                     e. Payment of reasonable attorneys' fees and costs as allowed by law;

                     f. Such other and further relief as the Court may deem just and proper.

                                                       JURY DEMAND

                     The Plaintiff requests a trial by jury on all claims.


                                                                    On behalf of the Plaintiff and the
                                                                    Putative Class,

                                                                    /s/ Carlin J Phillips

                                                                    Carlin Phillips, BBO# 561916
                                                                    Andrew J. Garcia, BBO# 559084
                                                                    PHILLIPS & GARCIA, P.C.
                                                                    13 Ventura Drive
                                                                    North Dartmouth, MA 02747
                                                                    (508) 998-0800
                                                                    (508) 998-0919 (fax)
                                                                    cphillips@phillipsgarcia.com




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                          Case 1:24-cv-11110-PBS
Date Filed 4/4/2024 5:20 PM                        Document 5 Filed 04/29/24 Page 19 of 141
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docket Number 2484CV00531




                                        CERTIFICATE OF SERVICE
                    Plaintiff's counsel, Carlin J. Phillips, hereby certifies that a copy of this document was

             served via email on April 4, 2024, to all counsel of record:



             Jed H. Hansen
             Thorpe North & Western, LLP
             175 South Main Street, Suite 900
             Salt Lake City, Utah 84111
             801-566-6633
             hansen@tnw.com




                                                          /s/ Carlin .1 Phillips
                                                          Carlin J. Phillips, BBO# 561916
                                                          Andrew J. Garcia, BBO# 559084
                                                          PHILLIPS & GARCIA, P.C.
                                                          13 Ventura Drive, Dartmouth, MA 02747
                                                          Tel. (508) 998-0800; Fax (508) 998-0919
                                                          cphillips@phillipsgarcia. corn




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                                                               ,, ;,. ' . John E. Powers, II1            . ,
                                                                                                    •''" , •   i, ,•   ,  , •", , , ,.
                                                                i •,'.;:::' Acting Clerk Magistrate
                                                                         ,
                                                                     ,• .-SUFFOLK SUPERIOR CIVIL COURT
                                                                             EPA        NT OF THETRIAL COURT
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Date Filed 2/23/2024 6:01 PMCase 1:24-cv-11110-PBS                       Document 5 Filed 04/29/24 Page 20 of 141
Superior Court - Suffolk
Docket Number
                                                                                                                                                            2
     CIVIL ACTION COVER                         DOCKET NO(S)   B.L.S.                     Trial Court Of Massachusetts Superior Court Department County:
     SHEET                                                                                SUFFOLK

     PLAINTIFF(S)                                                                          DEFENDANT(S)
    Angela Gonneville, indiv. and on behallf of all others Lens.com, Inc.
    similarly situated,

     ATTORNEY, FIRM NAME, ADDRESS AND TELEPHONE Board of Bar Overseers number             ATTORNEY (if known)
    Carlin J. Phillips, BBO 561916, PHILLIPS &
    GARCIA, P.C.,13 Ventura Drive, Dartmouth, MA
    02747; 508-998-0800; cphillips@phillipsgarcia.com
     Origin Code Original Complaint
    BK1

     TYPE OF ACTION AND TRACK DESIGNATION (See reverse side) CODE NO. TYPE OF ACTION (specify) TRACK IS THIS A JURY CASE? *
                          (B) Ill Yes fro
                                                                                                                    kg
    BKI Consumer Class Action
    The following is a full and detailed statement of the facts on which plaintiff relies to determine eligibility in to The Business Litigation Session.


     _Thisis_a_con.su.mer_class action case_involving_undisclosed junk_fees that Len.s.com, an online
    company that sells contact lenses at what it claims are the lowest prices, charges as part of online
    contact lens orders. More particularly, Lens.com adds an undisclosed and non-itemized processing fee
    to online transactions which, in the plaintiffs case, varied from $55.97 to $22.57 to $5.21. Despite
    numerous complaints from the Plaintiff and other consumers about undisclosed fees, Lens.com
    continued to charge consumers these fees in online transactions. Per the FTC, junk fees inflate costs to
    consumers while adding little to no value and are often imposed on captive consumers by using tricks to
    hide or mask the fees, thereby inflating the purchase price and frustrating a consumer's ability to
    comparison shop based on price. The nature, complexity, uniformity and scope of the issue surrounding
    the defendant's alleged use of undisclosed fees in its online transaction process warrants acceptance in
    this court.




    * A Special Tracking Order shall be created by the Presiding Justice of the Business Litigation Session at the Rule 16 Conference.


    PLEASE IDENTIFY, BY CASE NUMBER, NAME AND COUNTY, ANY RELATED ACTION PEN                                    'G IN THE SUPERIOR COURT s EPARTMENT.

    "I hereby certify that I have complied with the requirements of Rule 5 of the )reme dici• I    rt ni r Rules o    ispute Resolution (SJC Rule 1:18)
    requiring that I rovide my clients with information about court-connected d s     re l      ile      I • scus ith them the advantages and
    disadvanta         t v io s .eiis hods." Signature of Attorney of Record
    DATE:               fey
    Case 1:24-cv-11110-PBS Document 5 Filed 04/29/24 Page 21 of 141



                               Commonwealth of Massachusetts
                                      County of Suffolk
                        The Superior Court Business Litigation Session


                                                  CIVIL DOCKET47


Case:



        As you may know, the Business Litigation Session began implementing a Discovery
Project in January, 2010. This project is available on a voluntary basis for all new cases accepted
into the BLS and for cases which have not previously had an initial case management
conference. Counsel should be prepared to discuss the project with the Court at the initial case
management conference. For a detailed copy of the BLS Discovery Project, counsel are directed
to the Trial Court home page at: www.mass.gov/Superior-court-business-litigation-session)

       If a.party is willing to participate in the project, that party's counsel should 's() -indicate
below and return this form to the appropriate session clerk.


            (Check) Yes,                         is willing to participate in the Discovery Project.
                                (Partr's   e)


        Case Name

        Docket Number CIVIL DOCKET#:


        Counsel for                                              bate';

        Finn. Name and Address:




Plea e complete this f0rm and return it to:

        Assistant Clerk - BLS!             OR           Assistant Clerk - BLS2
        BLS1. Room 1309                                 BLS2, Room 1017
        3 Pemberton Square                              3 Pemberton Square
        Boston. MA 02108                                Boston, MA 02108
           Case 1:24-cv-11110-PBS Document 5 Filed 04/29/24 Page 22 of 141



                                Commonwealth of Massachusetts
                                       County of. uffolk
                         The Superior Court — Business Litigation Session

                                                            CIVIL DOCKET#: 2O4CV00$31-BLS2



 Case: Gonneville v. Lens.com, Inc.



             NOTICE OF ACCEPTANCE INTO BUSINESS LITIGATION SESSION.

        This matter has been accepted into the Suffolk Business Litigation Session. It has been
 assigned to BLS2.

        Hereafter, as shown above. all parties must include the initials "BLS2" at the end of the
 docket number on all

          Counsel for the plaintiff(s). is hereby advised that within seven (.7) days of the filing of an
 appearance, answer. motion or other response-to the complaint by or on behalf of the
 defendatit(s) Which has been served with process within the time limitation of Mass. R. Civ. P.
 4(j), or such other time. as may be modified by the Court, he-or she shall send notice thereof to
 the appropriate BLS Session Clerk at Suffolk Superior Court, Three Pemberton Square, Boston,
 MA 02108.

         Upon receipt of such notice, the Court will issue a Notice of Initial Rule 16 Conference
 for purposes of meeting with all counsel. Before the Rule 16 Conference, counsel shall discuss
 with their clients and with opposing counsel whether the parties will participate in the BLS
 Project on Discovery (counsel are directed to www.mass.govisuperior-court-business-liti€;ation-
 session for description of the Project), Counsel may indicate their respective client's
                                  ing. and serving the attached form. If by the date of the initial
 participation by completing. fi ling,
 Rule 16 Conference, not all parties have given notice of their participation, counsel shall be
 prepared to discuss at that conference whether their clients will participate in the Project.

        The Court requests that plaintiffs counsel serve on opposing parties a copy of this notice
 and the attached form.

 Dated: Febrttary 26, 2024
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ORIGINAL ON ALE IN MY OFFICE,   '' :I.                              Justice of the Superior Court 4'..
AND IN MY LEGAL CUSTODY       ; ,,i , I !.Administrative Justiee of the Business Litigation Session
       John E. Powers, III


                r
       Acting Clerk Magistrate
       SUFFOLK SUPERIOR CIVIL COURT.
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Superior Court - Suffolk
Docket Number 2484CV00531
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                                                                       AFFIDAVIT OF SERVICE

       Case:                            Court:                                   County:                                Job:
       2484CV00531-BLS2                 Suffolk Superior Civil Court             ,MA                                    10757417 (22544865)

       Plaintiff / Petitioner:                                                   Defendant/ Respondent:
       Angela Gonneville                                                         Lens.com, Inc.
       Received by:                                                               For:
       One Legal, an InfoTrack Company                                            Phillips Garcia Law
       To be served upon:
       Lens.com, Inc.


      Recipient Name:        Karen Scott
      Recipient Address:     Business: 4730 S Fort Apache Rd Suite 300, Las Vegas, NV 89147
      Manner of Service:     Business Serve, Mar 28, 2024, 8:59 am PDT
      Documents:             Summons, Class Action Complaint, Civil Action Cover Sheet, Notice of Acceptance into Business Litigation Session
                             (BLS2), Demand Pursuant to Massachusetts General Law Chapter 93A Section 9

      Diligence / Comments:
      1) Successful Attempt: Mar 28, 2024, 8:59 am PDT at Business: 4730 S Fort Apache Rd Suite 300, Las Vegas, NV 89147 received by Karen Scott.
      Age: 55-60; Ethnicity: African American; Gender: Female; Weight: 150; Height: 5'4"; Hair: Black; Eyes: Black; Other: Served registered agent
      authorized except Documents, Karen Scott;

      Statement(s):
      I declare under penalty of perjury under the law of the State of Nevada that the foregoing is true and correct.




                                                      03/29/2024
      Reggie Mitchell                                 Date
      Registration: R-2019-12597

      InfoTrack US, Inc. - P000634
      1400 N McDowell Blvd, Suite 300
      Petaluma, CA 94954
      800-938-8815




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                               FOREG !NG DOCUMENT IS A FULL, ,
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Docket Number 2484CV00531
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                                     COMMONWEALTH OF MASSACHUSETTS

            SUFFOLK, SS                                                 SUPERIOR COURT DEPARTMENT
                                                                        BUSINESS LITIGATION SESSION

                                                              )
            ANGELA GONNEVILLE, individually                   )         C.A. NO. 2484CV00531-BLS2
            and on behalf of all others similarly situated,   )
                                                              )
                    Plaintiff,                                )
                                                              )
            v.                                                )
                                                              )
            LENS.COM, INC.,                                   )
                                                              )
                     Defendant.                               )
                                                              )

                                 ASSENTED TO MOTION FOR EXTENSION OF TIME
                                       TO RESPOND TO THE COMPLAINT

                     Plaintiff Angela Gonneville ("Plaintiff' or "Gonneville"), pursuant to Massachusetts Rule

             of Civil Procedure 6(b), hereby files this Stipulated Motion for Extension of Time to Respond to

             the above-captioned Class Action Complaint and, in support, states:

                 1. Plaintiff filed the Class Action Complaint on February 23, 2024.

                 2. Defendant was served with the Complaint on March 28, 2024, making its response due

             on April 17, 2024.

                 3. The Parties have agreed to extend the deadline for Defendant to respond to the Complaint

             to May 17, 2024.

                 4. This agreed request for an extension of time is made in good faith and not for purposes of

             delay. Given the early stage of this case, no party will be prejudiced by the request.



                    WHEREFORE, the Parties respectfully request that the Court enter an Order extending

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             the deadline for Defendant to respond to Plaintiff's Complaint to May 17, 2024


             DATED: April 3, 2024.



                                                          RESPECTFULLY SUBMITTED

                                                          On behalf of the Plaintiff,

                                                          /s/ Carlin J. Phillips
                                                          Carlin J. Phillips, BBO# 561916
                                                          Andrew J. Garcia, BBO# 559084
                                                          PHILLIPS & GARCIA, P.C.
                       ST AND CERTIFY ON u ,              13 Ventura Drive, Dartmouth, MA 02747
                               ,THATTHE
                                                          Tel. (508) 998-0800; Fax (508) 998-0919
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          TRUE AND CORRECT COPY OF THE                    cphillips@phillipsgarcia. corn
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          AND IN MY LEGAL CUSTODY                 , •
                John E. Powers, III
                Acting Clerk Magistrate                  On behalf of the Defendant,
                  UFFSZLK SUPERIOR CIVIL COURT
                              T OF THE TRIAL COURT
                                                         /s/ Jed H Hansen
                                                         Jed H. Hansen
                    Ald)isrdwr cudtg,                    Thorpe North & Western, LLP
                                                         175 South Main Street, Suite 900
                                                         Salt Lake City, Utah 84111
                                                         801-566-6633
                                                         hansen tnw.corn
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Date Fled 4/25/2024 12:18 PM                        Document 5 Filed 04/29/24 Page 26 of 141
Superior Court - Suffolk
Docket Number 2484CV00531




                                              CERTIFICATE OF SERVICE

                  I certify that on April 25, 2024, I served this document by first-class mail, postage prepaid,
            and email on:

                    Carlin Phillips
                    cphillips(,phillipsgarcia.com
                    Andrew J. Garcia
                    agarcia(4hillipsgarcia.com
                    Phillips & Garcia, P.C.
                    13 Ventura Drive
                    North Dartmouth, MA 02747

                                                                        /s/ Theodore J. Folkman




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Docket Number 2484CV00531
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                                        COMMONWEALTH OF MASSACHUSETTS

             Suffolk, ss.                                                                   Superior Court Department
                                                                                            of the Trial Court


            ANGELA GONNEVILLE, individually
            and on behalf of all others similarly
            situated,
                                                                            Civ. A. No. 2484CV00531-BLS2
                        Plaintiff,

            v.

            LENS.COM, INC.,

                        Defendant.


                                     NOTICE OF FILING OF NOTICE OF REMOVAL

                     Please take notice that the defendant, Lens.com, Inc., has removed this case to the United

             States District Court for the District of Massachusetts ("the District Court"). A copy of the Notice

            of Removal, which has been filed with the District Court, is attached to this Notice as Exhibit 1.

            Pursuant to 28 U.S.C. § 1446(d), this Court shall proceed no further unless and until the case is

            remanded.

                                 AND CERTIFY ON                       Respectfully submitted,
                                      , THAT THE l;!
                 FOR GOING DOCUMENT IS A FULL,                        LENS.COM, INC.
                 TRUE AND CORRECT COPY OF THE                    11
                 ORIGINAL ON FILE IN MY OFFICE,
                 AND IN MY LEGAL CUSTODY:,             I 'i i;
                                                                      By its attorney:

                      John E. Powers, M       `!h,   '                /s/ Theodore J. Folkman
                      Acting Clerk Magistrate
                       UFFOLK SUPERIOR CIVIL COURT
                         PA         T OF THE TRIAL COURT              Theodore J. Folkman (BBO No. 647642)
                                                                      RUBIN AND RUDMAN LLP
                                                                      53 State St.
                               ALkAismov                              Boston, Mass. 02109
                                                                      (617) 330-7135
            Dated: April 25, 2024                                     tfoLkin an reb rub inrudinan. corn
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                                          EXHIBIT 1
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Superior Court - Suffolk
Docket Number 2484CV00531        Case 1:24-cv-11110     Document 1 Filed 04/25/24 Page 1 of 9




                                           UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF MASSACHUSETTS


            ANGELA GONNEVILLE, individually
            and on behalf of all others similarly
            situated,
                                                                     Civ. A. No.
                         Plaintiff,

            v.

            LENS.COM, INC.,

                         Defendant.


                                 DEFENDANT LENS.COM, INC.'S NOTICE OF REMOVAL

                     Pursuant to 28 U.S.C. §§ 1332(d), 1441, and 1446, Defendant Lens.com, Inc.

             ("Lens.com") hereby gives notice of the removal of the action captioned as Angela Gonneville v.

             Lens.com, Inc., Docket No. 2484CV00531-BLS2, filed in the Suffolk Superior Court (the "State

             Action"), to the United States District Court for the District of Massachusetts. The ground for

             removal is diversity of citizenship. In further support, Lens.com states as follows:

                                             PROCEEDINGS IN STATE COURT

                     1.         On February 23, 2024, Plaintiff Angela Gonneville filed the removed case, Angela

             Gonneville v. Lens.com, Inc., Case No. 2484CV00531-BLS2, in the Suffolk Superior Court. A

             true and correct copy of the Class Action Complaint ("Complaint") is attached as Exhibit A. A

             true and correct copy of the Summons that issued is attached as Exhibit B.

                     2.         Plaintiff served Lens.com on March 28, 2024, as reflected in the Affidavit of

             Service, attached as Exhibit C.



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                     3.     A true and correct copy of the complete record in this action in Suffolk Superior

             Court is attached as Exhibit D.

                     4.     Exhibits A—D constitute all the process, pleadings, and orders that are available

             from the public state court record in connection with Case No. 2484CV00531-BLS2, in the

             Suffolk Superior Court, as of the date of the filing of this Notice of Removal.

                                        NATURE OF THE REMOVED ACTION

                     5.     Plaintiff alleges that she "is an individual who resides in Massachusetts." Compl.,

             ¶ 3. On information and belief, she is domiciled in Massachusetts.

                     6.     Plaintiff alleges that Lens.com "is a Nevada corporation with its principal place of

             business in the State of Missouri." Id., ¶ 4. In fact, Lens.com is a corporation organized and

             existing under the laws of the State of Nevada with its principal place of business in Nevada.

                     7.     Plaintiff alleges that "Lens.com packs a junk fee into its transactions which it

             describes after the point of purchase as a `processing fee.'" Id., ¶¶ 13-17.

                     8.     Plaintiff alleges that she was personally harmed in August 2019, when she

             purchased three boxes contact lenses for a total price of $82.50. Id., ¶ 20. According to Plaintiff,

             she paid an undisclosed processing charge of $5.21. Id.

                     9.     Plaintiff alleges that she was harmed again in May 2020, when she purchased

             another three boxes of contact lenses for a total price of $164.05. Id., ¶ 21. According to

             Plaintiff, she paid an undisclosed processing charge of $22.57. Id.

                     10.    Plaintiff alleges that she was harmed a third time in April 2021, when she

             purchased another three boxes of contact lenses for a total price of $111.97. Id., ¶ 22. According

             to Plaintiff, she paid an undisclosed processing charge of $55.97. Id.


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                     11.     Plaintiff seeks to represent a putative class of Massachusetts consumers. Plaintiff

             defines her putative class as follows:

                     All consumers who purchased contact lenses in Massachusetts and were charged a
                     processing or handling fee with the contact lens order in the six years preceding the filing
                     of this Complaint. Id., ¶ 24.

                     12.     Plaintiff, on behalf of herself and the putative class, brings claims against

             Lens.com for Breach of Contract (Count I), Breach of the Duty of Good Faith and Fair Dealing

             (Count II), and Unjust Enrichment (Count III). Id., ¶¶ 33-52.

                     13.     Plaintiff seeks class-wide damages, including "compensatory damages and/or or

             restitution or refund of all funds acquired by Lens.com ... as a result of [Lens.com's] unlawful,

             unfair, deceptive and unconscionable practices;" and "compensatory damages caused by

             Lens.com's breach of contract." Id. at 14. Plaintiff further seeks pre- and post-judgment

             interests, costs, and attorneys' fees. Id.

                    14.      Plaintiff also sent Lens.com a demand letter dated March 26, 2024 ("Demand

             Letter") "pursuant to Massachusetts General Laws Chapter 93A Section 9," attached as

             Exhibit E. In the Demand Letter, Plaintiff accuses Lens.com of "charging hidden and inflated

            junk fees in online purchases of contact lenses" and states that Lens.com has "thirty days after

             receipt of this letter to make a reasonable written tender of settlement or be exposed to potential

            treble damages and attorney's fees and costs." Id. Plaintiff further demands that Lens.com

            "identify all Massachusetts consumers for the last six years who were charged a processing and/or

            handling fee, the date of the fee(s) and the amounts(s)" and that Lens.com "agree to reimburse all

            identified Massachusetts consumers three times the amount of all processing and/or handling fees

            paid." Id.


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                    .15.    In accordance with the Demand Letter, Plaintiff intends to amend the Complaint to

             include a claim under G.L. c. 93A, § 9 and will seek "three times the amount of all processing

             and/or handling fees paid," as well as attorney's fees.

                                      REMOVAL TO THIS DISTRICT IS PROPER

                     16.    The State Action can be properly removed this Court under 28 U.S.G. § 1441(a)

             because this Court is the United States District Court for the district embracing Suffolk County,

             the location where the State Action was pending.

                     17.    However, Lens.com will not ultimately consent to venue in the United States

             District Court for the District of Massachusetts, because an operative forum-selection clause

             requires the action be brought in Nevada. Thus, pursuant to 28 U.S.C. § 1404(a), Lens.com

             intends to move to transfer this action to the United States District Court for the District of

             Nevada, for two reasons. First, a nationwide class action was recently filed in Nevada and those

             claims overlap with the claims here. See Franks v. Lens.com Inc., Case No. 2:24-cv-0724

             (District of Nevada). Second, all parties to this action have consented to jurisdiction in Nevada in

             a forum-selection clause.

                                                  REMOVAL IS TIMELY

                     18.    Plaintiff served Lens.com with a copy of the Complaint on March 28, 2024. See

             Ex. C, Affidavit of Service at 1.

                     19.    Removal is timely under 28 U.S.C. § 1446(b) because this Notice of Removal was

             filed on April 25, 2024, which is within 30 days of service of the Complaint.




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                                                  REMOVAL IS PROPER

                     20.     Removal is proper under the Class Action Fairness Act ("CAFA"), see 28 U.S.C.

             § 1332(d), because this matter is a class action with minimally diverse parties, there is an

             aggregate amount in controversy in excess of $5,000,000, and the number of proposed class

             members is more than 100.

                     21.     First, the parties are at least minimally diverse. Plaintiff, who seeks to represent

             the class, is a citizen of Massachusetts. See Compl. ¶ 3 (alleging that Plaintiff is a resident of

             Massachusetts). Lens.com is not a Massachusetts citizen—it is headquartered in Nevada and

             incorporated under Nevada law. See Compl. ¶ 4; 28 U.S.C. § 1332(c)(1) ("[A] corporation shall

             be deemed to be a citizen of every State and foreign state by which it has been incorporated and

             of the State or foreign state where it has its principal place of business."). Because Plaintiff is a

             citizen of Massachusetts and Lens.com is a citizen of Nevada, the parties are at least minimally

             diverse. See 28 U.S.C. § 1332(d)(2) ("The district courts shall have original jurisdiction of any

             civil action in which the matter in controversy exceeds the sum or value of $5,000,000, exclusive

             of interest and costs, and is a class action in which [] any member of a class of plaintiffs is a

             citizen of a State different from any defendant.").

                     22.    None of the CAFA exceptions to federal jurisdiction over a putative class action

             apply because the "primary defendant[]" or the defendant "from whom significant relief is

             sought"—Lens.com, the only named defendant in this action—is not a Massachusetts citizen. See

             28 U.S.C. § 1332(d)(3)—(4).

                     23.    Second, the amount in controversy requirement is met. To satisfy the amount-in-

             controversy requirement, a removing defendant needs to "include only a plausible allegation that


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             the amount in controversy exceeds the jurisdictional threshold." Dart Cherokee Basin Operating

             Co. v. Owens, 574 U.S. 81, 89 (2014). "Evidence establishing the amount" is not required to be

             included with the notice of removal but instead is required only "when the plaintiff contests, or

            the court questions, the defendant's allegation." Id.

                    24.     "A defendant can satisfy its burden to establish the amount in controversy by a

             reasonable probability by relying on the face of the complaint in the underlying case, by alleging

             facts in its notice of removal to support its amount in controversy allegation, or by submitting

            summary judgment type evidence." Khath v. Midland Funding, LLC, 2016 U.S. Dist. LEXIS

            43493, at *13 (D. Mass. Jan. 7, 2016) (citing Composite Co. v. Am. Int'l Grp., Inc., 988 F. Supp.

            2d 61, 74 (D. Mass. 2013)).

                    25.     To determine the amount in controversy, the Court first looks to whether plaintiff

            made specific damage allegations in the complaint. See Coventry Sewage Assocs. v. Dworkin

            Realty Co., 71 F.3d 1, 6 (1st Cir. 1995). A court will determine the amount in controversy from

            the face of the complaint 'unless it appears or is in some way shown that the amount stated in the

            complaint is not claimed in good faith.'" Coventry Sewage, 71 F.3d at 4 (quoting Horton v.

            Liberty Mut. Ins. Co., 367 U.S. 348, 353 (1961)). "`[W]hen a plaintiff makes a claim under a

            statute including a damage multiplier, a court must apply that factor in evaluating the amount in

            controversy." Lucas v. Ultima Framingham LLC, 973 F. Supp. 2d 98, 2013 WL 5405668, at *3

            (D. Mass. 2013) (quoting Evans v. Yum Brands, Inc., 326 F. Supp. 2d 214, 222 (D.N.H. 2004)).

            The amount in controversy includes statutorily authorized attorneys' fees and multipliers of

            damages, such as the treble damages provision in Chapter 93A. See, e.g., Crandall v. Travelers

            Personal Sec. Ins. Co., 2024 U.S. Dist. LEXIS 12106, at *2 (D. Mass. Jan. 18, 2024); Santos v.


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             Preferred Mut. Ins. Co., 21 F. Supp. 3d 111, 116 n.2 (D. Mass. 2014); Williams v. Litton Loan

             Servicing, 2011 U.S. Dist. LEXIS 90689, at *5 (D. Mass. Aug. 15, 2011).

                     26.     Here, Plaintiff seeks "compensatory damages and/or restitution or refund of all

             funds acquired by Lens.com from Plaintiff and the Class Members ... in an amount to be proven

             at trial." Compl. at 14. While Lens.com disputes Plaintiff's class definition, Plaintiff alleges that

             the class members include "[a]11 consumers who purchased contact lenses in Massachusetts and

             were charged a processing or handling fee with the contact lens order in the six years preceding

             the filing of this Complaint." Id., ¶ 24. From 2018 to 2023, Lens.com estimates that its total sales

             in Massachusetts were approximately $21,200,000. Thus, the "compensatory damages and/or

             restitution or refund of all funds acquired by Lens.com from Plaintiff and the Class Members"

             exceeds the $5 million threshold.

                     27.    Plaintiff also seeks "compensatory damages caused by Lens.com's breach of

             contract." Id. at 14.

                     28.    Plaintiff also seeks "pre- and post judgment interest." Compl. at 14.

                     29.    Plaintiff also seeks "reasonable attorney' fees and costs." Compl. at 14. A court

             may consider potential attorney's fees as part of the amount-in-controversy calculation when "a

             statute mandates or allows the payment of such fees." Dep't of Rec. & Sports of P.R. v. World

             Boxing Ass'n, 942 F.2d 84, 89 (1st Cir. 1991).

                     30.    Taken as a whole, the demands of the Complaint thus plausibly exceed the $5

             million threshold for federal jurisdiction under 28 U.S.C. § 1332(d). Dart, 574 U.S. at 89.

                     31.    In addition to these restitution and damages claims, Plaintiff also served a Demand

             Letter with its complaint indicting that Plaintiff intends to amend the Complaint to include a claim


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             under G.L. c. 93A, § 9. While these causes of action are not yet part of the complaint, these

             claims will also add to the damages claimed in this matter. The demand letter seeks "three times

             the amount of all processing and/or handling fees paid." From 2018 to 2023, Lens.com estimates

             that Massachusetts consumers paid approximately $3,500,000 in processing fees. Three times the

             amount of all processing and or handling fees paid is approximately $10,500,000. This alone

             would also satisfy the $5 million threshold.

                     32.     Third, because Lens.com is a well-established company that sells products to

             consumers across the country, the number of proposed class members is greater than 100. For

             example, based on the current class allegation in the complaint, Lens.com estimates that in 2023

             alone, it sold products to over 7,000 customers in Massachusetts.

                     33.     Pursuant to 28 U.S.C. § 1446(d), Lens.com will serve written notice of removal of

             this case on Plaintiff's counsel by first-class mail and email at the following addresses:

                    Carlin Phillips
                    cphillipsAphillipsgarcia.com
                    Andrew J. Garcia
                    agarcia@phillipsgarcia.com
                    Phillips & Garcia, P.C.
                    13 Ventura Drive
                    North Dartmouth, MA 02747

                    34.     Pursuant to 28 U.S.C. 1446(d), Lens.com will promptly file a notice of filing of

             notice of removal with the Clerk of the Suffolk Superior Court.

                    35.      The recitation of Plaintiff's allegation in this Notice of Removal is not a

             concession that Plaintiff's allegations or legal theories have merit. Lens.com reserves the right to

             assert all applicable defenses in this matter and denies that Plaintiff is entitled to any relief. By

             removing this matter, Lens.com does not waive and reserves any rights it may have, including,


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             without limitation, all available arguments and affirmative defenses. Lens.com does not concede

             that Plaintiff is entitled to any recovery whatsoever.

                                                       CONCLUSION

                    36.     Pursuant to 28 U.S.C. §§ 1332(d), 1441 and 1446, Lens.com hereby removes the

             above-captioned action from the Suffolk Superior Court to the U.S. District Court for the District

             of Massachusetts.



                                                           Respectfully submitted,

                                                           LENS.COM, INC.

                                                           By its attorneys:

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            Dated: April 25, 2024




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                                      COMMONWEALTH OF MASSACHUSETTS

              SUFFOLK, SS                                         SUPERIOR COURT DEPARTMENT
                                                                  BUSINESS LITIGATION SESSION


                                                                 )
             ANGELA GONNEVILLE, individually                     )       CIVIL ACTION NO.
             and on behalf of all others similarly               )
             situated                                            )
                                                                 )      kg
                     Plaintiff                                   )
                                                                 )
             v.                                                  )
                                                                 )
             LENS.COM, INC.                                      )
                                                                 )
                     Defendant                                   )
                                                                 )

                                            CLASS ACTION COMPLAINT

                     Plaintiff, Angela Gonneville, individually and on behalf of all others similarly situated,

             brings this Class Action Complaint for damages for unfair and deceptive sales practices committed

             by Defendant, Lens.com, Inc.

                                                    INTRODUCTION

                     1       This is a consumer class action case involving an undisclosed junk fee that

             Lens.com charges as part of online contact lens orders. More particularly, Lens.com adds an

             undisclosed and non-itemized "processing charge" to contact lens orders after customers have

             already filled out the details of their contact lens orders. Lens.com has received numerous

             complaints regarding this undisclosed charge.

                     2.     Plaintiff seeks to represent a class of consumers in Massachusetts who have paid

             an undisclosed processing or handling charge on their contact lens order. Given the amount of the




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             fees at issue and given the number of potential consumers impacted, a class action is the most

             judicially efficient manner of adjudicating this dispute.

                                         PARTIES. JURISDICTION AND VENUE

                     3.     Plaintiff, Angela Gonneville ("Plaintiff" or "Ms. Gonneville"), is an individual who

             resides in Massachusetts.

                     4.     Defendant, Lens.com, Inc. ("Lens.com" or "Defendant"), is a Nevada corporation

             with its principal place of business in the State of Missouri.

                     5.     The Court has original jurisdiction over the civil claims alleged in Plaintiff's

             Complaint pursuant to M.G.L. ch. 212 § 4.

                     6.     This Court has personal jurisdiction over Lens.com pursuant to M.G.L. ch. 223 § 3

             because Lens.com conducts significant business in Massachusetts, namely through the marketing,

             advertising, selling and delivery of contacts lens products in Massachusetts to consumers such as

             Plaintiff.

                     7.     Likewise, venue is proper here as the defendant markets, advertises, sells and

             delivers contacts lens products to Massachusetts consumers in this county.

                                               FACTUAL BACKGROUND

                     The Business of Lens.com

                     8.     Lens.com is an online seller of contact lenses and claims that it provides consumers

            "the best way to buy contact lenses - better than your eye doctor, better than big box, better than

            other websites." Lens.com further claims that it offers the lowest prices of any contact lens seller

            online or in-store and that most orders ship within 24 hours.

                     9.     Lens.com markets its contact lenses as having "Year Round Unbeatable Prices."

            On its website it states that it has delivered over 691 million contact lenses. It further touts that,
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            "With over 35 Million contact lenses in stock, we immediately fill your order with your exact

            prescription."

                   10.       In a FAQ (frequently asked question) on its website entitled, "How much does

            shipping cost?", Lens.com states: "At Lens.com we don't bury the cost of shipping in every box

            we sell. We are completely transparent and let you decide what's best for you. We offer you

            reliable shipping at extremely competitive prices/rates. You will be able to select the best method

            for your personal needs at checkout." It then includes a chart of shipping costs within the United

            States, Canada and Internationally. Nowhere under its description of shipping costs is there

            mention of a "processing" or "handling" fee of any kind. A search of the words "Processing Fee"

            on Lens.com's website yields no information.

                   The Proliferation of Junk Fees in Online Consumer Transactions

                   11.       Retailers, like Lens.com, are increasingly charging consumers "junk fees" in online

            transactions to increase profits. "Junk Fees" are defined by the Federal Trade Commission as

            "unnecessary, unavoidable, or surprise charges that inflate costs while adding little to no value."

            The FTC notes that "[c]onsumers can get hit with junk fees at any stage of the purchase or payment

            process. Companies often harvest junk fees by imposing them on captive consumers or by

            deploying digital dark patterns and other tricks to hide or mask them." https://www.ftc.gov/news-

            events/news/press-releases/2022/10/federal-trade-commission-explores-rule-cracking-down-

            junk-fees.

                   12.       Common junk fees are convenience fees, processing fees, resort fees, service fees

            and overdraft fees. The White House recently issued a junk fee guide for the states noting how

            junk fees have overrun the American economy and are "often not disclosed upfront and only

            revealed after a consumer has decided to buy something, obscure true prices and dilute the forces
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             of    market     competition      that    are    the    bedrock      of     the   U.S.   economy."

             https://www.whitchouse.goviwp-content/uploads12023/03/WH-Junk-Fees-Guide-for-States.pdf

                    Lens.com's Sales Practices and Junk Fees

                    13.     Lens.com's marketing materials state that "we don't bury the cost of shipping in

             every box we sell. We are completely transparent and let you decide what's best for you. We

             offer you reliable shipping at extremely competitive prices/rates. You will be able to select the

             best method for your personal needs at checkout."

                    14.     Despite these claims, Lens.com packs a junk fee into its transactions which it

             describes after the point of purchase as a "processing fee." This processing fee is separate from

             its shipping fee, which in the Plaintiff's case was either free or $7.95.

                    15.     Lens.com fails to disclose or itemize its processing fee during online transactions

             and inflates the total transaction price by the amount of the hidden processing fee at the end of the

             transaction when a consumer's credit card is being processed. These hidden fees add to the total

             product price but are not disclosed at any point in the cycle of the transaction, in marketing

             materials, frequently asked questions on Lens.com's website or in product pricing disclosures.

                    16.     In some transactions, Lens.com never discloses the existence or amount of its

             processing fee. In other transactions the hidden fees are only disclosed on a packing slip provided

             to the consumer when the product is delivered. In those circumstances, the hidden fees are listed

             as "PROCESSING" or as "Shipping & Handling" fees.

                    17.     The amount of the processing fee charged by Lens.com varies greatly and from

             transaction to transaction. The Plaintiff's processing fees were $55.97, $22.57 and $5.21.

                    18.     Numerous online complaints made by Lens.com customers describe processing

             fees that are over $100. The below listed consumer complaints made to Complaints Board, an
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             online consumer complaint center, describe Lens.com's surprise processing fee. Each consumer

             referenced below contacted the Defendant's customer service line to complain about the

             processing fee and, accordingly, these complaints constitute notice and knowledge to the

             Defendant of the unfair and deceptive nature of their processing and other fees. The online

             complaints state in relevant part:

                        Processing Fees
                        Contact lenses were ordered for my child over the phone in February of
                        2021. The bill received did not break out the $103 processing fee for an
                        order of $107 in contacts. The processing fee did not include shipping fees.
                        This was discovered when trying to tally the order for reimbursement by the
                        child's father months later and the lens cost did not add up to the total. When
                        contacting the company the only adjustment offered was a $7.95 shipping
                        credit. The price of contacts was severely misrepresented due to the
                        arbitrary and, per customer service, ever changing "processing fees".
                        (Chobbs 1411 of US; August 27, 2021)

                        Lens.com review: Astronomical processing fee for contact lens order.
                        Customer since 2014... Last order placed 12/26/2020 and was charged
                        processing fee of $110.38... I immediately contacted the company and was
                        simply told "that was their processing fee"... I escalated the issue as I have
                        never paid more than $35.96 for a processing fee (last order was 8/2020 and
                        fee was $29.54)... Continued to reach out via email and was finally told on
                        Jan 3rd that my complaint was escalated to leadership... I reached out again
                        on Jan 11, 12 and now this morning and have never been contacted back...
                        I am now in the process of disputing charge with the credit card company...
                        I have included the processing fees paid so you can see for yourself the
                        ridiculous amount charged this last order:

                                4-2014 $18.16
                                3-2015 $26.47
                                8-2015 $26.11
                                9-2016 $35.96
                                9-2017 $25.51
                                9-2018 $25.99
                                12-2019 $27.51
                                8-2020 $29.54
                                12-2020 $110.38

                        I understand I owe for the contacts but I refuse to pay that amount for
                        processing! (juhnklo of US; January 15, 2021)
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                       Extraordinarily high processing fee.
                       On July 7, 2023, I submitted an order and paid $220 for 4 boxes of contacts.
                       A bargain so I thought, because I would also get a $75 rebate. Again, so I
                       thought. Imagine my surprise when I see I was charged $330 for my order
                       due to a huge $120 processing fee. Apparently the 'submit order' button
                       appears before the processing fee (which requires you to scroll down past
                       the submit order so you don't see the additional fee.) It doesn't appear on the
                       consumers invoice on their site, but somehow when you questions it, the
                       Customer service people are able to produce an invoice showing the fee.
                       They claim it is automatically added 'by the system' and they cannot refund
                       any portion of it. The processing fee was more than 50% of my total
                       purchase and in reading the complaints about them, they take so long to
                       issue the $75 rebate that the expiration date is so close or past, rendering it
                       useless as it is a visa gift card. These complaints date back to 2014 and
                       nothing has changed. Below is the invoice AFTER the order was submitted.
                       (K. Lennon, Rochdale, MA; July 18, 2023)

                       Lens.com added 85% to my order in "tax & fees"
                       E6Jii]l intended to purchase 4 boxes of contact lenses at $31.74 per box. They
                       advertised $9.24 per box if I ordered 8 boxes, which would have been
                       $73.92, instead of $253. 92. When I clicked "checkout" the total
                       was$485.79! They added $213.92 in "tax & fees", which is an additional
                       85%.

                       I clicked the "chat 24/7" line and the rep did everything possible to avoid
                       explaining what "fees" were, since tax would be no more than $22 in any
                       state. I had to ask SIX TIMES, but he finally was forced to admit that "fees"
                       were: "This includes calling your doctor on your behalf, doctor's fees since
                       we need to verify your prescription, and handling and processing your order.
                       If the customer has a valid prescription, there is no need to call the doctor.
                       Tax would have been $20 so the "rebate" which was applied to the order,
                       tax and their undisclosed "fees" added 85% to the cost of the order. I told
                       them that was fraud and they lost my business. (Gail Reznik of US; March
                       26, 2023)

                       Hidden taxes and fees
                       When I went to re-order my contacts at Lens.com I noticed advertised
                       pricing and total cost didn't add up. I went to order my 8 boxes so I would
                       get the $160 RB. Listed at $42.79 per box before RB (22.79 after RB) times
                       the required 8 boxes = 342.32 ($182.32 after RB)plus $9.95 Shipping. This
                       should make for a grand total of $352.27( before RB). At check out total
                       came up as $566.19! Call Lens.com, spoke with a rep. I was told to go back
                       to the shipping page, there they show a "Taxes & fees" of 213.92! Contacts
                       are NOT taxable! They are a rip off company with miss leading and Illegal
                       sales tactics. I've used them several times in the past and had not been
                       charged these taxes & fees, I will no longer purchase from them and will
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                         tell others of my bad experience. (Sharon McD of Levittown, US; March 1,
                         2023.

                         Lens.com review: Deceptive fees and rebate hurdles
                         Customer since 2014, but noticed a huge disparity in cost when initiating
                         my most recent order. Without a rebate, they show $72.24 per 90-lens box
                         of 1-day lenses. Buy 8 boxes and the price (after rebate) is shown as $35.99
                         and rebate as $290. Great. The next screen in the checkout asks you to
                         confirm where you want the boxes sent with a 'continue' button below it.
                         When you accidentally scroll below that, you see a blowout of the order,
                         with a whopping $241.92 in taxes and fees that "are compensation for
                         servicing your order". That's the only place they show the added taxes/fees.
                         If you click 'continue' and approve where to send the boxes, you miss that,
                         because the final checkout screen never shows that added charge in its
                         summary of your order. ... This is deceptive. (eyecu of Seattle, US; January
                         12, 2023)

                         Ridiculous fee added without my knowledge
                         I just learned that they added a $50 fee for for processing on an $80 order.
                         And the customer rep could not explain what the processing fee was for.
                         What a ripoff! (thomassu of Centerville, US; December 5, 2022)

                   19.      These consumer complaints describe in detail the repeated notice that Lens.com has

            received from consumers about its hidden processing fees and demonstrate its continued use of

            unfair and deceptive acts and practices to create revenue from junk fees.

                   Plaintiff's Transactions

                   20.      Plaintiffs transactions with Lens.com highlight the deceptive nature of Lens.com's

            business practices. In August 2019, Plaintiff ordered three boxes of contact lenses for a total price

            of $77.29 with free shipping. The subtotal that was charged to Plaintiff, however, was $82.50,

            which included a $5.21 undisclosed processing charge. The "processing fee" was only disclosed

            on the packing form delivered with the contact lenses.

                   21.      Likewise, in May 2020, Plaintiff ordered three boxes of contact lenses for a total

            price of $141.48 with free shipping. The subtotal that was charged to Plaintiff, however, was
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            $164.05, which thus included a $22.57 undisclosed processing charge. The packing form received

            when the contact lenses were delivered indicated a charge of $30.52 for "shipping & Handling."

                   22.     Similarly, in April 2021, Plaintiff ordered three boxes of contact lenses with a total

            price of $55.97 and free shipping. However, the subtotal charged to Plaintiff was $111.97 and

            thus included an undisclosed processing charge of $55.97. The one-page packing form received

            when the contact lenses were delivered did not itemize the transaction charges or disclose the

            amount of the processing fee.

                   23.     Plaintiff ultimately complained to Lens.com about the processing charges and was

            told that the processing fee used to be disclosed on the website but had been removed, there had

            been recent changes to the website but the fee was still not disclosed, the failure to disclose the

            processing fee has been reported to IT by several other agents and that Lens.com was trying to get

            that back up on the website.

                                              CLASS ACTION ALLEGATIONS

                   24.     Pursuant to Massachusetts Rule of Civil Procedure 23, Plaintiff brings this class

            action individually and on behalf of the following proposed class of persons, initially defined as:

            All consumers who purchased contact lenses in Massachusetts and were charged a processing or

            handling fee with their contact lens order in the six years preceding the filing of this Complaint.

            (hereinafter the "Class").

            The Class does not include Defendant; any affiliate, parent or subsidiary of Defendant; any entity

            in which Defendant has a controlling interest; any officer, director or employee of Defendant; any

            successor or assign of Defendant; Plaintiff's counsel or anyone employed by Plaintiffs counsel in

            this action and their immediate families; any judge to whom this case is assigned and any member
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             of his/her immediate family and staff; governmental entities; or individuals who have personal

             injury claims as a result of conduct and/or defects alleged herein.

                     25.       Plaintiff reserves the right to amend or supplement the Class descriptions with

             greater specificity or further division into subclasses or limitation to certain issues, after

             conducting discovery in this matter. Plaintiff also reserves the right to amend or supplement the

             proposed Class after conducting discovery in this matter.

                                          Rule 23 Class Certification Requirements

                    26.        Numerosity of the Class — The members of the Class are so numerous that their

             individual joinder is impracticable. Plaintiffs are informed and believe that Lens.com processed

             tens or hundreds of thousands of contact lens orders and included an undisclosed processing fee

             with those orders. Adjudication of the claims in a class action context will provide substantial

             benefits to the parties and the Court.

                    27.        Commonality and Predominance — Common questions of law and fact exist as to

             all members of the Class and predominate over questions affecting only individual Class members,

             as is required by Mass. R. Civ. P. 23(a)(2) and (b)(3). These common questions include, but are

             not limited to:

                               a) whether Lens.com engaged in the conduct alleged herein;

                               b) whether Defendant failed to adequately disclose a processing and/or handling
                                  fee prior to the completion of an online order for contact lenses;

                               c) whether Defendant's undisclosed processing and/or handling fee inflated the
                                  product price;

                               d) whether Defendant's processing and/or handling fees exceeded actual costs
                                  and constituted a hidden profit for Defendant;

                               e) whether Plaintiff and Class Members suffered out-of-pocket losses as a result
                                  of Defendant's actions and/or inactions alleged herein, and if so, how much;
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                           f) whether Plaintiff and Class Members will suffer out-of-pocket losses as a result
                              of Defendant's alleged actions and/or inactions alleged herein, and if so, how
                              much.

                    28.    Typicality — The claims of the representative Plaintiff are typical of the claims of

            each member of the Class, thus satisfying Mass. R. Civ. P. 23(a)(3). Plaintiff, like all other

            members of the Class, have sustained damages arising from Lens.com's violations of the laws, as

            alleged herein. The representative Plaintiff and the members of the Class were and are similarly or

            identically harmed by the same unlawful, deceptive, unfair, systematic, and pervasive pattern of

            misconduct engaged in by Lens.com. Plaintiff's claims arise from the same practices and course

            of conduct that give rise to the claims of all other members of the Class.

                   29.     Adequacy — The representative Plaintiff will fairly and adequately represent and

            protect the interests of the Class Members and have retained counsel who are experienced and

            competent trial lawyers in complex litigation and class action litigation, thus satisfying Mass. R.

            Civ. P. 23(a)(4). There are no material conflicts between the claims of the representative Plaintiff

            and the members of the Class that would make class certification inappropriate. Counsel for the

            Class will vigorously assert the claims of all Class members.

                   30.     Declaratory or Injunctive Relief — Lens.com has acted and refused to act on

            grounds generally applicable to Plaintiff and Members of the Class, thereby making final

            injunctive relief or corresponding declaratory relief appropriate regarding the Class as a whole.

            Mass. R. Civ. P. 23(b)(2).

                   31.     Superiority — This suit may be maintained as a class action under Mass. R. Civ. P.

            23(b)(3), because a class action is superior to any other available means for the fair and efficient

            adjudication of this dispute and no unusual difficulties are likely to be encountered in its

            management of this class action. The damages suffered by individual class members are small in

            comparison to the burden and expense of individually litigating each claim and based on the

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            complex and extensive litigation needed to address Spirit's conduct. Further, it would be virtually

            impossible for the Class Members to individually redress effectively the wrongs done to them.

            Even if Class Members themselves could afford such individual litigation, the court system could

            not. In addition, individualized litigation increases the delay and expense to all parties and to the

            court system resulting from complex legal and factual issues of the case. Individualized litigation

            also presents a potential for inconsistent or contradictory judgments. By contrast, the class action

            device presents far fewer management difficulties; allows the hearing of claims which might

            otherwise go unaddressed because of the relative expense of bringing individual lawsuits; and

            provides the benefits of single adjudication, economies of scale, and comprehensive supervision

            by a single court.

                   32.     Ascertainability: Upon information and belief, the precise number of Class

            Members may be ascertained from Lens.com's records. Plaintiff contemplates the eventual

            issuance of notice to the proposed Class members setting forth the nature of the instant action.

            Upon information and belief, Class members may be notified of this action by recognized, Court

            approved notice dissemination methods, which may include U.S. mail, electronic mail, Internet

            postings, social media, and published notices, in addition to Lens.com's own business records.


                                                   COUNT I
                                              BREACH OF CONTRACT

                   33.     Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained

            in paragraphs 1 through 23 as though fully stated herein.

                   34.     Plaintiff's and other Class members' purchase of contact lenses constituted a

            contract between them and Lens.com, namely through the terms and conditions on the Lens.com
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            site. The terms and conditions do not mention a processing charge for online orders of contact

            lenses.

                      35.     Plaintiff and the Class Members performed all requirements under their agreements

            with Lens.com, namely the payment of the amount charged by Lens.com for the order.

                      36.     Lens.com breached its agreement with Plaintiff and the Class Members when it

            charged a hidden processing fee in connection with the contact lens orders.

                      37.     Plaintiff and members of the Class have suffered an injury through the payment of

            the processing fee.

                      38.     Plaintiff and Class members are therefore entitled to all incidental, consequential,

            and indirect damages resulting from Lens.com's breach of contract. Lens.com's breach caused

            damages to Plaintiff and the Class Members.

                      39.     Plaintiff and the Class Members seek to recover all permitted damages and their

            attorneys' fees caused by Defendant's breach.

                                                COUNT II
                            BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

                      40.     Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained

            in paragraphs 1 through 23 as though fully stated herein.

                      41.     The Defendant had an obligation to exercise of duty of good faith and fair dealing

            when transacting business with Plaintiff and the Class.

                      42.     The Plaintiff and the Class made purchases at Lens.com's online website.

            Lens.com advertised, disclosed and charged a specific price for each contact lens purchase. It

            claimed that it had the lowest contact lens prices.
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                    43.     However, the Defendant, as matter a pattern and practice, assessed hidden junk fees

            to consumer's transaction which it labeled as processing and/or handling fees. These fees were

            not described on the Defendant's website or as part of the sale.

                    44.     In addition, these junk fees varied from transaction to transaction.

                    45.     The junk fees were charged to Plaintiff's credit and debit cards, thereby driving up

            the actual costs of their contact lens purchases.

                    46.     Lens.com used these hidden fees, which do not purport to approximate actual

            expenses incurred, as a hidden profit center. Not including these hidden fees in the product price

            allowed Lens.com to falsely claim that it had the lowest prices.

                    47.     Lens.com's pattern and practice of charging its consumers hidden junk fees in its

            transactions constituted a breach of the duty of good faith and fair dealing it owed to consumers

            as part of the transactions.

                   48.     As a direct and proximate result of the Defendant's acts and/or omissions, the

            Plaintiff and the Class suffered damages.

                                                     COUNT III
                                                UNJUST ENRICHMENT

                   49.     Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained

            in paragraphs 1 through 23 as though fully stated herein.

                   50.     Plaintiff and the Class Members conferred substantial benefits on Lens.com by

            purchasing contact lenses and by paying processing charges to Lens.com.

                   51.     Lens.com knowingly and willingly accepted and enjoyed those benefits.

            Lens.com's retention of these benefits is inequitable and would be against good conscience

                   52.     As a direct and proximate cause of Lens.com's unjust enrichment, Plaintiff and the

            Class Members are entitled to restitution, attorneys' fees, costs and interest.


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                                                 PRAYER FOR RELIEF

                   WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, pray

            for a judgment against Defendant as follows:

                   a. For an order certifying the Class, appointing Plaintiff as Representative of the Class,

            and appointing the law firm representing Plaintiff as counsel for the Class;

                   b. For compensatory damages and/or restitution or refund of all funds acquired by

            Lens.com from Plaintiff and the Class Members as a result of the Company's unlawful, unfair,

            deceptive and unconscionable practices described herein in an amount to be proven at trial;

                   c. For compensatory damages caused by Lens.com's breach of contract with Plaintiff and

            the Class Members to the extent permitted by law in an amount to be proven at trial;

                   d. Both pre-and post judgment interest on any amounts awarded;

                   e. Payment of reasonable attorneys' fees and costs as allowed by law;

                   f. Such other and further relief as the Court may deem just and proper.

                                                     JURY DEMAND

                   The Plaintiff requests a trial by jury on all claims.


                                                                   On behalf of the Plaintiff and the
                                                                   Putative Class,

                                                                   /s/ Carlin   Phillips

                                                                  Carlin Phillips, BBO# 561916
                                                                  Andrew J. Garcia, BBO# 559084
                                                                  PHILLIPS & GARCIA, P.C.
                                                                  13 Ventura Drive
                                                                  North Dartmouth, MA 02747
                                                                  (508) 998-0800
                                                                  (508) 998-0919 (fax)
                                                                  cphillips@phillipsgarcia.com




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Date Filed 4/25/2024 12:18 Case
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                                                                  CIVIL DOCKET NO.          Trial Court of Massachusetts
                          Summons
                                                                                            The Superior Court
                                                            2484CV00531-14S2
                                                                                                                               ite tam&
       CASE NAME:
                                                                                            John E. Powers III                Clerk Of Coons
       Angela Gonneville, iniividnally and on behalf :of all                                Suffolk                            County
            others similarly situated,                                                      COURT NAME & ADDRESS:
                                                                    Plaint!Ms)
                                                                                           Suffolk Superior Civil Court
                                               VS.
       Lens.com, Inc.                                                                      Three Pemberton Square
                                                                                           Boston, MA. 02108

                                                                  Defendent(e)




                    THIS SUMMONS IS DIRECTED TO                Lens. cam, Inc.                             (Defendant's name)



         You are being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the Plaintiff's Complaint filed
         against you is attached to this Summons and the original Complaint has been filed in the Suffolk County Superior      Court.
                                          YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.


        1. You must respond to this lawsuit in writing within 20 days.
        If you do not respond, the Court may decide the case against you and award the Plaintiff everything asked for in the Complaint.
        You will also lose the opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect to
        resolve this matter with the Plaintiff. If you need more time to respond, you may request an extension of time in writing
        from the Court.

        2. How to Respond. •
        To respond to this lawsuit, you must file a written response with the Court and mail a copy to the Plaintiff's attorney (or the
        Plaintiff, If unrepresented). You can do this by:
               a) Filing your signed original response with the Clerk's Office for Civil Business, Suffolk County Superior Court
       Business Litigation Sessionef2, loam 10171
       3 Pemtvrton Sft., Boston, tith 02108                     (address), by mail, in person, or electronically through
                  the web portal www.eFileMA.com if the CoMplaint was e-filed through that portal, AND


                b) Delivering or mailing a copy of your response to the Plaintiff's attorney/Plaintiff at the following address:
               Carlin J. Phillips, Esq. , Phillips & Garcia, P.C.
               13 Ventura Drive, Dartmouth, MA 02747
        3. What to Include in Your Response.
        An "Answer" is one type of response to a Complaint. Your Answer must state whether you agree or disagree with the fact(s)
        alleged in each paragraph of the Complaint Some defenses, called affirmative defenses, must be stated in your Answer or
        you may lose your right to use them in Court. If you have any claims against the Plaintiff (referred to as "counterclaims") that
        are based on the same facts or transaction described in the Complaint, then you must include those claims In your Answer.
        Otherwise, you may lose your right to sue the Plaintiff about anything related to this lawsuit. If you want to have your case
        heard by a jury, you must specifically request a jury trial in your Court no more than 10 days after sending your Answer.
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         Court - Suffolk
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        3. (cont.) Another way to respond to a Complaint is by filing a "Motion to Dismiss," if you believe that the Complaint is
        legally invalid or legally insufficient. A Motion to Dismiss must be based on one of the legal deficiencies or reasons listed
        under Rule 12 of the Massachusetts Rules of Civil Procedure. If you are filing a Motion to Dismiss, you must follow
        the filing rules for "Chill Motions in Superior Court," available at:
                                         www.mass.govilaw-Ilbraryimassachu e -superior-court-rules

        4. Legal Assistance.
        You may wish to get legal help from a lawyer. If you cannot get legal help, some basic information for people who represent
        themselves is available atwww.mass.gov/courts/seifheip.

        5. Required Information on All Filings.
        The "Civil Docket No." appearing at the top of this notice is the case number assigned to this case and must appear on the
        front of your Answer or Motion to Dismiss. You should refer to yourself as the "Defendant"

                 Witness Hon. Michael D. Ricciuti              , Chief Justice on                                        . (Seal)

       Acting Clerk

          Note: The docket number assigned to the original Complaint by the Clerk should be stated on this Summons before it is
                served on the Defendant(s).



                                                       PROOF OF SERVICE OF PROCESS


        I hereby certify that on                      , I served a copy of this Summons, together with a copy of the Complaint
        in this action, on the Defendant named in this Summons, in the following manner (See Rule 4(d)(1-5) of the Massachusetts
        Rules of Civil Procedure):




                   Dated:                                                           Signature:




        N.B. TO PROCESS SERVER:
        PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX - BOTH ON THE ORIGINAL
        SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.



                                                                                                 Date:


                                                                                                                       rev 12023
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                              Case 1:24-cv-11110 Document 1-3                         Filed 04/25/24 Page 1 of 1
Docket Number 2484CV00531

                                                                      AFFIDAVIT OF SERVICE
                                                                                                                                               4
       Case:                           Court:                                   County:                                 Job:
       2484CV00531-BLS2                Suffolk Superior Civil Court             , MA                                    10757417 (22544865)
       Plaintiff / Petitioner:                                                  Defendant / Respondent:
       Angela Gonneville                                                        Lens.com, Inc.
       Received by:                                                             For:
       One Legal, an InfoTrack Company                                          Phillips Garcia Law
       To be served upon:
       Lens.com, Inc.

      Recipient Name:        Karen Scott
      Recipient Address:     Business: 4730 5 Fort Apache Rd Suite 300, Las Vegas, NV 89147
      Manner of Service:     Business Serve, Mar 28, 2024, 8:59 am PDT
      Documents:            Summons, Class Action Complaint, Civil Action Cover Sheet, Notice of Acceptance into Business Litigation Session
                            (BLS2), Demand Pursuant to Massachusetts General Law Chapter 93A Section 9

      Diligence / Comments:
      1) Successful Attempt: Mar 28, 2024, 8:59 am PDT at Business: 4730 S Fort Apache Rd Suite 300, Las Vegas, NV 89147 received by Karen Scott.
      Age: 55-60; Ethnicity: African American; Gender: Female; Weight; 150; Height: 5'4"; Hair: Black; Eyes: Black; Other: Served registered agent
      authorized except Documents, Karen Scott;

      Statement(s):
      I declare under penalty of perjury under the law of the State of Nevada that the foregoing is true and correct.




                                                     03/29/2024
      Reggie Mitchell                                Date
      Registration: R-201 9-1 2597

     InfoTrack US, Inc. - P000634
     1400 N McDowell Blvd, Suite 300
     Petaluma, CA 94954
     800-938-8815
                          Case
     DkvtiN5U241siaitisettts Trial1:24-cv-11110-PBS
                                   Court N3         Document 5https://www.masscourts.org/eservices/searchresults.page?x=-A9mAID...
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         248ACV00531 Angela Gonneville, individually and on behalf of all others
         `similarly situated vs. Lens.com

            Case Type:
          k Business Litigation
         lf C• ase Status:
         ID Open
           F• ile Date
           02/23/2024
           DCM Track:
           B - Special Track (BLS)
           Initiating Action:
         r Complex Unfair Trade Practices
            Status Date:
         l• 02/23/2024
           Case Judge:

           Next Event:
           08/28/2024



           All Information      Party     Event   Docket    Disposition


             Party Information                                                                    . .
             Angela Gonneville, individually and on behalf of all others similarly situated
             - Plaintiff
             Alias                                                           Party Attorney
                                                                          • `Attorney
                                                                          • Garcia, Esq., Andrew J
                                                                          • Bar Code
                                                                          • 559084
                                                                          • Address
                                                                          • Phillips and Garcia, PC
                                                                             13 Ventura Drive
                                                                             North Dartmouth, MA 02747
                                                                          • Phone Number
                                                                          • (508)998-0800
                                                                          •• Attorney
                                                                          • Phillips, Esq., Carlin John
                                                                          • Bar Code
                                                                          • 561916
                                                                          •• Address
                                                                          • Phillips and Garcia, PC
                                                                             13 Ventura Drive
                                                                             Dartmouth, MA 02747
                                                                          • Phone Number
                                                                          • (508)998-0800
                                                                                                               More Party Information

             Lens.com
             - Defendant
             Alias                                                         Party Attorney
                                                                                                               More Party Information




             Events
             Date                       Session            Location                 Type                  Event Judge         Result




1 of 2                                                                                                                        4/24/2024, 7:36 PM
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                                  Court N3          Document 5https://www.masscourts.org/eservices/searchresults.page?x=-A9mzHD...
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           Date                 Session              Location                   Type                                  Event Judge             Result
           08/28/2024 02:00     Business              BOS-10th FL, CR 1017      BLS Rule 16 Litigation Control        Squires-Lee, Hon.
           PM                   Litigation 2          (SC)                      Conference                            Debra A




           Docket Information
           Docket        Docket Text                                                                                        File Ref   Image Avail.
           Date                                                                                                             Nlar,

           02/23/2024    Complaint electronically filed.                                                                    1

           02/23/2024    Civil action cover sheet filed.                                                                    2

                                                                                                                                           image
           02/23/2024    Attorney appearance
                         On this date Carlin John Phillips, Esq. added for Plaintiff Angela Gonneville, individually and
                         on behalf of all others similarly situated

           02/23/2024    Attorney appearance
                         On this date Andrew J Garcia, Esq. added for Plaintiff Angela Gonneville, individually and on
                         behalf of all others similarly situated
           02/26/2024    Docket.Note: (1) summons sent by mail.

                         Applies To: Garcia, Esq., Andrew J (Attorney) on behalf of Angela Gonneville, individually and
                         on behalf of all others similarly situated (Plaintiff)

           02/26/2024    General correspondence regarding Notice of Acceptance into Business Litigation Session             3               Pi
                         Accepted into BLS2
                         (Dated 2/26/2024) Notice sent 2/26/2024                                                                           Image

           03/13/2024    The following form was generated:

                         Notice to Appear - BLS
                         Sent On: 03/13/2024 11:45:29
           04/02/2024    Service Returned for                                                                               4               trjt


                         Applies To: Lerts.com (Defendant)                                                                                 Im4gp.
           04/04/2024    Plaintiff Angela Gonneville, individually and on behalf of all others similarly situated's Assented 5
                         to Motion for                                                                                                     0
                         Extension Of Time To Respond To The Complaint                                                                     Image

           04/09/2024    Endorsement on Motion for extension of time to respond to the complaint (#5.0): ALLOWED
                         Allowed to May 17, 2024.
                         (dated 4/8/2024)                                                                                                  Image
                         Notice sent 4/9/24
           04/23/2024    The following form was generated:

                         Notice to Appear - BLS
                         Sent On: 04/23/2024 14:44:28




           Case Disposition
           Disposition                                             Date                       Case Judge

           Pending




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                                      COMMONWEALTH OF MASSACHUSETTS

             SUFFOLK, SS                                         SUPERIOR COURT DEPARTMENT
                                                                 BUSINESS LITIGATION SESSION


                                                                 )
             ANGELA GONNEVILLE, individually                     )       CIVIL ACTION NO.
             and on behalf of all others similarly               )
             situated                                            )
                                                                 )      kg
                    Plaintiff                                    )
                                                                 )
             v.                                                  )
                                                                 )
             LENS.COM, INC.                                      )
                                                                 )
                    Defendant                                    )


                                            CLASS ACTION COMPLAINT

                    Plaintiff, Angela Gonneville, individually and on behalf of all others similarly situated,

             brings this Class Action Complaint for damages for unfair and deceptive sales practices committed

             by Defendant, Lens.com, Inc.

                                                   INTRODUCTION

                    1.      This is a consumer class action case involving an undisclosed junk fee that

             Lens.com charges as part of online contact lens orders. More particularly, Lens.com adds an

             undisclosed and non-itemized "processing charge" to contact lens orders after customers have

             already filled out the details of their contact lens orders. Lens.com has received numerous

             complaints regarding this undisclosed charge.

                    2.     Plaintiff seeks to represent a class of consumers in Massachusetts who have paid

             an undisclosed processing or handling charge on their contact lens order. Given the amount of the




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             fees at issue and given the number of potential consumers impacted, a class action is the most

             judicially efficient manner of adjudicating this dispute.

                                         PARTIESIJURISDICTION AND VENUE

                     3.     Plaintiff, Angela Gonneville ("Plaintiff" or "Ms. Gonneville"), is an individual who

             resides in Massachusetts.

                     4.     Defendant, Lens.com, Inc. ("Lens.com" or "Defendant"), is a Nevada corporation

             with its principal place of business in the State of Missouri.

                     5.     The Court has original jurisdiction over the civil claims alleged in Plaintiff's

             Complaint pursuant to M.G.L. ch. 212 § 4.

                     6.     This Court has personal jurisdiction over Lens.com pursuant to M.G.L. ch. 223 § 3

             because Lens.com conducts significant business in Massachusetts, namely through the marketing,

             advertising, selling and delivery of contacts lens products in Massachusetts to consumers such as

             Plaintiff.

                     7.     Likewise, venue is proper here as the defendant markets, advertises, sells and

             delivers contacts lens products to Massachusetts consumers in this county.

                                               FACTUAL BACKGROUND

                     The Business of Lens.com

                     8.     Lens.com is an online seller of contact lenses and claims that it provides consumers

             "the best way to buy contact lenses - better than your eye doctor, better than big box, better than

             other websites." Lens.com further claims that it offers the lowest prices of any contact lens seller

             online or in-store and that most orders ship within 24 hours.

                     9.     Lens.com markets its contact lenses as having "Year Round Unbeatable Prices."

             On its website it states that it has delivered over 691 million contact lenses. It further touts that,
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             "With over 35 Million contact lenses in stock, we immediately fill your order with your exact

             prescription."

                    10.       In a FAQ (frequently asked question) on its website entitled, "How much does

             shipping cost?", Lens.com states: "At Lens.com we don't bury the cost of shipping in every box

             we sell. We are completely transparent and let you decide what's best for you. We offer you

             reliable shipping at extremely competitive prices/rates. You will be able to select the best method

             for your personal needs at checkout." It then includes a chart of shipping costs within the United

             States, Canada and Internationally. Nowhere under its description of shipping costs is there

             mention of a "processing" or "handling" fee of any kind. A search of the words "Processing Fee"

             on Lens.com's website yields no information.

                    The Proliferation of Junk Fees in Online Consumer Transactions

                    11.       Retailers, like Lens.com, are increasingly charging consumers "junk fees" in online

             transactions to increase profits. "Junk Fees" are defined by the Federal Trade Commission as

            "unnecessary, unavoidable, or surprise charges that inflate costs while adding little to no value."

             The FTC notes that "[c]onsumers can get hit with junk fees at any stage of the purchase or payment

             process. Companies often harvest junk fees by imposing them on captive consumers or by

             deploying digital dark patterns and other tricks to hide or mask them." https://www.ftc.govinews-

             events/news/press- releases/2022/10/federal-trade -commission-exp lores-rul e-cracking- down-

            junk-fees.

                    12.       Common junk fees are convenience fees, processing fees, resort fees, service fees

            and overdraft fees. The White House recently issued a junk fee guide for the states noting how

            junk fees have overrun the American economy and are "often not disclosed upfront and only

            revealed after a consumer has decided to buy something, obscure true prices and dilute the forces
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             of    market     competition      that    are    the    bedrock      of     the   U.S.    economy."

             https://www.white ho u se. go \,‘iwp-co ntent/uploa ds/2023/03/WH-Junk- Fees-Guide-for- States.pdf

                     Lens.com's Sales Practices and Junk Fees

                     13.    Lens.com's marketing materials state that "we don't bury the cost of shipping in

             every box we sell. We are completely transparent and let you decide what's best for you. We

             offer you reliable shipping at extremely competitive prices/rates. You will be able to select the

             best method for your personal needs at checkout."

                    14.     Despite these claims, Lens.com packs a junk fee into its transactions which it

             describes after the point of purchase as a "processing fee." This processing fee is separate from

             its shipping fee, which in the Plaintiff's case was either free or $7.95.

                    15.     Lens.com fails to disclose or itemize its processing fee during online transactions

             and inflates the total transaction price by the amount of the hidden processing fee at the end of the

             transaction when a consumer's credit card is being processed. These hidden fees add to the total

             product price but are not disclosed at any point in the cycle of the transaction, in marketing

             materials, frequently asked questions on Lens.com's website or in product pricing disclosures.

                    16.     In some transactions, Lens.com never discloses the existence or amount of its

             processing fee. In other transactions the hidden fees are only disclosed on a packing slip provided

             to the consumer when the product is delivered. In those circumstances, the hidden fees are listed

             as "PROCESSING" or as "Shipping & Handling" fees.

                    17.     The amount of the processing fee charged by Lens.com varies greatly and from

             transaction to transaction. The Plaintiff's processing fees were $55.97, $22.57 and $5.21.

                    18.     Numerous online complaints made by Lens.com customers describe processing

             fees that are over $100. The below listed consumer complaints made to Complaints Board, an
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             online consumer complaint center, describe Lens.com's surprise processing fee. Each consumer

             referenced below contacted the Defendant's customer service line to complain about the

             processing fee and, accordingly, these complaints constitute notice and knowledge to the

             Defendant of the unfair and deceptive nature of their processing and other fees. The online

             complaints state in relevant part:

                        Processing Fees
                        Contact lenses were ordered for my child over the phone in February of
                        2021. The bill received did not break out the $103 processing fee for an
                        order of $107 in contacts. The processing fee did not include shipping fees.
                        This was discovered when trying to tally the order for reimbursement by the
                        child's father months later and the lens cost did not add up to the total. When
                        contacting the company the only adjustment offered was a $7.95 shipping
                        credit. The price of contacts was severely misrepresented due to the
                        arbitrary and, per customer service, ever changing "processing fees".
                        (Chobbs 1411 of US; August 27, 2021)

                        Lens.com review: Astronomical processing fee for contact lens order.
                        Customer since 2014... Last order placed 12/26/2020 and was charged
                        processing fee of $110.38... I immediately contacted the company and was
                        simply told "that was their processing fee"... I escalated the issue as I have
                        never paid more than $35.96 for a processing fee (last order was 8/2020 and
                        fee was $29.54)... Continued to reach out via email and was finally told on
                        Jan 3rd that my complaint was escalated to leadership... I reached out again
                        on Jan 11, 12 and now this morning and have never been contacted back...
                        I am now in the process of disputing charge with the credit card company...
                        I have included the processing fees paid so you can see for yourself the
                        ridiculous amount charged this last order:

                                4-2014 $18.16
                                3-2015 $26.47
                                8-2015 $26.11
                                9-2016 $35.96
                                9-2017 $25.51
                                9-2018 $25.99
                                12-2019 $27.51
                                8-2020 $29.54
                                12-2020 $110.38

                        I understand I owe for the contacts but I refuse to pay that amount for
                        processing! (juhnklo of US; January 15, 2021)
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                      Extraordinarily high processing fee.
                      On July 7, 2023, I submitted an order and paid $220 for 4 boxes of contacts.
                      A bargain so I thought, because I would also get a $75 rebate. Again, so I
                      thought. Imagine my surprise when I see I was charged $330 for my order
                      due to a huge $120 processing fee. Apparently the 'submit order' button
                      appears before the processing fee (which requires you to scroll down past
                      the submit order so you don't see the additional fee.) It doesn't appear on the
                      consumers invoice on their site, but somehow when you questions it, the
                      Customer service people are able to produce an invoice showing the fee.
                      They claim it is automatically added 'by the system' and they cannot refund
                      any portion of it. The processing fee was more than 50% of my total
                      purchase and in reading the complaints about them, they take so long to
                      issue the $75 rebate that the expiration date is so close or past, rendering it
                      useless as it is a visa gift card. These complaints date back to 2014 and
                      nothing has changed. Below is the invoice AFTER the order was submitted.
                      (K. Lennon, Rochdale, MA; July 18, 2023)

                     Lens.com added 85% to my order in "tax & fees"
                     [O_Iia intended to purchase 4 boxes of contact lenses at $31.74 per box. They
                     advertised $9.24 per box if I ordered 8 boxes, which would have been
                     $73.92, instead of $253. 92. When I clicked "checkout" the total
                     was$485.79! They added $213.92 in "tax & fees", which is an additional
                     85%.

                     I clicked the "chat 24/7" line and the rep did everything possible to avoid
                     explaining what "fees" were, since tax would be no more than $22 in any
                     state. I had to ask SIX TIMES, but he finally was forced to admit that "fees"
                     were: "This includes calling your doctor on your behalf, doctor's fees since
                     we need to verify your prescription, and handling and processing your order.
                     If the customer has a valid prescription, there is no need to call the doctor.
                     Tax would have been $20 so the "rebate" which was applied to the order,
                     tax and their undisclosed "fees" added 85% to the cost of the order. I told
                     them that was fraud and they lost my business. (Gail Reznik of US; March
                     26, 2023)

                     Hidden taxes and fees
                     When I went to re-order my contacts at Lens.com I noticed advertised
                     pricing and total cost didn't add up. I went to order my 8 boxes so I would
                     get the $160 RB. Listed at $42.79 per box before RB (22.79 after RB) times
                     the required 8 boxes = 342.32 ($182.32 after RB)plus $9.95 Shipping. This
                     should make for a grand total of $352.27( before RB). At check out total
                     came up as $566.19! Call Lens.com, spoke with a rep. I was told to go back
                     to the shipping page, there they show a "Taxes & fees" of 213.92! Contacts
                     are NOT taxable! They are a rip off company with miss leading and Illegal
                     sales tactics. I've used them several times in the past and had not been
                     charged these taxes & fees, I will no longer purchase from them and will
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                          tell others of my bad experience. (Sharon McD of Levittown, US; March 1,
                          2023.

                          Lens.com review: Deceptive fees and rebate hurdles
                          Customer since 2014, but noticed a huge disparity in cost when initiating
                          my most recent order. Without a rebate, they show $72.24 per 90-lens box
                          of 1-day lenses. Buy 8 boxes and the price (after rebate) is shown as $35.99
                          and rebate as $290. Great. The next screen in the checkout asks you to
                          confirm where you want the boxes sent with a 'continue' button below it.
                          When you accidentally scroll below that, you see a blowout of the order,
                          with a whopping $241.92 in taxes and fees that "are compensation for
                          servicing your order". That's the only place they show the added taxes/fees.
                          If you click 'continue' and approve where to send the boxes, you miss that,
                          because the final checkout screen never shows that added charge in its
                          summary of your order. ... This is deceptive. (eyecu of Seattle, US; January
                          12, 2023)

                          Ridiculous fee added without my knowledge
                          I just learned that they added a $50 fee for for processing on an $80 order.
                          And the customer rep could not explain what the processing fee was for.
                          What a ripoff! (thomassu of Centerville, US; December 5, 2022)

                    19.      These consumer complaints describe in detail the repeated notice that Lens.com has

             received from consumers about its hidden processing fees and demonstrate its continued use of

             unfair and deceptive acts and practices to create revenue from junk fees.

                    Plaintiffs Transactions

                    20.      Plaintiff's transactions with Lens.com highlight the deceptive nature of Lens.com's

             business practices. In August 2019, Plaintiff ordered three boxes of contact lenses for a total price

             of $77.29 with free shipping. The subtotal that was charged to Plaintiff, however, was $82.50,

             which included a $5.21 undisclosed processing charge. The "processing fee" was only disclosed

             on the packing form delivered with the contact lenses.

                    21.      Likewise, in May 2020, Plaintiff ordered three boxes of contact lenses for a total

             price of $141.48 with free shipping. The subtotal that was charged to Plaintiff, however, was
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            $164.05, which thus included a $22.57 undisclosed processing charge. The packing form received

            when the contact lenses were delivered indicated a charge of $30.52 for "shipping & Handling."

                    22.    Similarly, in April 2021, Plaintiff ordered three boxes of contact lenses with a total

            price of $55.97 and free shipping. However, the subtotal charged to Plaintiff was $111.97 and

            thus included an undisclosed processing charge of $55.97. The one-page packing form received

            when the contact lenses were delivered did not itemize the transaction charges or disclose the

            amount of the processing fee.

                    23.    Plaintiff ultimately complained to Lens.com about the processing charges and was

            told that the processing fee used to be disclosed on the website but had been removed, there had

            been recent changes to the website but the fee was still not disclosed, the failure to disclose the

            processing fee has been reported to IT by several other agents and that Lens.com was trying to get

            that back up on the website.

                                              CLASS ACTION ALLEGATIONS

                   24.     Pursuant to Massachusetts Rule of Civil Procedure 23, Plaintiff brings this class

            action individually and on behalf of the following proposed class of persons, initially defined as:

            All consumers who purchased contact lenses in Massachusetts and were charged a processing or

            handling fee with their contact lens order in the six years preceding the filing of this Complaint.

            (hereinafter the "Class").

            The Class does not include Defendant; any affiliate, parent or subsidiary of Defendant; any entity

            in which Defendant has a controlling interest; any officer, director or employee of Defendant; any

            successor or assign of Defendant; Plaintiff's counsel or anyone employed by Plaintiffs counsel in

            this action and their immediate families; any judge to whom this case is assigned and any member
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            of his/her immediate family and staff; governmental entities; or individuals who have personal

            injury claims as a result of conduct and/or defects alleged herein.

                    25.       Plaintiff reserves the right to amend or supplement the Class descriptions with

            greater specificity or further division into subclasses or limitation to certain issues, after

            conducting discovery in this matter. Plaintiff also reserves the right to amend or supplement the

            proposed Class after conducting discovery in this matter.

                                         Rule 23 Class Certification Requirements

                    26.       Numerosity of the Class — The members of the Class are so numerous that their

            individual joinder is impracticable. Plaintiffs are informed and believe that Lens.com processed

            tens or hundreds of thousands of contact lens orders and included an undisclosed processing fee

            with those orders. Adjudication of the claims in a class action context will provide substantial

            benefits to the parties and the Court.

                    27.       Commonality and Predominance — Common questions of law and fact exist as to

            all members of the Class and predominate over questions affecting only individual Class members,

            as is required by Mass. R. Civ. P. 23(a)(2) and (b)(3). These common questions include, but are

            not limited to:

                              a) whether Lens.com engaged in the conduct alleged herein;

                              b) whether Defendant failed to adequately disclose a processing and/or handling
                                 fee prior to the completion of an online order for contact lenses;

                              c) whether Defendant's undisclosed processing and/or handling fee inflated the
                                 product price;

                              d) whether Defendant's processing and/or handling fees exceeded actual costs
                                 and constituted a hidden profit for Defendant;

                              e) whether Plaintiff and Class Members suffered out-of-pocket losses as a result
                                 of Defendant's actions and/or inactions alleged herein, and if so, how much;
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                          f) whether Plaintiff and Class Members will suffer out-of-pocket losses as a result
                             of Defendant's alleged actions and/or inactions alleged herein, and if so, how
                             much.

                   28.    Typicality — The claims of the representative Plaintiff are typical of the claims of

            each member of the Class, thus satisfying Mass. R. Civ. P. 23(a)(3). Plaintiff, like all other

           members of the Class, have sustained damages arising from Lens.com's violations of the laws, as

           alleged herein. The representative Plaintiff and the members of the Class were and are similarly or

           identically harmed by the same unlawful, deceptive, unfair, systematic, and pervasive pattern of

           misconduct engaged in by Lens.com. Plaintiff's claims arise from the same practices and course

           of conduct that give rise to the claims of all other members of the Class.

                   29.    Adequacy — The representative Plaintiff will fairly and adequately represent and

           protect the interests of the Class Members and have retained counsel who are experienced and

           competent trial lawyers in complex litigation and class action litigation, thus satisfying Mass. R.

           Civ. P. 23(a)(4). There are no material conflicts between the claims of the representative Plaintiff

           and the members of the Class that would make class certification inappropriate. Counsel for the

           Class will vigorously assert the claims of all Class members.

                   30.    Declaratory or Injunctive Relief — Lens.com has acted and refused to act on

           grounds generally applicable to Plaintiff and Members of the Class, thereby making final

           injunctive relief or corresponding declaratory relief appropriate regarding the Class as a whole.

           Mass. R. Civ. P. 23(b)(2).

                  31.     Superiority — This suit may be maintained as a class action under Mass. R. Civ. P.

           23(b)(3), because a class action is superior to any other available means for the fair and efficient

           adjudication of this dispute and no unusual difficulties are likely to be encountered in its

           management of this class action. The damages suffered by individual class members are small in

           comparison to the burden and expense of individually litigating each claim and based on the

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            complex and extensive litigation needed to address Spirit's conduct. Further, it would be virtually

            impossible for the Class Members to individually redress effectively the wrongs done to them.

            Even if Class Members themselves could afford such individual litigation, the court system could

            not. In addition, individualized litigation increases the delay and expense to all parties and to the

            court system resulting from complex legal and factual issues of the case. Individualized litigation

            also presents a potential for inconsistent or contradictory judgments. By contrast, the class action

            device presents far fewer management difficulties; allows the hearing of claims which might

            otherwise go unaddressed because of the relative expense of bringing individual lawsuits; and

            provides the benefits of single adjudication, economies of scale, and comprehensive supervision

            by a single court.

                   32.     Ascertainability: Upon information and belief, the precise number of Class

            Members may be ascertained from Lens.com's records. Plaintiff contemplates the eventual

            issuance of notice to the proposed Class members setting forth the nature of the instant action.

            Upon information and belief, Class members may be notified of this action by recognized, Court

            approved notice dissemination methods, which may include U.S. mail, electronic mail, Internet

            postings, social media, and published notices, in addition to Lens.com's own business records.


                                                   COUNT I
                                              BREACH OF CONTRACT

                   33.     Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained

            in paragraphs 1 through 23 as though fully stated herein.

                   34.     Plaintiff's and other Class members' purchase of contact lenses constituted a

            contract between them and Lens.com, namely through the terms and conditions on the Lens.com
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            site. The terms and conditions do not mention a processing charge for online orders of contact

            lenses.

                      35.     Plaintiff and the Class Members performed all requirements under their agreements

            with Lens.com, namely the payment of the amount charged by Lens.com for the order.

                      36.     Lens.com breached its agreement with Plaintiff and the Class Members when it

            charged a hidden processing fee in connection with the contact lens orders.

                      37.     Plaintiff and members of the Class have suffered an injury through the payment of

            the processing fee.

                      38.     Plaintiff and Class members are therefore entitled to all incidental, consequential,

            and indirect damages resulting from Lens.com's breach of contract. Lens.com's breach caused

            damages to Plaintiff and the Class Members.

                      39.     Plaintiff and the Class Members seek to recover all permitted damages and their

            attorneys' fees caused by Defendant's breach.

                                                COUNT II
                            BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

                      40.     Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained

            in paragraphs 1 through 23 as though fully stated herein.

                      41.     The Defendant had an obligation to exercise of duty of good faith and fair dealing

            when transacting business with Plaintiff and the Class.

                      42.     The Plaintiff and the Class made purchases at Lens.com's online website.

            Lens.com advertised, disclosed and charged a specific price for each contact lens purchase. It

            claimed that it had the lowest contact lens prices.
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                    43.     However, the Defendant, as matter a pattern and practice, assessed hidden junk fees

            to consumer's transaction which it labeled as processing and/or handling fees. These fees were

            not described on the Defendant's website or as part of the sale.

                    44.     In addition, these junk fees varied from transaction to transaction.

                    45.     The junk fees were charged to Plaintiff's credit and debit cards, thereby driving up

            the actual costs of their contact lens purchases.

                    46.     Lens.com used these hidden fees, which do not purport to approximate actual

            expenses incurred, as a hidden profit center. Not including these hidden fees in the product price

            allowed Lens.com to falsely claim that it had the lowest prices.

                    47.     Lens.com's pattern and practice of charging its consumers hidden junk fees in its

            transactions constituted a breach of the duty of good faith and fair dealing it owed to consumers

            as part of the transactions.

                    48.     As a direct and proximate result of the Defendant's acts and/or omissions, the

            Plaintiff and the Class suffered damages.

                                                     COUNT III
                                                UNJUST ENRICHMENT

                    49.     Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained

            in paragraphs 1 through 23 as though fully stated herein.

                    50.     Plaintiff and the Class Members conferred substantial benefits on Lens.com by

            purchasing contact lenses and by paying processing charges to Lens.com.

                    51.     Lens.com knowingly and willingly accepted and enjoyed those benefits.

            Lens.com's retention of these benefits is inequitable and would be against good conscience

                    52.     As a direct and proximate cause of Lens.com's unjust enrichment, Plaintiff and the

            Class Members are entitled to restitution, attorneys' fees, costs and interest.


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                                                 PRAYER FOR RELIEF

                   WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, pray

            for a judgment against Defendant as follows:

                   a. For an order certifying the Class, appointing Plaintiff as Representative of the Class,

            and appointing the law firm representing Plaintiff as counsel for the Class;

                   b. For compensatory damages and/or restitution or refund of all funds acquired by

            Lens.com from Plaintiff and the Class Members as a result of the Company's unlawful, unfair,

            deceptive and unconscionable practices described herein in an amount to be proven at trial;

                   c. For compensatory damages caused by Lens.com's breach of contract with Plaintiff and

            the Class Members to the extent permitted by law in an amount to be proven at trial;

                   d. Both pre-and post judgment interest on any amounts awarded;

                   e. Payment of reasonable attorneys' fees and costs as allowed by law;

                   f. Such other and further relief as the Court may deem just and proper.

                                                    JURY DEMAND

                   The Plaintiff requests a trial by jury on all claims.


                                                                  On behalf of the Plaintiff and the
                                                                  Putative Class,

                                                                  /s/ Carlin J. Phillips

                                                                  Carlin Phillips, BBO# 561916
                                                                  Andrew J. Garcia, BBO# 559084
                                                                  PHILLIPS & GARCIA, P.C.
                                                                  13 Ventura Drive
                                                                  North Dartmouth, MA 02747
                                                                  (508) 998-0800
                                                                  (508) 998-0919 (fax)
                                                                  cphillips@phillipsgarcia.com




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    CIVIL ACTION COVER                         1)o( F f No(s)B.L.S.                       Trial Court Of Massachusetts Superior Court Department County:
    SHEET                                                                                 SUFFOLK
                                                                                                                                                                   _
    PLAINTIFF(S)                                                                          DEFENDANT(S)
    Angela Gonneville, indiv. and on behallf of all others Lens.com, Inc.
    similarly situated,

    ATTORNEY, FIRM NAME, ADDRFCC AND TEuiritoNE13oard of Bar Overseers number             ATTORNEY (if known)
   Carlin J. Phillips, BBO 561916, PHILLIPS &
   GARCIA, P.C.,13 Ventura Drive, Dartmouth, MA
   02747; 508-998-0800; cphillips@phillipsgarcia.com
    Origin Code Original Complaint
   BK1

    TYPE OF ACTION AND TRACK DESIGNATION (See reverse aide) CODE NO. TYPE OF ACTION (specify) TRACK IS THIS A JURY CASE?*
                         (B)0 Yes aro
                                                                                                                    kg
   BKI Consumer Class Action
    The following is a full and detailed statement of the facts on which plaintiff relies to determine eligibility in to The Business Litigation Session.

    .This...i.s.aconsumerclassaction .case.involving undisclosed junk fees_ that Lens.com,..an..online. . .. . .
   company that sells contact lenses at what it claims are the lowest prices, charges as part of online
   contact lens orders. More particularly, Lens.com adds an undisclosed and non-itemized processing fee
   to online transactions which, in the plaintiff's case, varied from $55.97 to $22.57 to $5.21. Despite
   numerous complaints from the Plaintiff and other consumers about undisclosed fees, Lens.com
   continued to charge consumers these fees in online transactions. Per the FTC, junk fees inflate costs to
   consumers while adding little to no value and are often imposed on captive consumers by using tricks to
   hide or mask the fees, thereby inflating the purchase price and frustrating a consumer's ability to
   comparison shop based on price. The nature, complexity, uniformity and scope of the issue surrounding
   the defendant's alleged use of undisclosed fees in its online transaction process warrants acceptance in
   this court.




    *A Special Tracking Order shall be created by the Presiding Justice of the Business Litigation Session at the Rule 16 Conference.


    PLEASE IDENTIFY, BY CASE NUMBER, NAME AND COUNTY, ANY REL TED ACTION PEN I G IN THE SUPERIOR (mu I EPARTMENT.

    "I hereby certify that 1 have complied with the requirements of Rule 5 of the 'mine !did• I           Irt i ni r i Rules o ispute Resolution (SJC Rule 1:1B)
    requiring that I rovide my clients with information about court-connected d s     re 1                   i     i •scu     th them the advantages and
    disadvantages ttyrel,v4io s le hods." Signature of Attorney of Record
    DATE;_ fi  e_ ..,._    _:t
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                                            Commonwealth of Massachusetts
                                                   County of Suffolk
                                     The Superior Court — Business Litigation Session

                                                                        CIVIL DOCKETM 2484CV00531-BLS2

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             Case:.   ionneville v. Lens.com,      c.



                       NOTICE OF ACCEPTANCE INTO BUSINESS LITIGATION SESSION

                    This matter has been accepted into the Suffolk Business Litigation Session. It has been
             assigned to BLS2.

                    Hereafter, as shown above. all parties must include the initials "BLS2" at the end of the
             docket number on all filings.

                        Counsel for the plaintiff(s) is hereby advised that within seven (7) days of the filing of an
             appearance, answer, motion or other response to the complaint by or on behalf of the
             defendant(s) which has been served with process within the time limitation of Mass. R. Civ. P.
             41(,l), or such other time as may he modified by the Court, he or she shall send notice thereof to
             the appropriate BLS Session Clerk at Suffolk Superior Court, Three Pemberton Square. Boston,
             MA 02108_

                     Upon receipt of such notice, the Court will issue a Notice of Initial Rule 16 Conference
             for purposes of meeting with all counsel. Before the Rule 16 Conference. counsel shall discuss
             with their clients and with opposing counsel whether the. parties gill participate in the BLS
             Project on Discovery (counsel are directed to www.ma.ss.gov/superior-court-business-litigation-
             session for description of the Project). Counsel may indicate their respective client's
             participation by completing, filing, and serving the attached form. If by the date of the. initial
             Rule 16 Conference, not all parties have given notice of their participation, counsel shall be.
             prepared to discuss at that conference whether their clients will participate in the Project.

                    The Court requests that plaintiffs counsel serve on opposing parties a copy of this notice
             and the attached form.

             Dated: February 26, 2024

                                                                                     is/ Kenneth W. Salinger

                                                                                             Kenneth W. Salinger
                                                                                  Justice of the Superior Court &
                                                        Administrative Justice of the Business Litigation Session
                            Case 1:24-cv-11110-PBS Document 5 Filed 04/29/24 Page 73 of 141
Date Filed 4/25/2024 12:18 PM
Superior Court - Suffolk
Docket Number 2484CV00531 Case 1:24-cv-11110 Document 1-4 Filed 04/25/24
                                                                            Page 19 of 26


                                            Commonwealth of Massachusetts
                                                   County of Suffolk
                                     The Superior Court — Business Litigation Session


                                                              CIVIL DOCKET#:


             Case:



                     As you may know, the Business Litigation Session began implementing a Discovery
             Project in January, 2010, This project is available on a voluntary basis for all new cases accepted
             into the BLS and for cases which have not previously had an initial case management
             conference. Counsel should be prepared to discuss the project with the Court at the initial case
             management conference. For a detailed copy of the 131..5 Discovery Project, counsel are directed
             to the Trial Court home page at: www.mass.2ovisuperior-court-business-litigation-session)

                     if a party is willing to participate in the project, that party's counsel should so indicate
              below and return this form to the appropriate session clerk.


                          (Check) Yes                         is willing to participate in the Discovery Project.
                                             (tarty's Name)



                     Case Name

                     Docket Number CIVIL DOCKETii:


                     Counsel For                                            Date

                       rm Name and Address:




             Please complete this form and eturn it to:

                     Assistant Clerk - BLS I           OR           Assistant Clerk - BLS2
                     BLS I, Room 1309                               BL. S2, Root 1017
                     3 Pemberton Square                             3 Pemberton Square
                     Boston. MA 02108                               Boston, MA 02108
                             Case 1:24-cv-11110-PBS Document 5 Filed 04/29/24 Page 74 of 141
Date Filed 4/28/002431:121814PM
Superior Court - Suffolk
Docket Number 2484CV00531 Case 1:24-cv-11110 Document 1-4 Filed 04/25/24 Page 20 of 26

                                                                      AFFIDAVIT OF SERVICE
                                                                                                                                               4
      Case:                            Court:                                    County:                               Job:
      2484CV00531-BLS2                 Suffolk Superior Civil Court              , MA                                  10757417 (22544865)
      Plaintiff / Petitioner:                                                    Defendant/ Respondent:
      Angela Gonneville                                                          Lens.com, Inc.
      Received by:                                                               For:
      One Legal, an InfoTrack Company                                            Phillips Garcia Law
      To be served upon:
      Lens.com, Inc.

     Recipient Name:        Karen Scott
     Recipient Address:     Business: 4730 S Fort Apache Rd Suite 300, Las Vegas, NV 89147
     Manner of Service:     Business Serve, Mar 28, 2024, 8:59 am PDT
     Documents:             Summons, Class Action Complaint, Civil Action Cover Sheet, Notice of Acceptance into Business Litigation Session
                            (BLS2), Demand Pursuant to Massachusetts General Law Chapter 93A Section 9

     Diligence / Comments:
     1) Successful Attempt: Mar 28, 2024, 8:59 am PDT at Business: 4730 5 Fort Apache Rd Suite 300, Las Vegas, NV 89147 received by Karen Scott.
     Age: 55-60; Ethnicity: African American; Gender: Female; Weight: 150; Height: 5'4"; Hair: Black; Eyes: Black; Other: Served registered agent
     authorized except Documents, Karen Scott;

     Statement(s):
     I declare under penalty of perjury under the law of the State of Nevada that the foregoing is true and correct.




                                                     03/29/2024
     Reggie Mitchell                                 Date
     Registration: R-2019-12597

     InfoTrack US, Inc. - P000634
     1400 N McDowell Blvd, Suite 300
     Petaluma, CA 94954
     800-938-8815
                            Case 1:24-cv-11110-PBS Document 5 Filed 04/29/24 Page 75 of 141
Date Filed 4/45/Ca2tE21/141WM
Superior Court - Suffolk
Docket Number 2484CV00531 Case 1:24-cv-11110 Document 1-4 Filed 04/25/24 Page 21 of 26
                       ML



                                    COMMONWEALTH OF MASSACHUSETTS

           SUFFOLK, SS                                                 SUPERIOR COURT DEPARTMENT
                                                                       BUSINESS LITIGATION SESSION

                                                             )
           ANGELA GONN.EVILLE, i.ndivi.dually                )         C.A.. NO. 2484CV00531-BLS2
           and on behalf of all others similarly situated,   )
                                                             )
                   Plaintiff,                                )
                                                             )
           v.                                                )
                                                             )
           LENS,COM., INC.,                                  )
                                                             )
                    Defendant.                               )
                                                             )

                                ASSENTED TO MOTION FOR EXTENSION OF TIME
                                      TO RESPOND TO THE COMPLAINT

                   Plaintiff Angela Gonneville ("Plaintiff" or "Gonneville"), pursuant to Massachusetts Rule

            of Civil Procedure 6(b), hereby files this Stipulated Motion for Extension of Tithe to Respond to

            the above-captioned Class Action Complaint and, in support, states:

                1. Plaintiff filed the Class Action Complaint on February 23, 2024.

                2. Defendant was served with the Complaint on March 28, 2024, making its response due

            on. April 17, 2024.

                3. The Parties have agreed to extend the deadline for Defendant to respond to the Complaint

           to May 17, 2024.

                4. This agreed request for an extension of time is made in good faith and not for purposes of

            delay. Given the early stage of this ease, no party will be prejudiced by the request.



                   WHEREFORE, the Parties respectfully request that the Court enter an Order extending
                             Case 1:24-cv-11110-PBS Document 5 Filed 04/29/24 Page 76 of 141
Date Filed A1/411/Q01ÆYIZORIVPM
Superior Court - Suffolk
Docket Number 2484CV00531 Case 1:24-cv-11110 Document 1-4 Filed 04/25/24 Page 22 of 26




            the deadline for Defendant to respond to Plaintiff's Complaint to May 17, 2024.


            DATED: April 3, 2024.


                                                        RESPECTFULLY SUBMITTED

                                                        On behalf of the Plaintiff,

                                                        /s/ Carlin .h Phillips
                                                        Carlin J. Phillips, BBO# 561916
                                                        Andrew J. Garcia, BBO# 559084
                                                        PHILLIPS & GARCIA,
                                                        13 Ventura Drive, Dartmouth, MA 02747
                                                        Tel. (508) 998-0800; Fax (508) 998-0919
                                                        ephill ips@phi llipsgarcia. co m



                                                        On behalf of the Defendant,

                                                        /s/ fed H. Hansen
                                                        Jed H. Hansen
                                                        Thorpe North 8.1: Western, LLP
                                                        175 South Main Street, Suite 900
                                                        Salt Lake City, Utah 84111
                                                        801-566-6633
                                                        hansen@tnw-.corn.
Date Filed 4/115Z0011,Z20 Case 1:24-cv-11110-PBS Document 5 Filed 04/29/24 Page 77 of 141
Superior Court - Suffolk
Docket Number 2484CV00531 Case 1:24-cv-11110 Document 1-4 Filed 04/25/24 Page 23 of 26




                                       CERTIFICATE OF SERVICE
                   Plaintiff's counsel, Carlin J. Phillips, hereby certifies that a copy of this document was
            served via email on. April 4, 2024, to all counsel of record:


            Jed H. Hansen
            Thorpe North & Western; LLP
            175 South. Main Street, Suite 900
            Salt Lake City, Utah, 84111.
            801-566-6633
            hansen@tnw.corn




                                                          /s/ Carlin." Phillips
                                                          Carlin J. Phillips, BBO# 561916
                                                          Andrew J. Garcia, BBO# 559084
                                                          PHILL.IPS & GARCIA, P.C.
                                                          13 Ventura Drive, Dartmouth, MA 02747
                                                          Tel. (508) 998-0800; Fax (508) 998-0919
                                                          cphill ips@p hill i psga rcia.com
Data                      Case 1:24-cv-11110-PBS
        4/25/2024 1 2:18 PM                              Document 5 Filed 04/29/24 Page 78 of 141
                              Case 1:24- \/,-11110 DoctO4t,              Filed 04/25/24 Pane 24 of 26
   ocket Number 2484GV00531
                              ML
                                                             NOTIFY
                                         COMMONWEALTH OF MASSACHUSETTS

                SUFFOLK, SS                                                 SUPERIOR CO tT DEPARTMENT
                                                                            BUSINESS LITI ATION SESSION


                ANGELA GONNEVILLE, individually                             C.A. NO. 2484CV00531-BLS2
                and on behalf of all others similarly situated,

                         Plaintiff,

                v.

                LENS.COM, INC.,

                          Defendant.


                                      ASSENTED TO MOTION FOR EXTENSION OF TIME
                                            TO RESPOND TO THE COMPLAINT

                         Plaintiff Angela Gonneville ("Plaintiff' or "Gonneville"), pursuant to Massachusetts Rule

                 of Civil Procedure 6(b) hereby files this Stipulated Motion for Extension of Time to Respond' to

                 the above-captioned Clas Action Complaint and, in support, states:

                     1. Plaintiff filed the IClass Action Complaint on February 23, 2024.

                     2. Defendant was served with the Complaint on March 28, 2024, making its response du

                 on April 17, 2024.
                                        I
                     3. The Parties have greed to extend the deadline for Defendant to respond to the Complaint

                 to May 17, 2024.

                     4. This agreed request for an extension of time is made in good faith and not for purposes of
                                          1
                 delay. Given the early stage of this case, no party will be prejudiced by the request.



                         WHEREFORE, the Parties respectfully request that the Court enter an Order extending

                                                                  1




                                                                             /1fr (
❑ate Fil                     Case 1:24-cv-11110-PBS
             4/2/2024 12:18 PM                             Document 5 Filed 04/29/24 Page 79 of 141
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Do                      ogv        Case 1:24v-11110 Document 1-4 Filed 04/25/24 -P4ge 25 of 26
           et Number 2484CVC0531




                      the deadline for Defe dant to respond to Plaintiff's Complaint to May 17, 2024.


                      DATED: April 3, 2024.


                                                                  RESPECTFULLY SUBMITTED

                                                                  On behalf of the Plaintiff,

                                                                  /s/ Carlin J. Phillips
                                                                  Carlin J. Phillips, BBO# 561916
                                                                  Andrew J. Garcia, BBO# 559084
                                                                  PHILLIPS & GARCIA, P.C.
                                                                  13 Ventura Drive, Dartmouth, MA 02747
                                                                  Tel. (508) 998-0800; Fax (508) 998-0919
                                                                  cphillips@phillipsgarcia.com



                                                                  On behalf of the Defendant,

                                                                  /s/ Jed H. Hansen
                                                                  Jed H. Hansen
                                                                  Thorpe North & Western, up
                                                                  175 South Main Street, Suite 900
                                                                  Salt Lake City, Utah 84111
                                                                  801-566-6633
                                                                  hansen@tnw.com
                            Case 1:24-cv-11110-PBS Document 5 Filed 04/29/24 Page 80 of 141
Date Filed 4125/2024 12.18 PM
                                         I '
                       Bal i  Case 1:241V-11110 Document 1-4 Filed 04/25/24 Pa e 26 of 26
  ocket Number 2484CV00531




                                           CERTIFICATE OF SERVICE
                        Plaintiff's counsel, Carlin J. Phillips, hereby certifies that a copy of this document was
                served via email on April 4, 2024, to all counsel of record:


                Jed H. Hansen
                Thorpe North & Westeinl, LLP
                175 South Main Street, iSluite 900
                Salt Lake City, Utah 84:111
                801-566-6633
                hansen@tnw.com




                                                              /s/ Carlin J. Phillips
                                                              Carlin J. Phillips, BBO# 561916
                                                              Andrew J. Garcia, BBO# 559084
                                                              PHILLIPS & GARCIA, P.C.
                                                              13 Ventura Drive, Dartmouth, IMA 02747
                                                              Tel. (508) 998-0800; Fax (508) 998-0919
                                                              cphillips@phillipsgarcia.com
Date Filed 4/25/2024 12:18 PM    Case 1:24-cv-11110-PBS Document 5 Filed 04/29/24 Page 81 of 141
Superior Court - Suffolk
DocklaNuffiblei0248)1CV00531             Case 1:24-cv-111t6WicetWElitsfitgt4/25/24 Page 1 of 2
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUC77ONS OA, NEXT PAGE OF 77175 FORM.)
        I. (a) PLAINTIFFS                                                                                    DEFENDANTS
                Angela Gonneville                                                                              Lens.com, Inc.

          (b) County of Residence of First Listed Plaintiff       Bristol                                    County of Residence of First Listed Defendant
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:        iN LAND CONDEMNATION CASES, USE TIM LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

          (C) Attorneys (Finn Name, Address, and Telephone Number)                                            Attorneys (If Known)

                Carlin Phillips, Phillips & Garcia PC, 13 Ventura Dr.,                                        Theodore J. Folkman, Rubin and Rudman LLP, 53 State
                North Dartmouth, MA 02747, (508) 998-0800                                                     St., Boston, MA 02109, (617) 330-7135
    II. BASIS OF JURISDICTION (P/ace an "X" an One Box Only)                                         CITIZENSHIP OF PRINCIPAL PARTIES (Place an -A— in One Boxfor Plaintiff
                                                                                                          (For Diversity Cases Only)                                 and One Boxfor Defendant)
   Di U.S. Government                  Els   Federal Question                                                                      PTF       DEF                                       PTF     DEF
               Plaintiff                       (U.S. Government Not a Petry)                        Citizen of This State             g1 ❑     1    Incorporated or Principal Place    ❑ 4 ❑ 4
                                                                                                                                                      of Business in This State

   D 2 U.S. Government                 04    Diversity                                              Citizen of Another State          ❑ 2   D 2 Incorporated and Principal Place      ▪       Es
               Defendant                       (indicate Citizenship of Parties in Item 111)                                                          of Business in Another State

                                                                                                    Citizen or Subject of a           113   El 3    Foreign Nation                    ❑   6   0 6
                                                                                                      Foreign Country
    IV. NATURE OF SUIT (Place an "X" in One Box Onl                                                                                    Click here for: Nature of Suit Code Descriptions.
   .._.
                CONZIACT
       110 Insurance
       120 Marine
                                       PERSONAL INJURY
                                    ] 310 Airplane
                                                               TORTS
                                                                      PERSONAL INJURY
                                                                  . 365 Personal Injury -
                                                                                                      VORPEIIIIREIPE
                                                                                                    ] 625 Drug Related Seizure
                                                                                                                                ETY

                                                                                                           of Property 21 USC 881 R
                                                                                                                                              IIANKRIIPTCY
                                                                                                                                            422 Appeal 28 USC 158
                                                                                                                                            423 Withdrawal
                                                                                                                                                                      d     CITTIER STATUTES
                                                                                                                                                                        375 False Claims Act
                                                                                                                                                                        376 Qui Tam (31 USC
                                                                                                                                                                                                       I


   —' 130 Miller Act                   315 Airplane Product                Product Liability        - 16% Other                                 28 USC 157
                                                                                                                                                                   "
                                                                                                                                                                             3729(a))
                                                                  . 367 Health Care/                                                        fragusconiat                400 State Reapportionment
   .—. 140 Negotiable Instrument            Liability
       150 Recoveryof Overpayment —1 320 Assault, Libel &                 Pharmaceutical                                                  PROPERTY incur.s              410 Antitrust
          & Enforcement of Judgment         Slander                       Personal injury                                             — 820 Copyrights               _ 430 Banks and Banking
                                                                                                                                      •-
   II 151 Medicare Act              ] 330 Federal Employers'              Product Liability                                                                          _ 450 Commerce
                                                                                                                                      _ 830 Patent
   . 152 Recovery of Defaulted              Liability             . 368 Asbestos Personal
                                                                                                                                      — 835 Patent - Abbreviated     — 460 Deportation
           Student Loans               340 Marine                         injury Product                                                      New Drug Application      470 Racketeer Influenced and
           (Excludes Veterans)         345 Marine Product                 Liability
                                                                                                    —                               id 840 Trademark                        Corrupt Organizations
   . 153 Recovery of Overpayment            Liability             _ PERSONAL PROPERTY                           Late                     880 Defend Trade Secrets ❑ 480 Consumer Credit
          of Veteran's Benefits     — 350 Motor Vehicle           _ 370 Other Fraud                 2710  Fair Labor Standards                Act of 2016                   (15 USC 1681 or 1692)
   . 160 Stockholders' Suits           355 Motor Vehicle              371 Truth in Lending                 Act                                                        A 485 Telephone Consumer
       190 Other Contract                  Product Liability      ll 380 Other Personal             ] 720 Labor/Management           L     SO(1M SECURITY                   Protection Act
    Q
   — 195 Contract Product Liability D 360 Other Personal                  Property Damage                  Relations                      861 lilA (1395f0              490 Cable/Sat TV
       196 Franchise                       Injury                 MI 385 Property Damage            — 740 Railway Labor Act              862 Black Lung (923)        1] 850 Securities/Commodities/
                                    —I 362 Personal Injury -              Product Liability         _ 751 Family and Medical              863 DIWC/DIWW (405(g))            Exchange
                                           Medical Malpractice                                             Leave Act                      864 SSiD Title XVi            890 Other Statutory Actions
           REAL AtOP TY                  CXVIL RIGHTS               PRISONER PETITIONS                790 Other Labor Litigation         865 RS1 (405(g))               891 Agricultural Acts
       210 Land Condemnation        _ 440 Other Civil Rights          Habeas Corpus:                _ 791 Employee Retirement                                           893 Environmental Matters
       220 Foreclosure                 441 Voting                     463 Alien Detainee                  Income Security Act            FEDERAL TAxsuas                895 Freedom of Information
   _ 230 Rent Lease & Ejectment        442 Employment                 510 Motions to Vacate                                             D870 Taxes (U.S. Plaintiff          Act
       240 Torts to Land               443 tlousing/                      Sentence                                                             or Defendant)         11 896 Arbitration
       245 Tort Product Liability          Accommodations             530 General                                                    ❑ 871 IRS—Third Party              899 Administrative Procedure
   i 290 All Other Real Property    A 445 Amer. w/Disabilities - _:` 535 Death Penalty                     LIIMEGRA                            26 USC 7609                  Act/Review or Appeal of
                                           Employment
                                    iL 446 Amer. w/Disabilities - --•
                                           Other
                                                                      Other:
                                                                  — 540 Mandamus & Other
                                                                  _ 550 Civil Rights
                                                                                                    7 462 Naturalization Application
                                                                                                      465 Other Immigration
                                                                                                          Actions
                                                                                                                                                                            Agency Decision
                                                                                                                                                                     —1 950 Constitutionality of
                                                                                                                                                                            State Statutes
                                       448 Education                  555 Prison Condition
                                                                  — 560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
    V. ORIGIN (Place an "X" in One Box Only)
   O1 Original
      Proceeding
                            02    Removed from
                                  State Court
                                                        D3 Remanded   from
                                                           Appellate Court
                                                                                               O 4 Reinstated or
                                                                                                   Reopened
                                                                                                                      O     5 Transferred from
                                                                                                                              Another District
                                                                                                                                                   O 6 Multidistrict
                                                                                                                                                       Litigation -
                                                                                                                                                                               O 8 Multidistrict
                                                                                                                                                                                   Litigation -
                                                                                                                              (specify)                Transfer                    Direct File
                        Cite the U.S. Civil Statute under which you are filing (Do net cite Jurisdictional statutes unless diversity):
                        28 USC 1332
    VI. CAUSE OF ACTION Brief description of cause:
                        Putative consumer class action for breach of contract and unjust enrichment
    VII. REQUESTED IN   E CHECK iF THIS iS A CLASS ACTION                                               DEMAND $                                 CHECK YES only if demanded in complaint:
         COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                    restitution & damages                    JURY DEMAND:              IllYes    ON°
    VIII. RELATED CASE(S)
                          (See instructions):
          IF ANY                              JUDGE                                                                                         DOCKET NUMBER
    DATE                                                               SIGNATURE OF ATTORNEY OF RECORD
        4/25/2024                                                       /s/ Theodore J. Folkman
    FOR OFFICE USE ONLY

          RECEIPT 0                AMOUNT                                   APPLYING iFP                                      JUDGE                        lvIAG. JUDGE
                           Case 1:24-cv-11110-PBS Document 5
Date Filed 4/25/2024 12:18 PM                                                               Filed 04/29/24 Page 82 of 141
Superior Court - Suffolk
Docka Miliiiligrg846W531       Case 1:24-cv-11110 Document 1-5                              Filed 04/25/24 Page 2 of 2
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                  Authority For Civil Cover Sheet

   The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
   required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
   required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
   Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

           Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
           only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
           the official, giving both name and title.
           County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
           time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
           condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
           Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
           in this section "(see attachment)".

           Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
           in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
           United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
           United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
           Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
           to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
           precedence, and box 1 or 2 should be marked.
           Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
           citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
           eases.)

   HI.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
           section for each principal party.

   IV.     Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
           that is most applicable. Click here for: Nature of Suit Code Descriptions.

   V.      Origin. Place an "X" in one of the seven boxes.
           Original Proceedings. (1) Cases which originate in the United States district courts.
           Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
           Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
           date.
           Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
           Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
           multidistrict litigation transfers.
           Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
           Section 1407.
           Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
           PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
           changes in statute.

   VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
          statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

   VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
           Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
           Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

   VIII. Related Cases. This section of the JS 44 is used to reference related cases, if any. If there are related cases, insert the docket
         numbers and the corresponding judge names for such cases.

   Date and Attorney Signature. Date and sign the civil cover sheet.
                            Case 1:24-cv-11110-PBS Document 5
Date Filed 4/25/2024 12:18 PM                                                          Filed 04/29/24 Page 83 of 141
Superior Court - Suffolk
Docket Number 2484CV00531      Case 1:24-cv-11110 Document 1-6                         Filed 04/25/24 Page 1 of 1
                                                            UNITED STATES DISTRICT COURT
                                                             DISTRICT OF MASSACHUSETTS


          1. Title of case (name of first party on each side only) Gonneville v. Lens.com, Inc.



          2. Category In which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local
              rule 40.1(a)(1)).

                        I.        160, 400, 410, 441, 535, 830*, 835*, 850, 880, 891, 893, R.23, REGARDLESS OF NATURE OF SUIT.

                                  110, 130, 190, 196, 370, 375, 376, 440, 442, 443, 445, 446, 448, 470, 751, 820*, 840*, 895, 896, 899.


                        M.        120, 140, 150, 151, 152, 153, 195, 210, 220, 230, 240, 245, 290, 310, 315, 320, 330, 340, 345, 350, 355, 360, 362,
                                  365, 367, 368, 371, 380, 385, 422, 423, 430, 450, 460, 462, 463, 465, 480, 485, 490, 510, 530, 540, 550, 555, 560,
                                  625, 690, 710, 720, 740, 790, 791, 861465, 870, 871, 890, 950.
                                  *Also complete AO 120 or AO 121. for patent, trademark or copyright cases.


          3. Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
             district please indicate the title and number of the first filed case in this court.



          4. Has a prior action between the same parties and based on the same claim ever been filed in this cou ?
                                                                                              YES    I    I       NO           6/
          5. Does the complaint in this case question the constitutionality of an act of congress affecting the public interest?           (See 28 USC
             §2403)


             if so, is the U.S.A. or an officer, agent or employee of the U.S. a party?
                                                                                              YES    El           NO    El
                                                                                              YES                 NO

          6. Is this case required to be heard and determined by a district court of three judges ursuant to title 28 USC §2284?
                                                                                              YES                 NO     n

          7. Do all of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
             Massachusetts ("governmental agencies"), residing In Massachusetts reside in the         e division? - See Local Rule 40.1(d)).

                                                                                              YES                 NO

                        A.        If yes, in which dIvis    o ail of the non-governmental artles reside?

                                  Eastern Division                        Central Division                        Western Division

                        B.        If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,
                                  residing in Massachusetts reside?


                                  Eastern Division                       Central Division    El                   Western Division

          8. If filing a Notice of Removal - are there any motions pending In the state court requiring the attention of this Court? (If yes,
             submit a separate sheet identifying the motions)
                                                                                              YES    I-1          NO
                                                                                                                         [II
         (PLEASE TYPE OR PRINT)
         ATTORNEY'S NAME Theodore J. Folkman
         ADDRESS Rubin and Rudman LLP, 53 State St., Boston, MA 02109

         TELEPHONE NO. (617) 330-7135
                                                                                                                               (CategoryForm11-2020.wpd )
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                                     COMMONWEALTH OF MASSACHUSETTS

          Suffolk, ss.                                                        Superior Court Department
                                                                              of the Trial Court


         ANGELA GONNEVILLE, individually
         and on behalf of all others similarly
         situated,
                                                              Civ. A. No. 2484CV00531-BLS2
                      Plaintiff,

         v.

         LENS.COM, INC.,

                      Defendant.


                                   NOTICE OF FILING OF NOTICE OF REMOVAL

                 Please take notice that the defendant, Lens.com, Inc., has removed this case to the United

          States District Court for the District of Massachusetts ("the District Court"). A copy of the Notice

          of Removal, which has been filed with the District Court, is attached to this Notice as Exhibit 1.

          Pursuant to 28 U.S.C. § 1446(d), this Court shall proceed no further unless and until the case is

          remanded.

                                                       Respectfully submitted,

                                                       LENS.COM, INC.

                                                       By its attorney:

                                                       /s/ Theodore J. Folkman

                                                       Theodore J. Folkman (BBO No. 647642)
                                                       RUBIN AND RUDMAN LLP
                                                       53 State St.
                                                       Boston, Mass. 02109
                                                       (617) 330-7135
          Dated: April 25, 2024                        tfolkman@rubinrudman.com
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                                            CERTIFICATE OF SERVICE

                I certify that on April 25, 2024, I served this document by first-class mail, postage prepaid,
          and email on:

                  Carlin Phillips
                  cphillips@phillipsgarcia.com
                  Andrew J. Garcia
                  agarcia@phillipsgarcia.com
                  Phillips & Garcia, P.C.
                  13 Ventura Drive
                  North Dartmouth, MA 02747

                                                                      /s/ Theodore J. Folkman




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                                       EXHIBIT 1
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                                         UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF MASSACHUSETTS


         ANGELA GONNEVILLE, individually
         and on behalf of all others similarly
         situated,
                                                                  Civ. A. No.
                      Plaintiff,

         v.

         LENS.COM, INC.,

                      Defendant.


                              DEFENDANT LENS.COM, INC.'S NOTICE OF REMOVAL

                  Pursuant to 28 U.S.C. §§ 1332(d), 1441, and 1446, Defendant Lens.com, Inc.

          ("Lens.com") hereby gives notice of the removal of the action captioned as Angela Gonneville v.

          Lens.com, Inc., Docket No. 2484CV00531-BLS2, filed in the Suffolk Superior Court (the "State

          Action"), to the United States District Court for the District of Massachusetts. The ground for

          removal is diversity of citizenship. In further support, Lens.com states as follows:

                                           PROCEEDINGS IN STATE COURT

                  1.         On February 23, 2024, Plaintiff Angela Gonneville filed the removed case, Angela

          Gonneville v. Lens.com, Inc., Case No. 2484CV00531-BLS2, in the Suffolk Superior Court. A

          true and correct copy of the Class Action Complaint ("Complaint") is attached as Exhibit A. A

          true and correct copy of the Summons that issued is attached as Exhibit B.

                  2.         Plaintiff served Lens.com on March 28, 2024, as reflected in the Affidavit of

          Service, attached as Exhibit C.



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                  3.     A true and correct copy of the complete record in this action in Suffolk Superior

          Court is attached as Exhibit D.

                  4.     Exhibits A—D constitute all the process, pleadings, and orders that are available

          from the public state court record in connection with Case No. 2484CV00531-BLS2, in the

          Suffolk Superior Court, as of the date of the filing of this Notice of Removal.

                                     NATURE OF THE REMOVED ACTION

                  5.     Plaintiff alleges that she "is an individual who resides in Massachusetts." Compl.,

          ¶ 3. On information and belief, she is domiciled in Massachusetts.

                  6.     Plaintiff alleges that Lens.com "is a Nevada corporation with its principal place of

          business in the State of Missouri." Id., ¶ 4. In fact, Lens.com is a corporation organized and

          existing under the laws of the State of Nevada with its principal place of business in Nevada.

                  7.     Plaintiff alleges that "Lens.com packs a junk fee into its transactions which it

          describes after the point of purchase as a `processing fee.'" Id., ¶¶ 13-17.

                  8.     Plaintiff alleges that she was personally harmed in August 2019, when she

          purchased three boxes contact lenses for a total price of $82.50. Id., ¶ 20. According to Plaintiff,

          she paid an undisclosed processing charge of $5.21. Id.

                  9.     Plaintiff alleges that she was harmed again in May 2020, when she purchased

          another three boxes of contact lenses for a total price of $164.05. Id., ¶ 21. According to

          Plaintiff, she paid an undisclosed processing charge of $22.57. Id.

                  10.    Plaintiff alleges that she was harmed a third time in April 2021, when she

          purchased another three boxes of contact lenses for a total price of $111.97. Id., ¶ 22. According

          to Plaintiff, she paid an undisclosed processing charge of $55.97. Id.


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                         11.    Plaintiff seeks to represent a putative class of Massachusetts consumers. Plaintiff

                defines her putative class as follows:

                         All consumers who purchased contact lenses in Massachusetts and were charged a
                         processing or handling fee with the contact lens order in the six years preceding the filing
                         of this Complaint. Id., ¶ 24.

                         12.    Plaintiff, on behalf of herself and the putative class, brings claims against

                Lens.com for Breach of Contract (Count I), Breach of the Duty of Good Faith and Fair Dealing

                (Count II), and Unjust Enrichment (Count III). Id., ¶¶ 33-52.

                         13.    Plaintiff seeks class-wide damages, including "compensatory damages and/or or

                restitution or refund of all funds acquired by Lens.com ... as a result of [Lens.com's] unlawful,

                unfair, deceptive and unconscionable practices;" and "compensatory damages caused by

               Lens.com's breach of contract." Id. at 14. Plaintiff further seeks pre- and post-judgment

                interests, costs, and attorneys' fees. Id.

                         14.    Plaintiff also sent Lens.com a demand letter dated March 26, 2024 ("Demand

               Letter") "pursuant to Massachusetts General Laws Chapter 93A Section 9," attached as

               Exhibit E. In the Demand Letter, Plaintiff accuses Lens.com of "charging hidden and inflated

               junk fees in online purchases of contact lenses" and states that Lens.com has "thirty days after

               receipt of this letter to make a reasonable written tender of settlement or be exposed to potential

               treble damages and attorney's fees and costs." Id. Plaintiff further demands that Lens.com

               "identify all Massachusetts consumers for the last six years who were charged a processing and/or

               handling fee, the date of the fee(s) and the amounts(s)" and that Lens.com "agree to reimburse all

               identified Massachusetts consumers three times the amount of all processing and/or handling fees

               paid." Id.


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                  15.    In accordance with the Demand Letter, Plaintiff intends to amend the Complaint to

          include a claim under G.L. c. 93A, § 9 and will seek "three times the amount of all processing

          and/or handling fees paid," as well as attorney's fees.

                                   REMOVAL TO THIS DISTRICT IS PROPER

                  16.    The State Action can be properly removed this Court under 28 U.S.C. § 1441(a)

          because this Court is the United States District Court for the district embracing Suffolk County,

          the location where the State Action was pending.

                  17.    However, Lens.com will not ultimately consent to venue in the United States

          District Court for the District of Massachusetts, because an operative forum-selection clause

          requires the action be brought in Nevada. Thus, pursuant to 28 U.S.C. § 1404(a), Lens.com

          intends to move to transfer this action to the United States District Court for the District of

          Nevada, for two reasons. First, a nationwide class action was recently filed in Nevada and those

          claims overlap with the claims here. See Franks v. Lens.com Inc., Case No. 2:24-cv-0724

          (District of Nevada). Second, all parties to this action have consented to jurisdiction in Nevada in

          a forum-selection clause.

                                               REMOVAL IS TIMELY

                  18.    Plaintiff served Lens.com with a copy of the Complaint on March 28, 2024. See

          Ex. C, Affidavit of Service at 1.

                  19.    Removal is timely under 28 U.S.C. § 1446(b) because this Notice of Removal was

          filed on April 25, 2024, which is within 30 days of service of the Complaint.




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                                               REMOVAL IS PROPER

                  20.     Removal is proper under the Class Action Fairness Act ("CAFA"), see 28 U.S.C.

           § 1332(d), because this matter is a class action with minimally diverse parties, there is an

           aggregate amount in controversy in excess of $5,000,000, and the number of proposed class

          members is more than 100.

                  21.     First, the parties are at least minimally diverse. Plaintiff, who seeks to represent

          the class, is a citizen of Massachusetts. See Compl. ¶ 3 (alleging that Plaintiff is a resident of

          Massachusetts). Lens.com is not a Massachusetts citizen—it is headquartered in Nevada and

          incorporated under Nevada law. See Compl. ¶ 4; 28 U.S.C. § 1332(c)(1) ("[A] corporation shall

          be deemed to be a citizen of every State and foreign state by which it has been incorporated and

          of the State or foreign state where it has its principal place of business"). Because Plaintiff is a

          citizen of Massachusetts and Lens.com is a citizen of Nevada, the parties are at least minimally

          diverse. See 28 U.S.C. § 1332(d)(2) ("The district courts shall have original jurisdiction of any

          civil action in which the matter in controversy exceeds the sum or value of $5,000,000, exclusive

          of interest and costs, and is a class action in which [] any member of a class of plaintiffs is a

          citizen of a State different from any defendant.").

                  22.     None of the CAFA exceptions to federal jurisdiction over a putative class action

          apply because the "primary defendant[]" or the defendant "from whom significant relief is

          sought"—Lens.com, the only named defendant in this action—is not a Massachusetts citizen. See

          28 U.S.C. § 1332(d)(3)—(4).

                  23.     Second, the amount in controversy requirement is met. To satisfy the amount-in-

          controversy requirement, a removing defendant needs to "include only a plausible allegation that


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          the amount in controversy exceeds the jurisdictional threshold." Dart Cherokee Basin Operating

          Co. v. Owens, 574 U.S. 81, 89 (2014). "Evidence establishing the amount" is not required to be

          included with the notice of removal but instead is required only "when the plaintiff contests, or

          the court questions, the defendant's allegation." Id.

                  24.    "A defendant can satisfy its burden to establish the amount in controversy by a

          reasonable probability by relying on the face of the complaint in the underlying case, by alleging

          facts in its notice of removal to support its amount in controversy allegation, or by submitting

          summary judgment type evidence." Khath v. Midland Funding, LLC, 2016 U.S. Dist. LEXIS

          43493, at *13 (D. Mass. Jan. 7, 2016) (citing Composite Co. v. Am. Int'l Grp., Inc., 988 F. Supp.

          2d 61, 74 (D. Mass. 2013)).

                  25.    To determine the amount in controversy, the Court first looks to whether plaintiff

          made specific damage allegations in the complaint. See Coventry Sewage Assocs. v. Dworkin

          Realty Co., 71 F.3d 1, 6 (1st Cir. 1995). A court will determine the amount in controversy from

          the face of the complaint "'unless it appears or is in some way shown that the amount stated in the

          complaint is not claimed in good faith." Coventry Sewage, 71 F.3d at 4 (quoting Horton v.

          Liberty Mut. Ins. Co., 367 U.S. 348, 353 (1961)). "'[W]hen a plaintiff makes a claim under a

          statute including a damage multiplier, a court must apply that factor in evaluating the amount in

          controversy." Lucas v. Ultima Framingham LLC, 973 F. Supp. 2d 98, 2013 WL 5405668, at *3

          (D. Mass. 2013) (quoting Evans v. Yum Brands, Inc., 326 F. Supp. 2d 214, 222 (D.N.H. 2004)).

          The amount in controversy includes statutorily authorized attorneys' fees and multipliers of

          damages, such as the treble damages provision in Chapter 93A. See, e.g., Crandall v. Travelers

          Personal Sec. Ins. Co., 2024 U.S. Dist. LEXIS 12106, at *2 (D. Mass. Jan. 18, 2024); Santos v.


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                Preferred Mut. Ins. Co., 21 F. Supp. 3d 111, 116 n.2 (D. Mass. 2014); Williams v. Litton Loan

                Servicing, 2011 U.S. Dist. LEXIS 90689, at *5 (D. Mass. Aug. 15, 2011).

                         26.   Here, Plaintiff seeks "compensatory damages and/or restitution or refund of all

                funds acquired by Lens.com from Plaintiff and the Class Members ... in an amount to be proven

                at trial." Compl. at 14. While Lens.com disputes Plaintiff's class definition, Plaintiff alleges that

               the class members include "[a]ll consumers who purchased contact lenses in Massachusetts and

                were charged a processing or handling fee with the contact lens order in the six years preceding

               the filing of this Complaint." Id., 1124. From 2018 to 2023, Lens.com estimates that its total sales

                in Massachusetts were approximately $21,200,000. Thus, the "compensatory damages and/or

               restitution or refund of all funds acquired by Lens.com from Plaintiff and the Class Members"

               exceeds the $5 million threshold.

                         27.   Plaintiff also seeks "compensatory damages caused by Lens.com's breach of

               contract." Id. at 14.

                         28.   Plaintiff also seeks "pre- and post-judgment interest." Compl. at 14.

                         29.   Plaintiff also seeks "reasonable attorney' fees and costs." Compl. at 14. A court

               may consider potential attorney's fees as part of the amount-in-controversy calculation when "a

               statute mandates or allows the payment of such fees." Dep't of Rec. & Sports of P.R. v. World

               Boxing Ass'n, 942 F.2d 84, 89 (1st Cir. 1991).

                         30.   Taken as a whole, the demands of the Complaint thus plausibly exceed the $5

               million threshold for federal jurisdiction under 28 U.S.C. § 1332(d). Dart, 574 U.S. at 89.

                         31.   In addition to these restitution and damages claims, Plaintiff also served a Demand

               Letter with its complaint indicting that Plaintiff intends to amend the Complaint to include a claim


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             under G.L. c. 93A, § 9. While these causes of action are not yet part of the complaint, these

             claims will also add to the damages claimed in this matter. The demand letter seeks "three times

             the amount of all processing and/or handling fees paid." From 2018 to 2023, Lens.com estimates

             that Massachusetts consumers paid approximately $3,500,000 in processing fees. Three times the

             amount of all processing and or handling fees paid is approximately $10,500,000. This alone

             would also satisfy the $5 million threshold.

                     32.       Third, because Lens.com is a well-established company that sells products to

             consumers across the country, the number of proposed class members is greater than 100. For

             example, based on the current class allegation in the complaint, Lens.com estimates that in 2023

             alone, it sold products to over 7,000 customers in Massachusetts.

                     33.       Pursuant to 28 U.S.C. § 1446(d), Lens.com will serve written notice of removal of

             this case on Plaintiff's counsel by first-class mail and email at the following addresses:

                     Carlin Phillips
                     cphillips@phillipsgarcia.corn
                     Andrew J. Garcia
                     agarcia@phillipsgarcia.com
                     Phillips & Garcia, P.C.
                     13 Ventura Drive
                     North Dartmouth, MA 02747

                     34.       Pursuant to 28 U.S.C. 1446(d), Lens.com will promptly file a notice of filing of

             notice of removal with the Clerk of the Suffolk Superior Court.

                     35.       The recitation of Plaintiff's allegation in this Notice of Removal is not a

             concession that Plaintiff's allegations or legal theories have merit. Lens.com reserves the right to

             assert all applicable defenses in this matter and denies that Plaintiff is entitled to any relief. By

            removing this matter, Lens.com does not waive and reserves any rights it may have, including,


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          without limitation, all available arguments and affirmative defenses. Lens.com does not concede

          that Plaintiff is entitled to any recovery whatsoever.

                                                    CONCLUSION

                 36.     Pursuant to 28 U.S.C. §§ 1332(d), 1441 and 1446, Lens.com hereby removes the

          above-captioned action from the Suffolk Superior Court to the U.S. District Court for the District

          of Massachusetts.



                                                        Respectfully submitted,

                                                        LENS.COM, INC.

                                                        By its attorneys:

                                                        /s/ Theodore J. Folkman

                                                        Theodore J. Folkman (BBO No. 647642)
                                                        RUBIN AND RUDMAN LLP
                                                        53 State St.
                                                        Boston, Mass. 02109
                                                        (617) 330-7135
                                                        tfolkman@rubinrudman.com

                                                        Mark Bettilyon (pro hac vice forthcoming)
                                                        Jed Hansen (pro hac vice forthcoming)
                                                        THORPE NORTH & WESTERN, LLP
                                                        The Walker Center
                                                        175 S. Main Street, Suite 900
                                                        Salt Lake City, Utah 84111
                                                        (801) 566-6633
                                                        mark.bettilyon@triw.com


         Dated: April 25, 2024




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                                   COMMONWEALTH OF MASSACHUSETTS

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           ANGELA GONNEVILLE, individually                     )        CIVIL ACTION NO.
           and on behalf of all others similarly               )
           situated                                            )
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                  Plaintiff                                    )
                                                               )
           v.                                                  )
                                                               )
           LENS.COM, INC.                                      )
                                                               )
                  Defendant                                    )
                                                               )

                                          CLASS ACTION COMPLAINT

                  Plaintiff, Angela Gonneville, individually and on behalf of all others similarly situated,

           brings this Class Action Complaint for damages for unfair and deceptive sales practices committed

           by Defendant, Lens.com, Inc.

                                                 INTRODUCTION

                  1.      This is a consumer class action case involving an undisclosed junk fee that

           Lens.com charges as part of online contact lens orders. More particularly, Lens.com adds an

          undisclosed and non-itemized "processing charge" to contact lens orders after customers have

           already filled out the details of their contact lens orders. Lens.com has received numerous

           complaints regarding this undisclosed charge.

                  2.     Plaintiff seeks to represent a class of consumers in Massachusetts who have paid

           an undisclosed processing or handling charge on their contact lens order. Given the amount of the




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           fees at issue and given the number of potential consumers impacted, a class action is the most

           judicially efficient manner of adjudicating this dispute.

                                       PARTIES, JURISDICTION AND VENUE

                   3.      Plaintiff, Angela Gonneville ("Plaintiff" or "Ms. Gonneville"), is an individual who

           resides in Massachusetts.

                   4.      Defendant, Lens.com, Inc. ("Lens.com" or "Defendant"), is a Nevada corporation

           with its principal place of business in the State of Missouri.

                   5.      The Court has original jurisdiction over the civil claims alleged in Plaintiff's

           Complaint pursuant to M.G.L. ch. 212 § 4.

                   6.      This Court has personal jurisdiction over Lens.com pursuant to M.G.L. ch. 223 § 3

           because Lens.com conducts significant business in Massachusetts, namely through the marketing,

           advertising, selling and delivery of contacts lens products in Massachusetts to consumers such as

           Plaintiff.

                   7.      Likewise, venue is proper here as the defendant markets, advertises, sells and

           delivers contacts lens products to Massachusetts consumers in this county.

                                             FACTUAL BACKGROUND

                   The Business of Lens.com

                   8.     Lens.com is an online seller of contact lenses and claims that it provides consumers

           "the best way to buy contact lenses - better than your eye doctor, better than big box, better than

           other websites." Lens.com further claims that it offers the lowest prices of any contact lens seller

           online or in-store and that most orders ship within 24 hours.

                   9.     Lens.com markets its contact lenses as having "Year Round Unbeatable Prices."

           On its website it states that it has delivered over 691 million contact lenses. It further touts that,



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           "With over 35 Million contact lenses in stock, we immediately fill your order with your exact

           prescription."

                  10.       In a FAQ (frequently asked question) on its website entitled, "How much does

           shipping cost?", Lens.com states: "At Lens.com we don't bury the cost of shipping in every box

           we sell. We are completely transparent and let you decide what's best for you. We offer you

           reliable shipping at extremely competitive prices/rates. You will be able to select the best method

           for your personal needs at checkout." It then includes a chart of shipping costs within the United

           States, Canada and Internationally. Nowhere under its description of shipping costs is there

           mention of a "processing" or "handling" fee of any kind. A search of the words "Processing Fee"

           on Lens.com's website yields no information.

                  The Proliferation of Junk Fees in Online Consumer Transactions

                  11.       Retailers, like Lens.com, are increasingly charging consumers "junk fees" in online

           transactions to increase profits. "Junk Fees" are defined by the Federal Trade Commission as

           "unnecessary, unavoidable, or surprise charges that inflate costs while adding little to no value."

           The FTC notes that "[c]onsumers can get hit with junk fees at any stage of the purchase or payment

           process. Companies often harvest junk fees by imposing them on captive consumers or by

           deploying digital dark patterns and other tricks to hide or mask them." https://www.ftc.govinews-

           events/news/press-releases/2022/10/federal-trade-commission-explores-rul e-cracking-down-

          junk-fees.

                  12.       Common junk fees are convenience fees, processing fees, resort fees, service fees

          and overdraft fees. The White House recently issued a junk fee guide for the states noting how

          junk fees have overrun the American economy and are "often not disclosed upfront and only

           revealed after a consumer has decided to buy something, obscure true prices and dilute the forces



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           of    market     competition      that    are    the    bedrock      of     the   U.S.    economy."

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                  Lens.com's Sales Practices and Junk Fees

                  13.     Lens.com's marketing materials state that "we don't bury the cost of shipping in

           every box we sell. We are completely transparent and let you decide what's best for you. We

           offer you reliable shipping at extremely competitive prices/rates. You will be able to select the

           best method for your personal needs at checkout."

                  14.     Despite these claims, Lens.com packs a junk fee into its transactions which it

           describes after the point of purchase as a "processing fee." This processing fee is separate from

           its shipping fee, which in the Plaintiff's case was either free or $7.95.

                  15.     Lens.com fails to disclose or itemize its processing fee during online transactions

           and inflates the total transaction price by the amount of the hidden processing fee at the end of the

           transaction when a consumer's credit card is being processed. These hidden fees add to the total

           product price but are not disclosed at any point in the cycle of the transaction, in marketing

           materials, frequently asked questions on Lens.com's website or in product pricing disclosures.

                  16.     In some transactions, Lens.com never discloses the existence or amount of its

           processing fee. In other transactions the hidden fees are only disclosed on a packing slip provided

           to the consumer when the product is delivered. In those circumstances, the hidden fees are listed

           as "PROCESSING" or as "Shipping & Handling" fees.

                  17.     The amount of the processing fee charged by Lens.com varies greatly and from

           transaction to transaction. The Plaintiff's processing fees were $55.97, $22.57 and $5.21.

                  18.     Numerous online complaints made by Lens.com customers describe processing

           fees that are over $100. The below listed consumer complaints made to Complaints Board, an



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           online consumer complaint center, describe Lens.com's surprise processing fee. Each consumer

           referenced below contacted the Defendant's customer service line to complain about the

           processing fee and, accordingly, these complaints constitute notice and knowledge to the

           Defendant of the unfair and deceptive nature of their processing and other fees. The online

           complaints state in relevant part:

                      Processing Fees
                      Contact lenses were ordered for my child over the phone in February of
                      2021. The bill received did not break out the $103 processing fee for an
                      order of $107 in contacts. The processing fee did not include shipping fees.
                      This was discovered when trying to tally the order for reimbursement by the
                      child's father months later and the lens cost did not add up to the total. When
                      contacting the company the only adjustment offered was a $7.95 shipping
                      credit. The price of contacts was severely misrepresented due to the
                      arbitrary and, per customer service, ever changing "processing fees".
                      (Chobbs 1411 of US; August 27, 2021)

                      Lens.com review: Astronomical processing fee for contact lens order.
                      Customer since 2014... Last order placed 12/26/2020 and was charged
                      processing fee of $110.38... I immediately contacted the company and was
                      simply told "that was their processing fee"... I escalated the issue as I have
                      never paid more than $35.96 for a processing fee (last order was 8/2020 and
                      fee was $29.54)... Continued to reach out via email and was finally told on
                      Jan 3rd that my complaint was escalated to leadership... I reached out again
                      on Jan 11, 12 and now this morning and have never been contacted back...
                      I am now in the process of disputing charge with the credit card company...
                      I have included the processing fees paid so you can see for yourself the
                      ridiculous amount charged this last order:

                              4-2014 $18.16
                              3-2015 $26.47
                              8-2015 $26.11
                              9-2016 $35.96
                              9-2017 $25.51
                              9-2018 $25.99
                              12-2019 $27.51
                              8-2020 $29.54
                              12-2020 $110.38

                      I understand I owe for the contacts but I refuse to pay that amount for
                      processing! (juhnklo of US; January 15, 2021)



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                    Extraordinarily high processing fee.
                    On July 7, 2023, I submitted an order and paid $220 for 4 boxes of contacts.
                    A bargain so I thought, because I would also get a $75 rebate. Again, so I
                    thought. Imagine my surprise when I see I was charged $330 for my order
                    due to a huge $120 processing fee. Apparently the 'submit order' button
                    appears before the processing fee (which requires you to scroll down past
                    the submit order so you don't see the additional fee.) It doesn't appear on the
                    consumers invoice on their site, but somehow when you questions it, the
                    Customer service people are able to produce an invoice showing the fee.
                    They claim it is automatically added 'by the system' and they cannot refund
                    any portion of it. The processing fee was more than 50% of my total
                    purchase and in reading the complaints about them, they take so long to
                    issue the $75 rebate that the expiration date is so close or past, rendering it
                    useless as it is a visa gift card. These complaints date back to 2014 and
                    nothing has changed. Below is the invoice AFTER the order was submitted.
                    (K. Lennon, Rochdale, MA; July 18, 2023)

                    Lens.com added 85% to my order in "tax & fees"
                    r,*i intended to purchase 4 boxes of contact lenses at $31.74 per box. They
                    advertised $9.24 per box if I ordered 8 boxes, which would have been
                    $73.92, instead of $253. 92. When I clicked "checkout" the total
                    was$485.79! They added $213.92 in "tax & fees", which is an additional
                    85%.

                    I clicked the "chat 24/7" line and the rep did everything possible to avoid
                    explaining what "fees" were, since tax would be no more than $22 in any
                    state. I had to ask SIX TIMES, but he finally was forced to admit that "fees"
                    were: "This includes calling your doctor on your behalf, doctor's fees since
                    we need to verify your prescription, and handling and processing your order.
                    If the customer has a valid prescription, there is no need to call the doctor.
                    Tax would have been $20 so the "rebate" which was applied to the order,
                    tax and their undisclosed "fees" added 85% to the cost of the order. I told
                    them that was fraud and they lost my business. (Gail Reznik of US; March
                    26, 2023)

                    Hidden taxes and fees
                    When 1 went to re-order my contacts at Lens.com I noticed advertised
                    pricing and total cost didn't add up. I went to order my 8 boxes so I would
                    get the $160 RB. Listed at $42.79 per box before RB (22.79 after RB) times
                    the required 8 boxes = 342.32 ($182.32 after RB)plus $9.95 Shipping. This
                    should make for a grand total of $352.27( before RB). At check out total
                    came up as $566.19! Call Lens.com, spoke with a rep. I was told to go back
                    to the shipping page, there they show a "Taxes & fees" of 213.92! Contacts
                    are NOT taxable! They are a rip off company with miss leading and Illegal
                    sales tactics. I've used them several times in the past and had not been
                    charged these taxes & fees, I will no longer purchase from them and will
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                       tell others of my bad experience. (Sharon McD of Levittown, US; March 1,
                       2023.

                       Lens.com review: Deceptive fees and rebate hurdles
                       Customer since 2014, but noticed a huge disparity in cost when initiating
                       my most recent order. Without a rebate, they show $72.24 per 90-lens box
                       of 1-day lenses. Buy 8 boxes and the price (after rebate) is shown as $35.99
                       and rebate as $290. Great. The next screen in the checkout asks you to
                       confirm where you want the boxes sent with a 'continue' button below it.
                       When you accidentally scroll below that, you see a blowout of the order,
                       with a whopping $241.92 in taxes and fees that "are compensation for
                       servicing your order". That's the only place they show the added taxes/fees.
                       If you click 'continue' and approve where to send the boxes, you miss that,
                       because the final checkout screen never shows that added charge in its
                       summary of your order. ... This is deceptive. (eyecu of Seattle, US; January
                       12, 2023)

                       Ridiculous fee added without my knowledge
                       I just learned that they added a $50 fee for for processing on an $80 order.
                       And the customer rep could not explain what the processing fee was for.
                       What a ripoff! (thomassu of Centerville, US; December 5, 2022)

                 19.      These consumer complaints describe in detail the repeated notice that Lens.com has

          received from consumers about its hidden processing fees and demonstrate its continued use of

          unfair and deceptive acts and practices to create revenue from junk fees.

                 Plaintiff's Transactions

                 20.      Plaintiff's transactions with Lens.com highlight the deceptive nature of Lens.com's

          business practices. In August 2019, Plaintiff ordered three boxes of contact lenses for a total price

          of $77.29 with free shipping. The subtotal that was charged to Plaintiff, however, was $82.50,

          which included a $5.21 undisclosed processing charge. The "processing fee" was only disclosed

          on the packing form delivered with the contact lenses.

                 21.      Likewise, in May 2020, Plaintiff ordered three boxes of contact lenses for a total

          price of $141.48 with free shipping. The subtotal that was charged to Plaintiff, however, was




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          $164.05, which thus included a $22.57 undisclosed processing charge. The packing form received

          when the contact lenses were delivered indicated a charge of $30.52 for "shipping & Handling."

                 22.     Similarly, in April 2021, Plaintiff ordered three boxes of contact lenses with a total

          price of $55.97 and free shipping. However, the subtotal charged to Plaintiff was $111.97 and

          thus included an undisclosed processing charge of $55.97. The one-page packing form received

          when the contact lenses were delivered did not itemize the transaction charges or disclose the

          amount of the processing fee.

                 23.     Plaintiff ultimately complained to Lens.com about the processing charges and was

          told that the processing fee used to be disclosed on the website but had been removed, there had

          been recent changes to the website but the fee was still not disclosed, the failure to disclose the

          processing fee has been reported to IT by several other agents and that Lens.com was trying to get

          that back up on the website.

                                            CLASS ACTION ALLEGATIONS

                 24.     Pursuant to Massachusetts Rule of Civil Procedure 23, Plaintiff brings this class

          action individually and on behalf of the following proposed class of persons, initially defined as:

          All consumers who purchased contact lenses in Massachusetts and were charged a processing or

          handling fee with their contact lens order in the six years preceding the filing of this Complaint.

          (hereinafter the "Class").

          The Class does not include Defendant; any affiliate, parent or subsidiary of Defendant; any entity

          in which Defendant has a controlling interest; any officer, director or employee of Defendant; any

          successor or assign of Defendant; Plaintiff's counsel or anyone employed by Plaintiffs counsel in

          this action and their immediate families; any judge to whom this case is assigned and any member




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           of his/her immediate family and staff; governmental entities; or individuals who have personal

           injury claims as a result of conduct and/or defects alleged herein.

                   25.       Plaintiff reserves the right to amend or supplement the Class descriptions with

           greater specificity or further division into subclasses or limitation to certain issues, after

           conducting discovery in this matter. Plaintiff also reserves the right to amend or supplement the

           proposed Class after conducting discovery in this matter.

                                        Rule 23 Class Certification Requirements

                   26.       Numerosity of the Class — The members of the Class are so numerous that their

           individual joinder is impracticable. Plaintiffs are informed and believe that Lens. corn processed

           tens or hundreds of thousands of contact lens orders and included an undisclosed processing fee

           with those orders. Adjudication of the claims in a class action context will provide substantial

           benefits to the parties and the Court.

                  27.        Commonality and Predominance — Common questions of law and fact exist as to

           all members of the Class and predominate over questions affecting only individual Class members,

           as is required by Mass. R. Civ. P. 23(a)(2) and (b)(3). These common questions include, but are

           not limited to:

                             a) whether Lens.com engaged in the conduct alleged herein;

                             b) whether Defendant failed to adequately disclose a processing and/or handling
                                fee prior to the completion of an online order for contact lenses;

                             c) whether Defendant's undisclosed processing and/or handling fee inflated the
                                product price;

                             d) whether Defendant's processing and/or handling fees exceeded actual costs
                                and constituted a hidden profit for Defendant;

                             e) whether Plaintiff and Class Members suffered out-of-pocket losses as a result
                                of Defendant's actions and/or inactions alleged herein, and if so, how much;



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                         f) whether Plaintiff and Class Members will suffer out-of-pocket losses as a result
                            of Defendant's alleged actions and/or inactions alleged herein, and if so, how
                            much.

                  28.    Typicality — The claims of the representative Plaintiff are typical of the claims of

           each member of the Class, thus satisfying Mass. R. Civ. P. 23(a)(3). Plaintiff, like all other

          members of the Class, have sustained damages arising from Lens.com's violations of the laws, as

          alleged herein. The representative Plaintiff and the members of the Class were and are similarly or

           identically harmed by the same unlawful, deceptive, unfair, systematic, and pervasive pattern of

          misconduct engaged in by Lens.com. Plaintiff's claims arise from the same practices and course

          of conduct that give rise to the claims of all other members of the Class.

                  29.    Adequacy — The representative Plaintiff will fairly and adequately represent and

          protect the interests of the Class Members and have retained counsel who are experienced and

          competent trial lawyers in complex litigation and class action litigation, thus satisfying Mass. R.

          Civ. P. 23(a)(4). There are no material conflicts between the claims of the representative Plaintiff

          and the members of the Class that would make class certification inappropriate. Counsel for the

          Class will vigorously assert the claims of all Class members.

                  30.    Declaratory or Injunctive Relief — Lens.com has acted and refused to act on

          grounds generally applicable to Plaintiff and Members of the Class, thereby making final

          injunctive relief or corresponding declaratory relief appropriate regarding the Class as a whole.

          Mass. R. Civ. P. 23(b)(2).

                  31.    Superiority — This suit may be maintained as a class action under Mass. R. Civ. P.

          23(b)(3), because a class action is superior to any other available means for the fair and efficient

          adjudication of this dispute and no unusual difficulties are likely to be encountered in its

          management of this class action. The damages suffered by individual class members are small in

          comparison to the burden and expense of individually litigating each claim and based on the
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           complex and extensive litigation needed to address Spirit's conduct. Further, it would be virtually

           impossible for the Class Members to individually redress effectively the wrongs done to them.

          Even if Class Members themselves could afford such individual litigation, the court system could

          not. In addition, individualized litigation increases the delay and expense to all parties and to the

           court system resulting from complex legal and factual issues of the case. Individualized litigation

          also presents a potential for inconsistent or contradictory judgments. By contrast, the class action

          device presents far fewer management difficulties; allows the hearing of claims which might

          otherwise go unaddressed because of the relative expense of bringing individual lawsuits; and

          provides the benefits of single adjudication, economies of scale, and comprehensive supervision

          by a single court.

                  32.     Ascertainability: Upon information and belief, the precise number of Class

          Members may be ascertained from Lens.com's records. Plaintiff contemplates the eventual

          issuance of notice to the proposed Class members setting forth the nature of the instant action.

          Upon information and belief, Class members may be notified of this action by recognized, Court

          approved notice dissemination methods, which may include U.S. mail, electronic mail, Internet

          postings, social media, and published notices, in addition to Lens.com's own business records.


                                                  COUNT I
                                             BREACH OF CONTRACT

                  33.     Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained

          in paragraphs 1 through 23 as though fully stated herein.

                  34.     Plaintiff's and other Class members' purchase of contact lenses constituted a

          contract between them and Lens.com, namely through the terms and conditions on the Lens.com




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           site. The terms and conditions do not mention a processing charge for online orders of contact

           lenses.

                     35.     Plaintiff and the Class Members performed all requirements under their agreements

           with Lens.com, namely the payment of the amount charged by Lens.com for the order.

                     36.     Lens.com breached its agreement with Plaintiff and the Class Members when it

           charged a hidden processing fee in connection with the contact lens orders.

                     37.     Plaintiff and members of the Class have suffered an injury through the payment of

           the processing fee.

                     38.     Plaintiff and Class members are therefore entitled to all incidental, consequential,

           and indirect damages resulting from Lens.com's breach of contract. Lens.com's breach caused

           damages to Plaintiff and the Class Members.

                     39.     Plaintiff and the Class Members seek to recover all permitted damages and their

           attorneys' fees caused by Defendant's breach.

                                               COUNT II
                           BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

                     40.     Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained

           in paragraphs 1 through 23 as though fully stated herein.

                     41.     The Defendant had an obligation to exercise of duty of good faith and fair dealing

          when transacting business with Plaintiff and the Class.

                     42.     The Plaintiff and the Class made purchases at Lens.com's online website.

          Lens.com advertised, disclosed and charged a specific price for each contact lens purchase. It

          claimed that it had the lowest contact lens prices.




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                  43.     However, the Defendant, as matter a pattern and practice, assessed hidden junk fees

          to consumer's transaction which it labeled as processing and/or handling fees. These fees were

          not described on the Defendant's website or as part of the sale.

                  44.     In addition, these junk fees varied from transaction to transaction.

                  45.     The junk fees were charged to Plaintiff's credit and debit cards, thereby driving up

          the actual costs of their contact lens purchases.

                  46.     Lens.com used these hidden fees, which do not purport to approximate actual

          expenses incurred, as a hidden profit center. Not including these hidden fees in the product price

          allowed Lens.com to falsely claim that it had the lowest prices.

                 47.      Lens.com's pattern and practice of charging its consumers hidden junk fees in its

          transactions constituted a breach of the duty of good faith and fair dealing it owed to consumers

          as part of the transactions.

                 48.      As a direct and proximate result of the Defendant's acts and/or omissions, the

          Plaintiff and the Class suffered damages.

                                                   COUNT III
                                              UNJUST ENRICHMENT

                 49.     Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained

          in paragraphs 1 through 23 as though fully stated herein.

                 50.     Plaintiff and the Class Members conferred substantial benefits on Lens.com by

          purchasing contact lenses and by paying processing charges to Lens.com.

                 51.     Lens.com knowingly and willingly accepted and enjoyed those benefits.

          Lens.com's retention of these benefits is inequitable and would be against good conscience

                 52.     As a direct and proximate cause of Lens.com's unjust enrichment, Plaintiff and the

          Class Members are entitled to restitution, attorneys' fees, costs and interest.


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                                                PRAYER FOR RELIEF

                  WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, pray

           for a judgment against Defendant as follows:

                  a. For an order certifying the Class, appointing Plaintiff as Representative of the Class,

           and appointing the law firm representing Plaintiff as counsel for the Class;

                  b. For compensatory damages and/or restitution or refund of all funds acquired by

           Lens.com from Plaintiff and the Class Members as a result of the Company's unlawful, unfair,

           deceptive and unconscionable practices described herein in an amount to be proven at trial;

                  c. For compensatory damages caused by Lens.com's breach of contract with Plaintiff and

          the Class Members to the extent permitted by law in an amount to be proven at trial;

                  d. Both pre-and post judgment interest on any amounts awarded;

                  e. Payment of reasonable attorneys' fees and costs as allowed by law;

                  f. Such other and further relief as the Court may deem just and proper.

                                                    JURY DEMAND

                  The Plaintiff requests a trial by jury on all claims.


                                                                  On behalf of the Plaintiff and the
                                                                  Putative Class,

                                                                  /s/ Carlin J. Phillips

                                                                 Carlin Phillips, BBO# 561916
                                                                 Andrew J. Garcia, BBO# 559084
                                                                 PHILLIPS & GARCIA, P.C.
                                                                 13 Ventura Drive
                                                                 North Dartmouth, MA 02747
                                                                 (508) 998-0800
                                                                 (508) 998-0919 (fax)
                                                                 cphillips@phillipsgarcia. corn




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         Angela Gonneville, Jodi       y and on behalf :of all                                  Suffolk                           County
              others similarly situated,                                                        COURT NAME & ADDRESS:
                                                                        HeIaNO
                                                                                              Suffolk Superior Civil Court
                                                   VS.
                                                                                              Three Pemberton Square
         Lpons.cc.la, Inc.
                                                                                              Boston, MA. 02108

                                                                      Defendant(s)




                          THIS SUMMONS IS DIRECTED TO              Lens ,00n, Inc.                            (Defendant's name)



           You are being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the Plaintiffs Complaint filed
           against you is attached to this Summons and the original Complaint has been filed in the Suffolk County Superior     Court.
                                             YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.


          1. You must respond to this lawsuit in writing within 20 days.
          If you do not respond, the Court may decide the case against you and award the Plaintiff everything asked for in the Complaint.
          You will also lose the opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect to

          resolve this matter with the Plaintiff. If you need more time to respond, you may request an extension of time in writing
          from the Court

          2. How to Respond.
          To respond to this lawsuit, you must file a written response with the Court and mail a copy to the Plaintiff's attorney (or the
          Plaintiff, if unrepresented). You can do this by:
                  a) Filing your signed original response with the Clerk's Office for Civil Business, Suffolk County SuperiorCourt
          us'flass Litigetion Session 2,, Ram 10171
               Lorton       Boston, KAI ona3                       (address), by mail, in person, or electronically through
                     the web portal www.eFileMA.com if the CoMplaint was e-filed through that portal, AND


                    b) Delivering or mailing a copy of your response to the Plaintiff's attorney/Plaintiff at the following address:
                   Carlin J. Phillips, Esq. , Phillips & Garcia, P.C.
                   13 Ventura Drive, Dartmouth, MA 02747
          3. What to Include in Your Response.
          An "Answer" is one type of response to a Complaint. Your Answer must state whether you agree or disagree with the fact(s)
          alleged in each paragraph of the Complaint. Some defenses, called affirmative defenses, must be stated in your Answer or
          you may lose your right to use them in Court. If you have any claims against the Plaintiff (referred to as "counterclaims") that
          are based on the same facts or transaction described in the Complaint, then you must include those claims in your Answer,
          Otherwise, you may lose your right to sue the Plaintiff about anything related to this lawsuit. If you want to have your case
          heard by a jury, you must specifically request a jury trial in your Court no more than 10 days after sending your Answer.
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          3. (cont.) Another way to respond to a Complaint is by filing a "Motion to Dismiss," if you believe that the Complaint is
          legally invalid or legally insufficient. A Motion to Dismiss must be based on one of the legal deficiencies or reasons listed
          under Rule 12 of the Massachusetts Rules of Civil Procedure. If you are filing a Motion to Dismiss, you must follow
          the filing rules for "Civil Motions in Superior Court," available at:
                                           wwwnass.govflaw-tibrary/massachUse -superior-court-rules

          4. Legal Assistance,
          You may wish to get legal help from a lawyer. If you cannot get legal help, some basic information for people who represent
          themselves is available at www.mass.govicourts/selfhejk

          5. Required Information on All Filings.
          The "Civil Docket No." appearing at the top of this notice is the case number assigned to this case and must appear on the
          front of your Answer or Motion to Dismiss. You should refer to yourself as the "Defendant."

                    Witness Hon. Michael D. Ricciuti             , Chief Justice on                              ,. 2©      . (Seal)

         Acting Clerk


            Note: The docket number assigned to the original Complaint by the Clerk should be stated on thiS Summons before it is
                  served on the Defendant(s).



                                                         PROOF OF SERVICE OF PROCESS


         I hereby certify that on                       , I served a copy of this Summons, together with a copy of the Complaint
         in this action, on the Defendant named in this Summons, in the following manner (See Rule 4(d)(1-5) of the Massachusetts
         Rules of Civil Procedure):




                         Dated:                                                       Signature:




         N.B. TO PROCESS SERVER:

         PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX - BOTH ON THE ORIGINAL
         SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.



                                                                                                   Date:


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     Case:                         Court:                                    County:                                  Job:
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     Plaintiff / Petitioner:                                                 Defendant / Respondent:
     Angela Gonneville                                                       Lens.com, Inc.
     Received by:                                                            For:
     One Legal, an InfoTrack Company                                         Phillips Garcia Law
     To be served upon:
     Lens.com, Inc.

    Recipient Name:        Karen Scott
    Recipient Address:     Business: 4730 S Fort Apache Rd Suite 300, Las Vegas, NV 89147
    Manner of Service:     Business Serve, Mar 28, 2024, 8:59 am PDT
    Documents:             Summons, Class Action Complaint, Civil Action Cover Sheet, Notice of Acceptance into Business Litigation Session
                           (BLS2), Demand Pursuant to Massachusetts General Law Chapter 93A Section 9

    Diligence / Comments:
    1) Successful Attempt: Mar 28, 2024, 8:59 am PDT at Business: 4730 5 Fort Apache Rd Suite 300, Las Vegas, NV 89147 received by Karen Scott.
    Age: 55-60; Ethnicity: African American; Gender: Female; Weight: 150; Height: 5'4"; Hair: Black; Eyes: Black; Other: Served registered agent
    authorized except Documents, Karen Scott;

    Statement(s):
    I declare under penalty of perjury under the law of the State of Nevada that the foregoing is true and correct.




                                                 03/29/2024
    Reggie Mitchell                              Date
    Registration: R-2019-12597

    InfoTrack US, Inc. - P000634
    1400 N McDowell Blvd, Suite 300
    Petaluma, CA 94954
    800-938-8815
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     2484CV00531 Angela Gonneville, individually and on behalf of all others
     similarly situated vs. Lens.com

     • Case Type:
     • Business Litigation
     • Case Status:
     • Open
       File Date
       02/23/2024
       DCM Track:
       B - Special Track (BLS)
     • Initiating Action:
     • Complex Unfair Trade Practices
     • Status Date:
     • 02/23/2024
     • Case Judge:

     • Next Event:
     • 08/28/2024



      All Information   Party     Event   Docket     Disposition


        Party Information
        Angela Gonneville, individually and on behalf of all others similarly situated
        - Plaintiff

        Alias                                                          Party Attorney
                                                                   • Attorney
                                                                   • . Garcia, Esq., Andrew J
                                                                   • Bar Code
                                                                   • .559084
                                                                   • Address
                                                                   • Phillips and Garcia, PC
                                                                       13 Ventura Drive
                                                                       North Dartmouth, MA 02747
                                                                   •' Phone Number
                                                                   • !(508)998-0800
                                                                   • Attorney
                                                                   • Phillips, Esq., Carlin John
                                                                   • Bar Code
                                                                   • 561916
                                                                   • Address
                                                                   • Phillips and Garcia, PC
                                                                      13 Ventura Drive
                                                                      Dartmouth, MA 02747
                                                                   • Phone Number
                                                                   • (508)998-0800
                                                                                                        More Party Information

        Lens.com
        - Defendant
        Alias                                                       Party Attorney
                                                                                                        More Party Information




        Events
       Date                     Session            Location                 Type                   Event Judge         Result
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        Date                 Session               Location                  Type                                  Event Judge            Result
        08/28/2024 02:00     Business              BOS-10th FL, CR 1017      BLS Rule 16 Litigation Control        Squires-Lee, Hon.
        PM                   Litigation 2          (SC)                      Conference                            Debra A




        Docket Information
        Docket        Docket Text                                                                                        File Ref   Image Avail,
        Date                                                                                                             Nbr.

        02/23/2024    Complaint electronically filed.                                                                    1

        02/23/2024    Civil action cover sheet filed.                                                                    2

                                                                                                                                        Image
        02/23/2024    Attorney appearance
                      On this date Carlin John Phillips, Esq„added for Plaintiff Angela Gonneville, individually and
                      on behalf of all others similarly situated
        02/23/2024    Attorney appearance
                      On this date Andrew J Garcia, Esq. added for Plaintiff Angela Gonneville, individually and on
                      behalf of all others similarly situated
        02/26/2024    Docket Note: (1) summons sent by mail.

                      Applies To: Garcia, Esq., Andrew J (Attorney) on behalf of Angela Gonneville, individually and
                      on behalf of all others similarly situated (Plaintiff)
        02/26/2024    General correspondence regarding Notice of Acceptance into Business Litigation Session             3
                      Accepted into BLS2
                      (Dated 2/26/2024) Notice sent 2/26/2024                                                                           Image

        03/13/2024    The following form was generated:

                      Notice to Appear - BLS
                      Sent On: 03/13/2024 11:45:29
        04/02/2024    Service Returned for                                                                               4
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                      Applies To: Lens.com (Defendant)
        04/04/2024    Plaintiff Angela Gonneville, individually and on behalf of all others similarly situated's Assented 5
                      to Motion for                                                                                                      0
                      Extension Of Time To Respond To The Complaint                                                                     Image

        04/09/2024    Endorsement on Motion for extension of time to respond to the complaint (#5.0): ALLOWED
                      Allowed to May 17, 2024.                                                                                          0
                                                                                                                                        Image
                      (dated 4/8/2024)
                      Notice sent 4/9/24
        04/23/2024    The following form was generated:

                      Notice to Appear - BLS
                      Sent On: 04/23/2024 14:44:28




        Case Disposition
        Disposition                                             Date                       Case Judge

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                                   COMMONWEALTH OF MASSACHUSETTS

           SUFFOLK, SS                                        SUPERIOR COURT DEPARTMENT
                                                              BUSINESS LITIGATION SESSION



          ANGELA GONNEVILLE, individually                            CIVIL ACTION NO.
          and on behalf of all others similarly
          situated
                                                                    kg
                 Plaintiff

           v.

           LENS.COM, INC.

                 Defendant


                                         CLASS ACTION COMPLAINT

                 Plaintiff, Angela Gonneville, individually and on behalf of all others similarly situated,

          brings this Class Action Complaint for damages for unfair and deceptive sales practices committed

          by Defendant, Lens.com, Inc.

                                                INTRODUCTION

                 1.      This is a consumer class action case involving an undisclosed junk fee that

          Lens.com charges as part of online contact lens orders. More particularly, Lens.com adds an

          undisclosed and non-itemized "processing charge" to contact lens orders after customers have

          already filled out the details of their contact lens orders. Lens.com has received numerous

          complaints regarding this undisclosed charge.

                 2.      Plaintiff seeks to represent a class of consumers in Massachusetts who have paid

          an undisclosed processing or handling charge on their contact lens order. Given the amount of the




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           fees at issue and given the number of potential consumers impacted, a class action is the most

          judicially efficient manner of adjudicating this dispute.

                                      PARTIES, JURISDICTION AND VENUE

                  3.      Plaintiff, Angela Gonneville ("Plaintiff' or "Ms. Gonneville"), is an individual who

          resides in Massachusetts.

                  4.      Defendant, Lens.com, Inc. ("Lens.com" or "Defendant"), is a Nevada corporation

          with its principal place of business in the State of Missouri.

                  5.      The Court has original jurisdiction over the civil claims alleged in Plaintiff's

          Complaint pursuant to M.G.L. ch. 212 § 4.

                  6.      This Court has personal jurisdiction over Lens.com pursuant to M.G.L. ch. 223 § 3

          because Lens.com conducts significant business in Massachusetts, namely through the marketing,

          advertising, selling and delivery of contacts lens products in Massachusetts to consumers such as

          Plaintiff.

                  7.     Likewise, venue is proper here as the defendant markets, advertises, sells and

          delivers contacts lens products to Massachusetts consumers in this county.

                                            FACTUAL BACKGROUND

                  The Business of Lens.com

                  8.     Lens.com is an online seller of contact lenses and claims that it provides consumers

          "the best way to buy contact lenses - better than your eye doctor, better than big box, better than

          other websites." Lens.com further claims that it offers the lowest prices of any contact lens seller

          online or in-store and that most orders ship within 24 hours.

                  9.     Lens.com markets its contact lenses as having "Year Round Unbeatable Prices."

          On its website it states that it has delivered over 691 million contact lenses. It further touts that,



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           "With over 35 Million contact lenses in stock, we immediately fill your order with your exact

           prescription."

                  10.       In a FAQ (frequently asked question) on its website entitled, "How much does

           shipping cost?", Lens.com states: "At Lens.com we don't bury the cost of shipping in every box

           we sell. We are completely transparent and let you decide what's best for you. We offer you

           reliable shipping at extremely competitive prices/rates. You will be able to select the best method

           for your personal needs at checkout." It then includes a chart of shipping costs within the United

           States, Canada and Internationally. Nowhere under its description of shipping costs is there

           mention of a "processing" or "handling" fee of any kind. A search of the words "Processing Fee"

           on Lens.com's website yields no information.

                  The Proliferation of Junk Fees in Online Consumer Transactions

                  11.       Retailers, like Lens.com, are increasingly charging consumers "junk fees" in online

           transactions to increase profits. "Junk Fees" are defined by the Federal Trade Commission as

           "unnecessary, unavoidable, or surprise charges that inflate costs while adding little to no value."

           The FTC notes that "[c]onsumers can get hit with junk fees at any stage of the purchase or payment

           process. Companies often harvest junk fees by imposing them on captive consumers or by

           deploying digital dark patterns and other tricks to hide or mask them." https://www.ftc.govinews-

           events/news/press-releases/2022/10/federal-trade-commission-exp lores-rul e-cracking-down-

           junk-fees.

                  12.       Common junk fees are convenience fees, processing fees, resort fees, service fees

           and overdraft fees. The White House recently issued a junk fee guide for the states noting how

          junk fees have overrun the American economy and are "often not disclosed upfront and only

           revealed after a consumer has decided to buy something, obscure true prices and dilute the forces



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           of    market     competition      that    are    the    bedrock      of     the   U.S.   economy."

           https://-w ww.whiteho u se.goviwp-co ntent/upl oa ds/2023/03/WH-Junk-F ees-Gu ide-for-Sfates pdf

                  Lens.com's Sales Practices and Junk Fees

                   13.    Lens.com's marketing materials state that "we don't bury the cost of shipping in

           every box we sell. We are completely transparent and let you decide what's best for you. We

           offer you reliable shipping at extremely competitive prices/rates. You will be able to select the

           best method for your personal needs at checkout."

                  14.     Despite these claims, Lens.com packs a junk fee into its transactions which it

           describes after the point of purchase as a "processing fee." This processing fee is separate from

           its shipping fee, which in the Plaintiff's case was either free or $7.95.

                  15.     Lens.com fails to disclose or itemize its processing fee during online transactions

           and inflates the total transaction price by the amount of the hidden processing fee at the end of the

           transaction when a consumer's credit card is being processed. These hidden fees add to the total

           product price but are not disclosed at any point in the cycle of the transaction, in marketing

           materials, frequently asked questions on Lens.com's website or in product pricing disclosures.

                  16.     In some transactions, Lens.com never discloses the existence or amount of its

           processing fee. In other transactions the hidden fees are only disclosed on a packing slip provided

           to the consumer when the product is delivered. In those circumstances, the hidden fees are listed

           as "PROCESSING" or as "Shipping & Handling" fees.

                  17.     The amount of the processing fee charged by Lens.com varies greatly and from

          transaction to transaction. The Plaintiff's processing fees were $55.97, $22.57 and $5.21.

                  18.     Numerous online complaints made by Lens.com customers describe processing

           fees that are over $100. The below listed consumer complaints made to Complaints Board, an



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           online consumer complaint center, describe Lens.com's surprise processing fee. Each consumer

           referenced below contacted the Defendant's customer service line to complain about the

           processing fee and, accordingly, these complaints constitute notice and knowledge to the

           Defendant of the unfair and deceptive nature of their processing and other fees. The online

           complaints state in relevant part:

                      Processing Fees
                      Contact lenses were ordered for my child over the phone in February of
                      2021. The bill received did not break out the $103 processing fee for an
                      order of $107 in contacts. The processing fee did not include shipping fees.
                      This was discovered when trying to tally the order for reimbursement by the
                      child's father months later and the lens cost did not add up to the total. When
                      contacting the company the only adjustment offered was a $7.95 shipping
                      credit. The price of contacts was severely misrepresented due to the
                      arbitrary and, per customer service, ever changing "processing fees".
                      (Chobbs 1411 of US; August 27, 2021)

                      Lens.com review: Astronomical processing fee for contact lens order.
                      Customer since 2014... Last order placed 12/26/2020 and was charged
                      processing fee of $110.38... I immediately contacted the company and was
                      simply told "that was their processing fee"... I escalated the issue as I have
                      never paid more than $35.96 for a processing fee (last order was 8/2020 and
                      fee was $29.54)... Continued to reach out via email and was finally told on
                      Jan 3rd that my complaint was escalated to leadership... I reached out again
                      on Jan 11, 12 and now this morning and have never been contacted back...
                      I am now in the process of disputing charge with the credit card company...
                      I have included the processing fees paid so you can see for yourself the
                      ridiculous amount charged this last order:

                              4-2014 $18.16
                              3-2015 $26.47
                              8-2015 $26.11
                              9-2016 $35.96
                              9-2017 $25.51
                              9-2018 $25.99
                              12-2019 $27.51
                              8-2020 $29.54
                              12-2020 $110.38

                      I understand I owe for the contacts but I refuse to pay that amount for
                      processing! (juhnklo of US; January 15, 2021)



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                    Extraordinarily high processing fee.
                    On July 7, 2023, I submitted an order and paid $220 for 4 boxes of contacts.
                    A bargain so I thought, because I would also get a $75 rebate. Again, so I
                    thought. Imagine my surprise when I see I was charged $330 for my order
                    due to a huge $120 processing fee. Apparently the 'submit order' button
                    appears before the processing fee (which requires you to scroll down past
                    the submit order so you don't see the additional fee.) It doesn't appear on the
                    consumers invoice on their site, but somehow when you questions it, the
                    Customer service people are able to produce an invoice showing the fee.
                    They claim it is automatically added 'by the system' and they cannot refund
                    any portion of it. The processing fee was more than 50% of my total
                    purchase and in reading the complaints about them, they take so long to
                    issue the $75 rebate that the expiration date is so close or past, rendering it
                    useless as it is a visa gift card. These complaints date back to 2014 and
                    nothing has changed. Below is the invoice AFTER the order was submitted.
                    (K. Lennon, Rochdale, MA; July 18, 2023)

                    Lens.com added 85% to my order in "tax & fees"
                    (5_624 intended to purchase 4 boxes of contact lenses at $31.74 per box. They
                    advertised $9.24 per box if I ordered 8 boxes, which would have been
                    $73.92, instead of $253. 92. When I clicked "checkout" the total
                    was$485.79! They added $213.92 in "tax & fees", which is an additional
                    85%.

                    I clicked the "chat 24/7" line and the rep did everything possible to avoid
                    explaining what "fees" were, since tax would be no more than $22 in any
                    state. I had to ask SIX TIMES, but he finally was forced to admit that "fees"
                    were: "This includes calling your doctor on your behalf, doctor's fees since
                    we need to verify your prescription, and handling and processing your order.
                    If the customer has a valid prescription, there is no need to call the doctor.
                    Tax would have been $20 so the "rebate" which was applied to the order,
                    tax and their undisclosed "fees" added 85% to the cost of the order. I told
                    them that was fraud and they lost my business. (Gail Reznik of US; March
                    26, 2023)

                    Hidden taxes and fees
                    When I went to re-order my contacts at Lens.com I noticed advertised
                    pricing and total cost didn't add up. I went to order my 8 boxes so I would
                    get the $160 RB. Listed at $42.79 per box before RB (22.79 after RB) times
                    the required 8 boxes = 342.32 ($182.32 after RB)plus $9.95 Shipping. This
                    should make for a grand total of $352.27( before RB). At check out total
                    came up as $566.19! Call Lens.com, spoke with a rep. I was told to go back
                    to the shipping page, there they show a "Taxes & fees" of 213.92! Contacts
                    are NOT taxable! They are a rip off company with miss leading and Illegal
                    sales tactics. I've used them several times in the past and had not been
                    charged these taxes & fees, I will no longer purchase from them and will
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                        tell others of my bad experience. (Sharon McD of Levittown, US; March 1,
                        2023.

                        Lens.com review: Deceptive fees and rebate hurdles
                        Customer since 2014, but noticed a huge disparity in cost when initiating
                        my most recent order. Without a rebate, they show $72.24 per 90-lens box
                        of 1-day lenses. Buy 8 boxes and the price (after rebate) is shown as $35.99
                        and rebate as $290. Great. The next screen in the checkout asks you to
                        confirm where you want the boxes sent with a 'continue' button below it.
                        When you accidentally scroll below that, you see a blowout of the order,
                        with a whopping $241.92 in taxes and fees that "are compensation for
                        servicing your order". That's the only place they show the added taxes/fees.
                        If you click 'continue' and approve where to send the boxes, you miss that,
                        because the final checkout screen never shows that added charge in its
                        summary of your order. ... This is deceptive. (eyecu of Seattle, US; January
                        12, 2023)

                        Ridiculous fee added without my knowledge
                        I just learned that they added a $50 fee for for processing on an $80 order.
                        And the customer rep could not explain what the processing fee was for.
                        What a ripoff! (thomassu of Centerville, US; December 5, 2022)

                  19.      These consumer complaints describe in detail the repeated notice that Lens.com has

           received from consumers about its hidden processing fees and demonstrate its continued use of

           unfair and deceptive acts and practices to create revenue from junk fees.

                  Plaintiff's Transactions

                  20.      Plaintiffs transactions with Lens.com highlight the deceptive nature of Lens.com's

           business practices. In August 2019, Plaintiff ordered three boxes of contact lenses for a total price

           of $77.29 with free shipping. The subtotal that was charged to Plaintiff, however, was $82.50,

          which included a $5.21 undisclosed processing charge. The "processing fee" was only disclosed

           on the packing form delivered with the contact lenses.

                  21.      Likewise, in May 2020, Plaintiff ordered three boxes of contact lenses for a total

          price of $141.48 with free shipping. The subtotal that was charged to Plaintiff, however, was




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           $164.05, which thus included a $22.57 undisclosed processing charge. The packing form received

           when the contact lenses were delivered indicated a charge of $30.52 for "shipping & Handling."

                  22.     Similarly, in April 2021, Plaintiff ordered three boxes of contact lenses with a total

           price of $55.97 and free shipping. However, the subtotal charged to Plaintiff was $111.97 and

           thus included an undisclosed processing charge of $55.97. The one-page packing form received

           when the contact lenses were delivered did not itemize the transaction charges or disclose the

           amount of the processing fee.

                  23.     Plaintiff ultimately complained to Lens.com about the processing charges and was

           told that the processing fee used to be disclosed on the website but had been removed, there had

           been recent changes to the website but the fee was still not disclosed, the failure to disclose the

           processing fee has been reported to IT by several other agents and that Lens.com was trying to get

           that back up on the website.

                                             CLASS ACTION ALLEGATIONS

                  24.     Pursuant to Massachusetts Rule of Civil Procedure 23, Plaintiff brings this class

           action individually and on behalf of the following proposed class of persons, initially defined as:

           All consumers who purchased contact lenses in Massachusetts and were charged a processing or

           handling fee with their contact lens order in the six years preceding the filing of this Complaint.

          (hereinafter the "Class").

           The Class does not include Defendant; any affiliate, parent or subsidiary of Defendant; any entity

          in which Defendant has a controlling interest; any officer, director or employee of Defendant; any

          successor or assign of Defendant; Plaintiff's counsel or anyone employed by Plaintiffs counsel in

          this action and their immediate families; any judge to whom this case is assigned and any member




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           of his/her immediate family and staff; governmental entities; or individuals who have personal

           injury claims as a result of conduct and/or defects alleged herein.

                  25.       Plaintiff reserves the right to amend or supplement the Class descriptions with

          greater specificity or further division into subclasses or limitation to certain issues, after

          conducting discovery in this matter. Plaintiff also reserves the right to amend or supplement the

          proposed Class after conducting discovery in this matter.

                                       Rule 23 Class Certification Requirements

                  26.       Numerosity of the Class — The members of the Class are so numerous that their

          individual joinder is impracticable. Plaintiffs are informed and believe that Lens.com processed

          tens or hundreds of thousands of contact lens orders and included an undisclosed processing fee

          with those orders. Adjudication of the claims in a class action context will provide substantial

          benefits to the parties and the Court.

                  27.       Commonality and Predominance — Common questions of law and fact exist as to

          all members of the Class and predominate over questions affecting only individual Class members,

          as is required by Mass. R. Civ. P. 23(a)(2) and (b)(3). These common questions include, but are

          not limited to:

                            a) whether Lens.com engaged in the conduct alleged herein;

                            b) whether Defendant failed to adequately disclose a processing and/or handling
                               fee prior to the completion of an online order for contact lenses;

                            c) whether Defendant's undisclosed processing and/or handling fee inflated the
                               product price;

                            d) whether Defendant's processing and/or handling fees exceeded actual costs
                               and constituted a hidden profit for Defendant;

                            e) whether Plaintiff and Class Members suffered out-of-pocket losses as a result
                               of Defendant's actions and/or inactions alleged herein, and if so, how much;



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                          f) whether Plaintiff and Class Members will suffer out-of-pocket losses as a result
                             of Defendant's alleged actions and/or inactions alleged herein, and if so, how
                             much.

                  28.     Typicality — The claims of the representative Plaintiff are typical of the claims of

           each member of the Class, thus satisfying Mass. R. Civ. P. 23(a)(3). Plaintiff, like all other

           members of the Class, have sustained damages arising from Lens.com's violations of the laws, as

           alleged herein. The representative Plaintiff and the members of the Class were and are similarly or

           identically harmed by the same unlawful, deceptive, unfair, systematic, and pervasive pattern of

           misconduct engaged in by Lens.com. Plaintiffs claims arise from the same practices and course

           of conduct that give rise to the claims of all other members of the Class.

                  29.     Adequacy — The representative Plaintiff will fairly and adequately represent and

          protect the interests of the Class Members and have retained counsel who are experienced and

           competent trial lawyers in complex litigation and class action litigation, thus satisfying Mass. R.

           Civ. P. 23(a)(4). There are no material conflicts between the claims of the representative Plaintiff

          and the members of the Class that would make class certification inappropriate. Counsel for the

          Class will vigorously assert the claims of all Class members.

                  30.     Declaratory or Injunctive Relief — Lens.com has acted and refused to act on

          grounds generally applicable to Plaintiff and Members of the Class, thereby making final

          injunctive relief or corresponding declaratory relief appropriate regarding the Class as a whole.

          Mass. R. Civ. P. 23(b)(2).

                  31.     Superiority — This suit may be maintained as a class action under Mass. R. Civ. P.

          23(b)(3), because a class action is superior to any other available means for the fair and efficient

          adjudication of this dispute and no unusual difficulties are likely to be encountered in its

          management of this class action. The damages suffered by individual class members are small in

          comparison to the burden and expense of individually litigating each claim and based on the
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           complex and extensive litigation needed to address Spirit's conduct. Further, it would be virtually

           impossible for the Class Members to individually redress effectively the wrongs done to them.

           Even if Class Members themselves could afford such individual litigation, the court system could

           not. In addition, individualized litigation increases the delay and expense to all parties and to the

           court system resulting from complex legal and factual issues of the case. Individualized litigation

          also presents a potential for inconsistent or contradictory judgments. By contrast, the class action

           device presents far fewer management difficulties; allows the hearing of claims which might

           otherwise go unaddressed because of the relative expense of bringing individual lawsuits; and

          provides the benefits of single adjudication, economies of scale, and comprehensive supervision

          by a single court.

                  32.     Ascertainability: Upon information and belief, the precise number of Class

          Members may be ascertained from Lens.com's records. Plaintiff contemplates the eventual

          issuance of notice to the proposed Class members setting forth the nature of the instant action.

          Upon information and belief, Class members may be notified of this action by recognized, Court

          approved notice dissemination methods, which may include U.S. mail, electronic mail, Internet

          postings, social media, and published notices, in addition to Lens.com's own business records.


                                                  COUNT I
                                             BREACH OF CONTRACT

                  33.     Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained

          in paragraphs 1 through 23 as though fully stated herein.

                  34.     Plaintiff's and other Class members' purchase of contact lenses constituted a

          contract between them and Lens.com, namely through the terms and conditions on the Lens.com




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           site. The terms and conditions do not mention a processing charge for online orders of contact

           lenses.

                     35.     Plaintiff and the Class Members performed all requirements under their agreements

           with Lens.com, namely the payment of the amount charged by Lens.com for the order.

                     36.     Lens.com breached its agreement with Plaintiff and the Class Members when it

           charged a hidden processing fee in connection with the contact lens orders.

                     37.     Plaintiff and members of the Class have suffered an injury through the payment of

           the processing fee.

                     38.     Plaintiff and Class members are therefore entitled to all incidental, consequential,

           and indirect damages resulting from Lens.com's breach of contract. Lens.com's breach caused

           damages to Plaintiff and the Class Members.

                     39.     Plaintiff and the Class Members seek to recover all permitted damages and their

           attorneys' fees caused by Defendant's breach.

                                               COUNT II
                           BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

                     40.     Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained

           in paragraphs 1 through 23 as though fully stated herein.

                     41.     The Defendant had an obligation to exercise of duty of good faith and fair dealing

           when transacting business with Plaintiff and the Class.

                     42.     The Plaintiff and the Class made purchases at Lens.com's online website.

           Lens.com advertised, disclosed and charged a specific price for each contact lens purchase. It

           claimed that it had the lowest contact lens prices.




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                        43.     However, the Defendant, as matter a pattern and practice, assessed hidden junk fees

                to consumer's transaction which it labeled as processing and/or handling fees. These fees were

                not described on the Defendant's website or as part of the sale.

                        44.     In addition, these junk fees varied from transaction to transaction.

                        45.     The junk fees were charged to Plaintiffs credit and debit cards, thereby driving up

                the actual costs of their contact lens purchases.

                        46.     Lens.com used these hidden fees, which do not purport to approximate actual

                expenses incurred, as a hidden profit center. Not including these hidden fees in the product price

                allowed Lens.corn to falsely claim that it had the lowest prices.

                        47.     Lens.com's pattern and practice of charging its consumers hidden junk fees in its

                transactions constituted a breach of the duty of good faith and fair dealing it owed to consumers

                as part of the transactions.

                        48.     As a direct and proximate result of the Defendant's acts and/or omissions, the

                Plaintiff and the Class suffered damages.

                                                         COUNT III
                                                    UNJUST ENRICHMENT

                        49.     Plaintiff repeats, re-alleges, and incorporates by reference the allegations contained

                in paragraphs 1 through 23 as though fully stated herein.

                        50.     Plaintiff and the Class Members conferred substantial benefits on Lens.com by

                purchasing contact lenses and by paying processing charges to Lens.com.

                        51.     Lens.com knowingly and willingly accepted and enjoyed those benefits.

                Lens.com's retention of these benefits is inequitable and would be against good conscience

                        52.     As a direct and proximate cause of Lens.com's unjust enrichment, Plaintiff and the

                Class Members are entitled to restitution, attorneys' fees, costs and interest.


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                                               PRAYER FOR RELIEF

                 WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, pray

          for a judgment against Defendant as follows:

                 a. For an order certifying the Class, appointing Plaintiff as Representative of the Class,

          and appointing the law firm representing Plaintiff as counsel for the Class;

                 b. For compensatory damages and/or restitution or refund of all funds acquired by

          Lens.com from Plaintiff and the Class Members as a result of the Company's unlawful, unfair,

          deceptive and unconscionable practices described herein in an amount to be proven at trial;

                 c. For compensatory damages caused by Lens.com's breach of contract with Plaintiff and

          the Class Members to the extent permitted by law in an amount to be proven at trial;

                 d. Both pre-and post judgment interest on any amounts awarded;

                 e. Payment of reasonable attorneys' fees and costs as allowed by law;

                 f Such other and further relief as the Court may deem just and proper.

                                                   JURY DEMAND

                 The Plaintiff requests a trial by jury on all claims.


                                                                On behalf of the Plaintiff and the
                                                                Putative Class,

                                                                /s/ Carlin J. Phillips

                                                                Carlin Phillips, BBO# 561916
                                                                Andrew J. Garcia, BBO# 559084
                                                                PHILLIPS & GARCIA, P.C.
                                                                13 Ventura Drive
                                                                North Dartmouth, MA 02747
                                                                (508) 998-0800
                                                                (508) 998-0919 (fax)
                                                                cphillips@phillipsgarcia.com




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   CIVIL ACTION COVER                         DOC,KbT NO(S)   B.L.S.                    Trial Court Of Massachusetts Superior Court Department County:
   SHEET                                                                                SUFFOLK
   PLAINTIFFP                                                                           DEFENDANT(S)-
  Angela Gonneville, indiv. and on behalif of all others Lens.com, Inc.
  similarly situated,

   ATTORNEY, FIRM NAME, ADDRESS AND TELEPtIONE Board of Bar Overseers number            ATtORNEY (if known)
  Carlin J. Phillips, BBO 561916, PHILLIPS &
  GARCIA, P.C.,13 Ventura Drive, Dartmouth, MA
  02747; 508-998-O800; cphillips@phillipsgarcia.com
   Origin Code Original Complaint
  BK1

   TYPE OF ACTION AND TRACK DESIGNATION (See reverse side) CODE NO. TYPE OF ACTION (specify) TRACK IS THIS A JURY CASE?
                        (B)0 Yes Do
                                                                                                                  kg
  BKI Consumer Class Action
  The following is a full and detailed statement of the facts on which plaintiff relies to determine eligibility in to The Business Litigation Session.

    This is _a consumerclass action case involving undisclosed junk fees that Lens.com, an online
  company that sells contact lenses at what it claims are the lowest prices, charges as part of online
  contact lens orders. More particularly, Lens.com adds an undisclosed and non-itemized processing fee
  to online transactions which, in the plaintiffs case, varied from $55.97 to $22.57 to $5.21. Despite
  numerous complaints from the Plaintiff and other consumers about undisclosed fees, Lens.com
  continued to charge consumers these fees in online transactions. Per the FTC, junk fees inflate costs to
  consumers while adding little to no value and are often imposed on captive consumers by using tricks to
  hide or mask the fees, thereby inflating the purchase price and frustrating a consumer's ability to
  comparison shop based on price. The nature, complexity, uniformity and scope of the issue surrounding
  the defendant's alleged use of undisclosed fees in its online transaction process warrants acceptance in
  this court.




  * A Special Tracking Order shall 'be created by the Presiding Justice of the Business Litigation Session at the Rule 16 Conference:


  PLEASE IDENTIFY, BY CASE NUMBER, NAME AND COUNTY, ANY RELATED ACTION PEN r, I rG IN THE SUPERIOR COURT I EPARTMENT.

  "I hereby certify that I have complied with the requirements of Rule 5 of the Ireme did                rt nifor Rules or >tispute Resolution (ST:: Rule 1:18)
  requiring that I provide my clients with information about court-connected d      re 1              1` i 2      .scus' vith them the advantages and
  disadvantans                    e hods." Signature of Attorney of Record_
  DATE .. _..„a:
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                                                Commonwealth of Massachusetts
                                                       County of Suffolk
                                         The Superior Court — Business Litigation Session

                                                                                CIVIL D0CKET#: 2484CV00531-BLS2



                   Case:    Gonne        Lens.com, Inc.



                             NOTICE OF ACCEPTANCE INTO BUSINESS LITIGATION SESSION

                         This matter has been accepted into the Suffolk Business Litigation Session. It has been
                  assigned to BLS2.

                         Hereafter. as shown abo\-e., all p              include the initials "B.   2- at the end cif the
                  docket number on all filings.

                           Counsel for the plaintiff(s) is hereby advised that within sever (7 days of the tiling of an
                  appearance, answer, motion or other response to the complaint by or on behalf of the
                  delendant(s) which has been served with process within the time limitation of Mass. R. Civ. P.
                  4(j), or such other time as may be modified by the Court, he or she shall send notice thereof to
                  the appropriate BLS Session Clerk at Suffolk Superior Court, Three Pemberton Square_ Boston,
                  MA 02108.

                          Upon receipt of such notice, the Court will issue a Notice of Initial Rule 16 Conference
                  for purposes of meeting with all counsel. Before the Rule 16 Conference, counsel shall discuss
                  with their clients and with opposing counsel whether the parties will participate in the BLS
                  Project on Disccwery (counsel are directed to www.mass.govisuperior-court-business-litigation-
                  session for description of the Project). Counsel may indicate their respective client's
                  participation by completing, filing, and serving the attached form. If by the date of the initial
                  Rule 16 Conference. not all parties have given notice of their participation, counsel shall he
                  prepared to discuss at that conference whether their clients will participate in the Project.

                         The Court requests that plaintiffs counsel serve on opposing partres a com, of this notic
                  and the attached form.

                  Dated: Februa     _6, 2024

                                                                                          /s. Kenneth W. Salin2er
                                                                                                              .
                                                                                                   Kenneth It . Salinger
                                                                                        Justice of the Superior Court &
                                                              .Administrative            he Business Litigation Session
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                                                 Commonwealth of Massachusetts
                                                        County of Suffolk
                                          The Superior Court — Business Litigation Session


                                                                   CIVIL DOCK(TM


                   Case:



                           As you may know, the Business Litigation Session began implementing a Discovery
                   Project in January, 2010. this project is available on a voluntary basis for all new cases accepted
                   into the BLS and for cases which have not previously had an initial case management
                   conference. Counsel should be prepared to discuss the project with the Court at the initial case
                   management conference. For a detailed copy of the BLS Discovery Project. counsel are directed
                   to the Trial Court home page at: WIN1h .mass.gok Isuperior-court-business-1 ititzati on-sessi on)

                          If a party is willing to participate in the project, that party's counsel should so indicate
                   below and return this form to the appropriate session clerk.


                                 'heck Yes,                       is willing to participate in the I.)isctver Project.


                           Case Name

                           Docket Number CIVIL        )CKE•


                           Counsel F                                             Date

                           Firm Name and Address:




                   Please complete this form and return it to:

                           Assistant Clerk - BLSI          OR            AssistantClerk - BLS.;
                           BLS1, Room 1309                               BLS2, Room 1017
                           3 Pemberton Square                            3 Pemberton Square
                           Boston, MA 02108                              Boston, MA 02108

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      Case:                           Court:                                   County:                                Job:
      2484CV00531-BLS2                Suffolk Superior Civil Court             , MA                                   10757417 (22544865)
     Plaintiff / Petitioner:                                                   Defendant / Respondent:
     Angela Gonneville                                                         Lens.com, Inc.
     Received by:                                                              For:
     One Legal, an InfoTrack Company                                           Phillips Garcia Law
     To be served upon:
     Lens.com, Inc.

    Recipient Name:        Karen Scott
    Recipient Address:     Business: 4730 S Fort Apache Rd Suite 300, Las Vegas, NV 89147
    Manner of Service:     Business Serve, Mar 28, 2024, 8:59 am PDT
    Documents:            Summons, Class Action Complaint, Civil Action Cover Sheet, Notice of Acceptance into Business Litigation Session
                          (BLS2), Demand Pursuant to Massachusetts General Law Chapter 93A Section 9

    Diligence / Comments:
    1) Successful Attempt: Mar 28, 2024, 8:59 am PDT at Business: 4730 5 Fort Apache Rd Suite 300, Las Vegas, NV 89147 received by Karen Scott.
    Age: 55-60; Ethnicity: African American; Gender: Female; Weight: 150; Height: 5'4"; Hair: Black; Eyes: Black; Other: Served registered agent
    authorized except Documents, Karen Scott;

    Statement(s):
    I declare under penalty of perjury under the law of the State of Nevada that the foregoing is true and correct.




                                                    03/29/2024
    Reggie Mitchell                                 Date
    Registration: R-2019-12597

    InfoTrack US, Inc. - P000634
    1400 N McDowell Blvd, Suite 300
    Petaluma, CA 94954
    800-938-8815
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                                   COMMONWEALTH OF MASSACHUSETTS

          SUFFOLK, SS                                                  SUPERIOR COURT DEPARTMENT
                                                                       BUSINESS LITIGATION SESSION

                                                            )
          ANGELA GONNEVILLE, individually                   )          C.A. NO. 2484CV00531-BLS2
          and on behalf of all others similarly situated,   )
                                                            )
                  Plaintiff,                                )
                                                            )
          v.
                                                            )
          LENS.COM, INC.,

                   Defendant.
                                                            )

                               ASSENTED TO MOTION FOR EXTENSION OF TIME
                                     TO RESPOND TO TH.E COMPLAINT

                  Plaintiff Angela Gonneville ("Plaintiff' or "Gonneville"), pursuant to Massachusetts Rule

           of Civil Procedure 6(b), hereby files this Stipulated Motion for Extension of Time to Respond to

          the above-captioned Class Action Complaint and, in. support, states:

               1.. Plaintiff filed the Class Action Complaint on February 23, 2024.

                  Defendant was served with the Com.plaint on. March 28, 2024, making its response due

          on .April 17, 2024.

               3. The Parties have agreed to extend the deadline for Defendant to respond to the Complaint

           to May 1.7, 2024.

               4. This agreed request for an. extension. of time is made in good faith and not for purposes of

          delay. Given the early stage of this case, no party will be prejudiced. by the request.



                  WHEREFORE, the Parties respectfully request that the Court enter an Order extending

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          the deadline for Defendant to respond to Plaintiff's Complaint to May 17, 2024.


          DATED: April 3, 2024.


                                                      RESPECTFULLY SUBMITTED

                                                      On behalf of the Plaintiff,

                                                      /s/ Carlin J. Phillips
                                                      Carlin J.          BBO# 561916
                                                      Andrew J. Garcia, BBO# 559084
                                                      PHILLIPS & GARCIA, P.C.
                                                      13 Ventura Drive, Dartmouth, MA 02747
                                                      Tel. (508) 998-0800; Fax (508) 998-0919
                                                      ephillips(0,phillipsgarcia.com



                                                      On behalf of the Defendant,

                                                      /5/ led11. .Hansen
                                                      Jed II. Hansen.
                                                      Thorpe North & Western, LLP
                                                      175 South Main Street, Suite 900
                                                      Salt Lake City, Utah 84111
                                                      801-566-6633
                                                      hansen.@tnw.eorn
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                                           CERTIFICATE OF SERVICE
                        Plaintiff's counsel, Carlin J. Phillips, hereby certifies that a copy of this document was
                served via email on April 4, 2024, to al.l counsel of record;


                Jed H. Hansen
                Thorpe North & Western, LLP
                175 South Main. Street, Suite 900
                Salt Lake City, Utah 8411.1
                801-566-6633
                hansen4triw.corn.




                                                              7s./ Carlin .1 Phillips
                                                              Carlin J. Phillips, BBO# 5619:16
                                                              Andrew J. Garcia, :BBO# 559084
                                                              PHILLIPS & GAR.CIA, P.C.
                                                              13 Ventura Drive, Dartmouth, MA 02747
                                                              Tel.. (508) 998-0800; Fax (508) 998-0919
                                                              cphillipsgphillipsgarcia.com
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                                                                         BUSINESS LITI ATION SESSION


             ANGELA GONNEVILLE, individually                             C.A. NO. 2484CV00531-BLS2
             and on behalf of all others similarly situated,

                       Plaintiff,

             v.

             LENS.COM, INC.,

                        Defendant.


                                    ASSENTED TO MOTION FOR EXTENSION OF TIME
                                          TO RESPOND TO THE COMPLAINT

                       Plaintiff Angela Gonneville ("Plaintiff" or "Gonneville"), pursuant to Massachusetts Rule

              of Civil Procedure 6(b), hereby files this Stipulated Motion for Extension of Time to Respond to

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                   1. Plaintiff filed the Class Action Complaint on February 23, 2024.

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                   3. The Parties have ggreed to extend the deadline for Defendant to respond to the Complaint

              to May 17, 2024.

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              delay. Given the early stage of this case, no party will be prejudiced by the request.



                       WHEREFORE the Parties respectfully request that the Court enter n Order extendin

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                the deadline for Defendant to respond to Plaintiffs Complaint to May 17, 2024.


                DATED: April 3, 2024.


                                                           RESPECTFULLY SUBMITTED

                                                           On behalf of the Plaintiff;

                                                           Is/ Carlin J. Phillips
                                                           Carlin J. Phillips, BBO# 561916
                                                           Andrew J. Garcia, BBO# 559084
                                                           PHILLIPS & GARCIA, P.C.
                                                           13 Ventura Drive, Dartmouth, MA 02747
                                                           Tel. (508) 998-0800; Fax (508) 998-0919
                                                           cphillips@phillipsgarcia.corri



                                                           On behalf of the Defendant,

                                                           /s/ Jed H. Hansen
                                                           Jed H. Hansen
                                                           Thorpe North & Western, LLP
                                                           175 South Main Street, Suite 900
                                                           Salt Lake City, Utah 84111
                                                           801-566-6633
                                                           hansen@tnw.com
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                                         CERTIFICATE OF SERVICE
                      Plaintiff's counsel, Carlin J. Phillips, hereby certifies that a copy of this document was
              served via email on April' 4, 2024, to all counsel of record:


              Jed H. Hansen
              Thorpe North & Western; LLP
              175 South Main Street, ISluite 900
              Salt Lake City, Utah 84111
              801-566-6633
              hansen@tnw.com          ,




                                                            /s/ Carlin J. Phillips
                                                            Carlin J. Phillips, BBO# 561916
                                                            Andrew J. Garcia, BBO# 559084
                                                            PHILLIPS & GARCIA, P.C.
                                                            13 Ventura Drive, Dartmouth,* 02747
                                                            Tel. (508) 998-0800; Fax (508) 998-0919
                                                            cphillips@phillipsgarcia.com I




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   The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
   provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
   purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
       I. (a) PLAINTIFFS                                                                                         DEFENDANTS
                 Angela Gonneville                                                                                Lens.com, Inc.

         (b) County of Residence of First Listed Plaintiff           Bristol                                     County of Residence of First Listed Defendant
                                    (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                 NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

         (0     Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

                 Carlin Phillips, Phillips & Garcia PC, 13 Ventura Dr.,                                           Theodore J. Folkman, Rubin and Rudman LLP, 53 State
                 North Dartmouth, MA 02747, (508) 998-0800                                                        St., Boston, MA 02109, (617) 330-7135
  II. BASIS OF JURISDICTION (Place an "1" in One Box Only)                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Boxfor Plaintiff
                                                                                                              (For Diversity Cases Only)                                   and One Boxfor Defendant)
 El 1         U.S. Government              ❑ 3   Federal Question                                                                      PTF        DEF                                       PTF      DEF
                Plaintiff                          (U.S. Government Not a Party)                        Citizen of This State         Q 1         El 1    Incorporated or Principal Place    El 4 El 4
                                                                                                                                                            of Business In This State

 El 2         U.S. Government              E 4 Diversity                                                Citizen of Another State          El 2    El 2    Incorporated and Principal Place       ❑   5   111 5
                Defendant                          (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                        Citizen or Subject of a           03      LI 3    Foreign Nation                         ❑   6   ❑6
                                                                                                          Foreign Country
  IV. NATURE OF SUIT                        lace an "X" in One Box Onl                                                                      Click here for: Nature of Suit Code Descriptions.
                 CONTRACT                                         TORTS                                   FORF'ETTUREPENALTY                        BANKRUPTCY                     OTHER STATUTES
 IN 110 Insurance
 . 120 Marine
     130 Miller Act
                                       d    PERSONAL INJURY
                                            310 Airplane
                                            315 Airplane Product
                                                                          PERSONAL INJURY
                                                                       II 365 Personal Injury -
                                                                               Product Liability
                                                                                                        D625
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                                                                                                        of Property 21 USC 881
                                                                                                        j
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                                                                                                                                                     28 USC 157
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                                                                                                                                                                             376 Qui Tam (31 USC
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 III 140 Negotiable Instrument                   Liability             II 367 Health Care/                                                         INTELLECTUAL              400 State Reapportionment
 MI 150 Recovery of Overpayment ]           320 Assault, Libel &              Pharmaceutical                                                     PROPERTY RIGHTS             410 Antitrust
 —       & Enforcement of Judgment               Slander                      Personal Injury                                                    820 Copyrights            — 430 Banks and Banking
 — 151 Medicare Act                         330 Federal Employers'            Product Liability                                                  830 Patent                _ 450 Commerce
     152 Recovery of Defaulted
          Student Loans
         (Excludes Veterans)
                                       d         Liability
                                            340 Marine
                                            345 Marine Product
                                                                       . 368 Asbestos Personal
                                                                              Injury Product
                                                                              Liability
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                                                                                                                                                                                 Corrupt Organizations
 IN 153 Recovery of Overpayment                  Liability             _PERS
                                                                       _PERSONAL      PROPERTY               LABOR                               880 Defend Trade Secrets    7
                                                                                                                                                                             480 Consumer Credit
         of Veteran's Benefits         D    350 Motor Vehicle          _ 370 Other Fraud         1710 Fair Labor Standards                           Act of 2016                 (15 USC 1681 or 1692)
 • 160 Stockholders' Suits         1        355 Motor Vehicle          _ 371 Truth in Lending           Act                                                                  485 Telephone Consumer
 _ 190 Other Contract                           Product Liability      . 380 Other Personal        720 Labor/Management                           SOCIAL SECURITY                 Protection Act
 El
 _ 195 Contract Product Liability           360 Other Personal                Property Damage           Relations                                861 HIA (1395ff)          ] 490 Cable/Sat TV
     196 Franchise                              Injury                 . 385 Property Damage     ]740 Railway Labor Act                          862 Black Lung (923)        850 Securities/Commodities/
                                            362 Personal Injury -             Product Liability    751 Family and Medical                        863 DTWC/DIWW (405(g))           Exchange

         REAL PROPERTY
  _I 210 Land Condemnation             1
                                                Medical Malpractice
                                             CIVIL RIGHTS
                                            440 Other Civil Rights
                                                                        PRISONER PETITIONS
                                                                          Habeas Corpus:
                                                                                                        d
                                                                                                        Leave Act
                                                                                                   790 Other Labor Litigation
                                                                                                   791 Employee Retirement
                                                                                                                                                 864 SSID Title XVI
                                                                                                                                                 865 RSI (405(g))
                                                                                                                                                                             890 Other Statutory Actions
                                                                                                                                                                           E 891 Agricultural Acts
                                                                                                                                                                             893 Environmental Matters
 ._ 220 Foreclosure                    ]    441 Voting                    463 Alien Detainee           Income Security Act                       FEDERAL IALSIJ.M            895 Freedom of Information
                                                                          510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff       Act
  _ 230 Rent Lease & Ejectment         ]    442 Employment
  _ 240 Torts to Land                       443 Housing/                      Sentence                                                                or Defendant)        — 896 Arbitration
     245 Tort Product Liability                 Accommodations            530 General                                                            871 IRS—Third Party       _ 899 Administrative Procedure
 . 290 All Other Real Property         ]    445 Amer. w/Disabilities - ] 535 Death Penalty             IMMIGRATION                                    26 USC 7609                Act/Review or Appeal of
                                                Employment             _ Other:                    462 Naturalization Application                                                Agency Decision
                                            446 Amer. w/Disabilities - — 540 Mandamus & Other      465 Other Immigration                                                   ] 950 Constitutionality of
                                                Other                  _ 550 Civil Rights              Actions                                                                   State Statutes
                                            448 Education              _ 555 Prison Condition
                                                                          560 Civil Detainee -
                                                                              Conditions of
                                                                              Confinement
 V. ORIGIN (Place an "X" in One Box Only)
              Original                                                Remanded from                ❑ 4 Reinstated or      0       5 Transferred from     ❑   6 Multidistrict          0      8 Multidistrict
 Ell
              Proceeding
                             0 2 Removed   from
                                 State Court
                                                            0         Appellate Court                  Reopened                     Another District           Litigation -                    Litigation -
                                                                                                                                    (specify)                  Transfer                        Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             28 USC 1332
 VI. CAUSE OF ACTION Brief description of cause:
                                              Putative consumer class action for breach of contract and unjust enrichment
 VII. REQUESTED IN    El CHECK IF THIS IS A CLASS ACTION                                                    DEMAND $                                   CHECK YES only if demanded in complaint:
      COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                          restitution & damages                      JURY DEMAND:         EYes El No
 VIII. RELATED CASE(S)
                        (See instructions):
       IF ANY                               JUDGE                                                                                                DOCKET NUMBER
  DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
       4/25/2024                                                           Is! Theodore J. Folkman
  FOR OFFICE USE ONLY

        RECEIPT #                   AMOUNT                                     APPLYING IFP                                       JUDGE                          MAG. JUDGE
                        CaseCase
:Pckeraililsgie2Isfraki531  1:24-cv-11110-PBS
                                 1:24-cv-11110 Document 1-5
                                                        5 Filed 04/29/24
                                                            Filed 04/25/24Page
                                                                           Page140 of2141
                                                                                2 of
                   INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

 The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
 required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
 required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
 Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

         Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
         County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
         Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

         Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

 III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

 IV.     Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

 V.     Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statute.

 VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

 VII.   Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

 VIII. Related Cases. This section of the JS 44 is used to reference related cases, if any. If there are related cases, insert the docket
       numbers and the corresponding judge names for such cases.

 Date and Attorney Signature. Date and sign the civil cover sheet.
ipenor (Awl - SuttolK CaseCase
                           1:24-cv-11110-PBS                  Document 1-6
                                                                       5 Filed 04/29/24
icket Number 2484CV00531        1:24-cv-11110                              Filed 04/25/24Page
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                                                                                                1 of
                                                           UNITED STATES DISTRICT COURT
                                                            DISTRICT OF MASSACHUSETTS


         1. Title of case (name of first party on each side only) Gonneville v. Lens.com, Inc.



         2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local
            rule 40.1(a)(1)).

                      I.        160, 400, 410, 441, 535, 830*, 835*, 850, 880, 891, 893, R.23, REGARDLESS OF NATURE OF SUIT.

                      II.       110, 130, 190, 196, 370, 375, 376, 440, 442, 443, 445, 446, 448, 470, 751, 820*, 840*, 895, 896, 899.


                                120, 140, 150, 151, 152, 153, 195, 210, 220, 230, 240, 245, 290, 310, 315, 320, 330, 340, 345, 350, 355, 360, 362,
                                365, 367, 368, 371, 380, 385, 422, 423, 430, 450, 460, 462, 463, 465, 480, 485, 490, 510, 530, 540, 550, 555, 560,
                                625, 690, 710, 720, 740, 790, 791, 861-865, 870, 871, 890, 950.
                                *Also complete AO 120 or AO 121. for patent, trademark or copyright cases.


        3. Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
           district please indicate the title and number of the first filed case in this court.



        4. Has a prior action between the same parties and based on the same claim ever been filed in this cou ?

                                                                                            YES                 NO     V

        5. Does the complaint in this case question the constitutionality of an act of congress affecting the public interest?          (See 28 USC
           §2403)

                                                                                            YES                 NO
            If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

                                                                                           YES     1-1          NO    El
        6. Is this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §2284?

                                                                                           YES     I    I       NO


           Massachusetts ("governmental agencies"), residing in Massachusetts reside in the        2
        7. Do all of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
                                                                                                     e division? - ee Local Rule 40.1(d)).

                                                                                           YES                  NO

                     A.         If yes, in which divis" n do all of the non-governmental arties reside?

                                Eastern Division                        Central Division                        Western Division

                     B.         If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,
                                residing in Massachusetts reside?


                                Eastern Division                        Central Division   F7                   Western Division    El

        8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,
           submit a separate sheet identifying the motions)

                                                                                           YES     ri           NO


       (PLEASE TYPE OR PRINT)
       ATTORNEYS NAME Theodore J. Folkman
       ADDRESS Rubin and Rudman LLP, 53 State St., Boston, MA 02109

       TELEPHONE NO. (617) 330-7135
                                                                                                                       (Categ ryForm11-2020.wp d )
